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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

 IN RE TEVA SECURITIES LITIGATION
                                          Master Docket No. 3:17-cv-558 (SRU)
 __________________________________
                                          CONSOLIDATED AMENDED
                                          COMPLAINT

 THIS DOCUMENT RELATES TO:                JURY TRIAL DEMANDED




                                          No. 3:19-cv-00513 (SRU)
MIVTACHIM THE WORKERS SOCIAL
INSURANCE FUND LTD., et al.,

           Plaintiffs,

     v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

           Defendants.

                                          No. 3:19-cv-00543 (SRU)
CLAL INSURANCE COMPANY LTD., et al.,

           Plaintiffs,

     v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

           Defendants.
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                                         No. 3:19-cv-00655 (SRU)
MIGDAL INSURANCE COMPANY LTD., et
al.,

          Plaintiffs,

     v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

          Defendants.

                                         No. 3:19-cv-00923 (SRU)
MIGDAL MUTUAL FUNDS, LTD.

          Plaintiff,

     v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

          Defendants.

                                         No. 3:19-cv-01167 (SRU)
PSAGOT MUTUAL FUNDS, LTD., and
PSAGOT PROVIDENT FUNDS & PENSION
LTD.,

          Plaintiffs,

     v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

          Defendants.
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GLOSSARY OF TERMS

           Term                                                                Definition




                                                                  iii
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                     Defendants Teva Pharmaceutical Industries Ltd.; Teva Pharmaceuticals
                     Usa, Inc.; Erez Vigodman; Eyal Desheh; Sigurdur Olafsson; Deborah
                     Griffin; Yaacov Altman; Yitzhak Peterburg; Dipankar Bhattacharjee;
Defendants           Michael Mcclellan; and Kåre Schultz. References to the Defendants
                     include only those individuals then employed by Teva at the referenced
                     time.
Actavis              Allergan Generics, acquired by Teva on or around August 2, 2016
ADS                  Teva’s American Depository Shares
ADS Final            The final prospectus supplement filed pursuant to Rule 424(b)(5) with
Prospectus           the SEC on December 3, 2015 at 5:19 p.m. ET
                     The public offering of ADS completed on or about December 3,
ADS Offering
                     2015 and January 6, 2016
                     The ADS/Preferred Registration Statement, along with the base and
                     preliminary prospectuses and related prospectus supplements
ADS/Preferred
                     constituting part of the ADS/Preferred Registration Statement
Offering Materials
                     including the ADS Final Prospectus and Preferred Final
                     Prospectus, and the documents incorporated by reference therein
ADS/Preferred
                     The ADS Offering and the Preferred Offering
Offerings
ADS/Preferred
                     The shelf registration statement on Form F-3 Teva filed with the
Registration
                     SEC on November 30, 2015.
Statement
                     The shelf registration statement on Form F-3 Teva filed with the SEC
ADS/Preferred and    on November 30, 2015 (for the ADS/Preferred Offering), and the
Notes Registration   Post-Effective Amendment No. 1 to its shelf registration statement on
Statements           the Form F-3 Teva filed with the SEC on July 13, 2016 (for the Notes
                     Offering).
                     Abbreviated New Drug Application, an application submitted by a
ANDA                 generic drug manufacturer to the U.S. Food and Drug Administration
                     seeking approval for a drug the FDA has already approved
API                  Active Pharmaceutical Ingredient use to make pharmaceutical products
Board                Teva’s Board of Directors
                     Maureen Cavanaugh, Teva USA’s Senior VP and Chief Operating
Cavanaugh
                     Officer, North America Generics during the Relevant Period.
CAO                  Chief Accounting Officer
Cephalon             Cephalon, Inc.
CEO                  Chief Executive Officer
CFO                  Chief Financial Officer
                     The federal securities class action against Teva and certain of its current
                     and former officers, styled: Ontario Teachers' Pension Plan Board, et
The Class Action
                     al v. Teva Pharmaceutical Industries Ltd. et al, No. 3:17-cv-00558 (D.
                     Conn.)
COO                  Chief Operating Officer
Relevant Period      February 6, 2014 through May 30, 2019, inclusive



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COGS                Cost of Goods Sold
                    Defendant Eyal Desheh, Teva’s CFO from July 2008 to June 30,
Desheh              2017, except from October 30, 2013 to February 11, 2014, when he
                    served as Teva’s Interim President and CEO
DOJ                 U.S. Department of Justice
                    Former Employees of Teva who are referenced herein and identified
FE                  as FE-
                    Kevin Galownia, Teva’s VP of Pricing Operations since January
                    2018, and formerly Teva’s Senior Director, Marketing from January
Galownia            2010 to March 2014, and its Senior Director, Marketing Operations
                    from September 2014 to December 2017
GAO                 U.S. Government Accountability Office
                    GAO audit report titled, “Generic Drugs Under Medicare” and
GAO Report
                    publically released on September 12, 2016
                    The September 9, 2016 investor day conference Teva hosted to
Generics Day        discuss its generics business
                    In re Generic Pharmaceutical Pricing Antitrust Litigation, Case
Generics MDL        No. 2:16-md-02724 (E.D. Pa.)
Glazer              Jeffrey Glazer, former CEO of Heritage Pharmaceuticals
                    Defendant Deborah Griffin, Teva’s SVP and CAO (Principal
                    Accounting Officer) who also served as the Authorized U.S.
Griffin             Representative of Teva during the Relevant Period. She was also VP
                    and CFO of Teva USA during the Relevant Period.
Heritage            Heritage Pharmaceuticals Inc.
                    The amount of profit Teva generated solely as a result of its
Inflated Profits    price increases

                    The Latest Best Estimate, a document produced quarterly with the
                    involvement of Oberman (and later Olafsson), Griffin, and Cavanaugh,
LBE                 one that tracked whether financial forecasts were being met, and which
                    was delivered to Teva’s Israeli executives, including Vigodman and
                    Desheh
Levin               Jeremy M. Levin, Teva’s CEO from May 9, 2012 to October 30, 2014
Malek               Jason Malek, Former President of Heritage
                    Defendant Michael McClellan, Teva’s Executive Vice President and
                    CFO from November 2017 until November 8, 2019, Interim Group
McClellan
                    CFO from July 2017 to November 2017, and Senior Vice President and
                    CFO, Global Specialty Medicines from 2015 to November 2017
MD&A                The Management Discussion & Analysis section of SEC Form 20-F
                    National Average Drug Acquisition Cost, the non-manufacturer
                    specific average market-wide price paid by pharmacies for a
NADAC               specific drug, collected via a monthly survey of pharmacists, and
                    provided to the public by the U.S. Department of Health and Human
                    Services’ Centers for Medicare & Medicaid Services



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                      National Drug Code, a unique three-segment product identifier for
NDC Code              drugs required by the Food, Drug, and Cosmetic Act (21 U.S.C. §
                      360)).
                      Collectively certain U.S.-dollar-denominated senior notes issued by
                      Teva in a public offering on or about July 21, 2016, namely:
                      (a) 1.400% Senior Notes due July 20, 2018 (“2018 Notes”);
                      (b) 1.700% Senior Notes due July 19, 2019 (“2019 Notes”);
Notes
                      (c) 2.200% Senior Notes due July 21, 2021 (“2021 Notes”);
                      (d) 2.800% Senior Notes due July 21, 2023 (“2023 Notes”);
                      (e) 3.150% Senior Notes due Oct. 1, 2026 (“2026 Notes”); and
                      (f) 4.100% Senior Notes due Oct. 1, 2046 (“2046 Notes”)
Notes Final           The prospectus supplement filed pursuant to Rule 424(b)(5) with
Prospectus            the SEC on July 19, 2016
Notes Offering        The public offering of the Notes completed on or about July 21, 2016
                      The Notes Registration Statement, along with the base and preliminary
Notes Offering        prospectus and related prospectus supplements constituting part of
Materials             Notes Registration Statement, including the Notes Final Prospectus,
                      and the documents incorporated by inference therein
Notes Registration    The Post-Effective Amendment No. 1 to the shelf registration
Statement             statement on Form F-3 Teva filed with the SEC on July 13, 2016
NYSE                  New York Stock Exchange
                      Allan Oberman, President and CEO of Teva Americas Generics
Oberman               from November 5, 2012 to December 31, 2014
Offerings             The ADS/Preferred Offerings and the Notes Offering
                      The ADS/Preferred Offering Materials and the Notes
Offering Materials    Offering Materials
                      Defendants Erez Vigodman, Eyal Desheh, Sigurdur Olafsson,
                      Deborah Griffin, Kåre Schultz, Michael McClellan, and Yitzhak
Officer Defendants    Peterburg. References to the Officer Defendants include only those
                      individuals then employed by Teva at the referenced time.

                      Defendant Sigurdur (“Siggi”) Olafsson, President and CEO of
Olafsson              Teva’s Global Generic Medicines Group from July 1, 2014 to
                      December 5, 2016
                      The internal enterprise resource planning software system on which
Oracle ERP System
                      Teva digitally stores drug-by-drug pricing, sales, and revenue data
                      Teva’s ordinary shares of ILS 0.10 par value per share; September
Ordinary Shares
                      30, 2018 and December 31, 2017: authorized 2,495 million shares;
                      Nisha Patel, Teva’s former Director of Strategic Customer Marketing
Patel                 from April 2013 to August 2014 and its Director of National
                      Accounts from September 2014 to December 2016




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                      Defendant Yitzhak Peterburg, Teva’s Interim President and CEO
                      from February 6, 2017 to October 31, 2017, a Teva Director from
Peterburg             June 2009 to July 2010, and from 2012 until December 12, 2017, and
                      Chairman of Teva’s Board of Directors from January 1, 2015 to
                      February 6, 2017
Preferred Final       The final prospectus supplement filed pursuant to Rule 424(b)(5) with
Prospectus            the SEC on December 3, 2015 at 5:26 p.m. ET
                      The public offering of Preferred Shares completed on or
Preferred Offering
                      about December 3, 2015 and January 6, 2016
                      7.00% mandatory convertible preferred shares issued to the public on
Preferred Shares
                      or about December 3, 2015 and January 6, 2016
                      Teva’s new and undisclosed corporate strategy, adopted in 2013, to
Price-Hike Strategy   systematically and broadly implement price increases across its
                      generic drug portfolio
                      A group of Teva employees, led by Galownia in the United States,
Pricing Group         whose day-to-day responsibilities included analysis of the pricing
                      for Teva’s generic drugs
PSLRA                 Private Securities Litigation Reform Act of 1995
R&D                   Research and Development
                      Request for Proposal, a blind-bidding process intended to solicit a
RFP                   “best and final” offer where each firm that submits a response without
                      knowing what competing firms are bidding
S&M                   Sales and Marketing
                      Defendant Kåre Schultz, Teva’s President and Chief Executive Officer
Schultz               since November 1, 2017 and one of its directors of the Board since
                      November 1, 2017
SEC                   Securities and Exchange Commission
Sherman Act           Sherman Antitrust Act
                      The Attorneys General of 47 States, the District of Columbia, and
                      Puerto Rico who filed a Consolidated Amended Complaint against
State AGs             Teva and others on June 18, 2018, in the Generics MDL, and the
                      Complaint against Teva and others filed on May 10, 2019 in the
                      District of Connecticut (C.A. No. 3:19-cv-710)
Teva or the
Company               Defendant Teva Pharmaceutical Industries Ltd.

Teva USA              Defendant Teva Pharmaceuticals USA, Inc.
TASE                  The Tel Aviv Stock Exchange
Teva Securities       ADS, Preferred Shares, Notes, and Ordinary Shares, collectively
                      Defendant Erez Vigodman, Teva’s President and CEO from February
Vigodman              11, 2014 to February 6, 2017 and one of its directors of the Board from
                      June 22, 2009 to February 6, 2017
                      Wholesale Acquisition Cost, the list price of a generic manufacturer’s
WAC
                      drug to a wholesaler or a direct purchaser without discounts
YOY                   Year-Over-Year


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       Plaintiffs Psagot Mutual Funds, Ltd. (“Psagot Mutual Funds”), Psagot Provident Funds &

Pension Ltd. (“Psagot Provident” and together with Psagot Mutual Funds, “Psagot”); Migdal

Mutual Funds, Ltd.; Mivtachim The Workers Social Insurance Fund Ltd., Keren Hgimlaot

Hmerkazit Histadrut Central Pension Fund Ltd., Kerren Makefet Pension and Provident Center

Cooperative Society Ltd., The Hadassah Workers Pension Fund Ltd., and The “Egged” Members

Pension Fund Ltd. (collectively, the “Amitim Funds”); Migdal Insurance Company Ltd.

(“Migdal Insurance”), Migdal Makefet Pension and Provident Funds Ltd. (“Migdal Makefet”),

Yozma Pension Fund of Self Employed Ltd. (“Yozma” and, with Migdal Makafet and Migdal

Insurance, “Migdal”), Provident Fund of the Hebrew University of Jerusalem Ltd. (“Hebrew

University”), Altshuler Shaham Mutual Funds Management Ltd. (“Altshuler Mutual”), Altshuler

Shaham Provident Funds Management Ltd. (“Altshuler Provident”, and together with Altshuler

Mutual “Altshuler Shaham”), Halman Aldubi Provident and Pension Funds Ltd. (“Halman

Aldubi”); Clal Insurance Company Ltd. (“Clal Insurance”), Clal Pension and Provident Ltd.

(“Clal Pension”), Atudot Pension Fund for Employees and Independent Workers Ltd. (“Atudot”

and, with Clal Insurance and Clal Pension, “Canaf-Clal”), Alumont Mutual Fund Management

Company (“Alumot”), Menorah Mivtachim Insurance Ltd. (“Menorah Insurance”), Menorah

Mivtachim Pensions and Gemel Ltd. (“Menorah Pensions,” and with Menorah Insurance,

“Menorah”), and Meitav DS Provident Funds and Pension Ltd. (“Meitav”); (or, collectively,

“Plaintiffs”), allege in this securities action claims under Sections 10(b) and 20(a) of the

Exchange Act of 1934 (the “34 Act”), the Israel Securities Law, 1968,          the Pennsylvania

Securities Act of 1972 (the “PSA”), and fraud and negligent misrepresentation under the law of

Pennsylvania, against Teva and certain of its current and former employees and officers.1


1
       Capitalized terms not otherwise defined herein have the meaning ascribed in the Glossary
of Terms attached hereto.

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       Plaintiffs allege the following based upon personal knowledge as to those allegations

concerning Plaintiffs and, as to all other matters, upon investigation of counsel, including, among

other things: (i) review and analysis of public filings made by Teva with the United States

Securities and Exchange Commission (“SEC”); (ii) review and analysis of press releases and

other publications disseminated by Defendants; (iii) review and analysis of news articles and

conference call transcripts; (iv) review and analysis of other court filings related to Teva,

including the amended complaint for violation of the federal securities laws in Ontario Teachers'

Pension Plan Board, et al v. Teva Pharmaceutical Industries Ltd. et al, No. 3:17-cv-00558 (D.

Conn.) (the “Class Action”), and pleadings in In re Generic Pharmaceuticals Pricing Antitrust

Litig., MDL No. 2724, Civil Action No. 2:16-md-02724 (E.D. Pa.); (v) review and analysis of

other publicly available information concerning Teva; and (vi) analysis of pricing in the generic

drug markets in which Teva operated. The investigation of facts pertaining to this case is

ongoing. Plaintiffs believe that additional evidence will support the allegations herein after a

reasonable opportunity for discovery.

 I.    SUMMARY OF THE ACTION

       1.      This action arises from misrepresentations and omissions that Defendants made to

Plaintiffs concerning, inter alia, Teva’s generic drug business—viz., its drug pricing strategy,

goodwill valuation, and legal compliance—and, its illegal marketing and distribution of opioid

narcotics during the Relevant Period (February 6, 2014 to May 30, 2019, both dates inclusive).

These misrepresentations and omissions caused the market, including Plaintiffs, to purchase

Teva’s securities at artificially inflated prices. By May30, 2019, the market came to learn that

Teva had participated in one of the largest illegal cartels ever in the history of the United States,

destroying billions of dollars in investor wealth. Moreover, investors learned that Teva had

played a key role in the opioid epidemic scourging the nation, which, together with the


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Company’s liability arising from its illegal sales of generic pharmaceuticals, could result in over

$4 billion in damages and criminal liability.

        2.      Since its formation as a local drug wholesaler in Jerusalem in 1901, Teva has

grown to become the world’s largest generic drug manufacturer. Teva currently produces 120

billion generic tablets and capsules per year in 87 pharmaceutical and API facilities around the

world. As the Company readily acknowledges on its website “[t]he scale and breadth of [its]

generics portfolio has an unprecedented impact on global healthcare.”

        3.      Generic drugs by definition only enter the market after a patent monopoly has

expired, which removes significant pricing power from manufacturers and, over time, results in

declining prices. Nevertheless, Teva was able to increase the prices of certain generic drugs by as

much as 100% or more during the Relevant Period.

        4.      In early 2013, Teva implemented a pricing strategy for its generic drug portfolio

whereby in concert with its competitors it methodically raised prices throughout its generic drug

portfolio (the “Price-Hike Strategy”). Throughout the Relevant Period, Teva’s senior officers

personally oversaw at least 76 price increases for its generic drugs, which they monitored along

with the daily, weekly, and quarterly profits generated along with each price increase. Over the

Relevant Period, the financial impact of the strategy was staggering, totaling over $2.3 billion in

profits attributable solely to the price increases (the “Inflated Profit”).

        5.      While Defendants loudly touted Teva’s robust revenue growth, they went to great

lengths to conceal the true driver of Teva’s growth—the illegal Price-Hike Strategy. For

example, on February 11, 2016, the Company reported that its generic drug business generated a

$500 million increase in profits over the year prior. On the earnings call held that same day with

investors, Teva’s President and CEO Olafsson explicitly rejected the notion that Teva’s




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astonishing earnings growth was attributable to its pricing strategy: “So how did we do this? Not

by pricing but by portfolio mix, new products, and efficiency measures. . . . [W]e and the

generic industry overall don’t see price inflation of generics as it sometimes is portrayed in the

media.”2 In truth, Teva’s Price-Hike Strategy was responsible for $155 million, or 31%, of the

Company’s year-over-year growth, and, overall, generated approximately $848 million in

Inflated Profits for 2015.

        6.     During the Relevant Period, the Price-Hike Strategy contributed as much as $236

million in Inflated Profits per quarter between the third quarter of 2013 and second quarter of

2017.

        7.     Defendants’ implementation of the Price-Hike Strategy and their failure to

disclose the primary contributor to Teva’s renewed success concealed a significant risk from the

market. Namely, Defendants’ omitted that Teva’s generic drug pricing strategy was inherently

risky and unsustainable for a variety of reasons, including that two-thirds of the increases were

done in tandem with other drug manufacturers. Wholesale purchasers of generic drugs routinely

set pricing through competitive RFP bidding. Consequently, every time Teva raised its prices it

created an unmitigated risk that another competitor (one who was not a participant in its cartel)

could underbid Teva, thus that Teva would lose its entire market share. Even more concerning,

Teva’s reliance upon illegal price gouging or collusion created a risk of public outcry and civil

and criminal liability. Accordingly, Plaintiffs and other investors were led to value their Teva

securities based upon the Inflated Profits which were unsustainable and likely to disappear—

which they did.

        8.     Defendants’ motive was to inflate Teva’s share price in order to effect a large

acquisition that Teva otherwise could not afford. As Teva’s CFO Desheh predicted in January
2
        Emphasis added throughout unless otherwise noted.

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2014, within 12 to 24 months, Teva’s “stock price will go up and we’ll be able to use our share

as a currency . . . to fund transactions” that could transform Teva into an even larger, more

dominant force in generics. Newly-hired CEO Vigodman reportedly also wished to undertake a

significant acquisition as he took the helm in February 2014, at the start of the Relevant Period.

       9.      Just as Desheh predicted, within 18 months, Teva’s ADS price shot up along with

the increasing profits. Indeed, Teva’s share price hit an all-time high of $72 on July 27, 2015, the

day Teva announced it was acquiring Actavis for $40 billion. Of course, Teva did not have the

cash; the price tag equaled roughly 20 years of Teva’s recent average profits. As Defendants

intended all along, they would use Teva’s securities as “currency” and raise $27 billion from

investors.

       10.     At the same time as Teva was greatly expanding its generic business through its

acquisition of Actavis, the generic drug industry had fallen under increased scrutiny from the

public, triggering Congressional hearings, calls for drug pricing legislation, and prosecutorial

investigations. Even as investors began to grow wary of the confluence of the above factors,

Teva and its executives assured them there would not be a material impact on the Company. For

example, CFO Desheh commented that “there’s a lot of noise around pricing issues. Some of

it’s coming from politicians. . . . Our exposure to all these things is very minimal.”

       11.     As 2016 began, other pharmaceutical companies reported disappointing earnings,

which they attributed to increased pressure to reduce prices. This pricing pressure was a

byproduct of heightened government scrutiny and public outcry. When asked whether Teva

faced the same risks, Olafsson falsely claimed that Teva was not exposed: “Teva has not seen

any fundamental change or worsening in the pricing environment.” Vigodman claimed “[w]hat

we see is a 4% to 5% erosion [in pricing] . . . That’s not something which is different from what




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we said during 2015.” In reality, the denied pricing pressure was eating into Teva’s Inflated

Profits; in the first quarter of 2016, Inflated Profits were 45% lower than they had been a year

earlier.

           12.   On June 21, 2016, Teva received a subpoena from the Antitrust Division of the

DOJ seeking documents and other information relating to the marketing and pricing of certain of

Teva’s generic products and communications with competitors. Then on July 12, 2016, the

Connecticut Attorney General, on behalf of the State AGs, also served Teva with a subpoena

concerning its pricing for generic drugs. The receipt of subpoenas created significant obstacles to

Teva’s ability to raise prices under the strategy; Teva did not make any price hikes after that

point. Though Teva had previously set a date in the fall of 2016 for a $20 billion debt offering,

on July 13, 2016—the day after service of the Connecticut Attorney subpoena—Defendants

announced that the debt offering was being immediately accelerated, filing the Notes

Registration Statement the same day. Despite dozens of pages disclosing other investigations and

legal matters, the filings were silent as to the DOJ’s and State AGs’ subpoena. Teva raised cash

in the debt offering, and closed the deal on August 2, 2016. The next day, with Inflated Profits

further declining since 2015, Teva reported disappointing earnings and disclosed receipt of the

subpoenas. Though the truth was beginning to surface, Defendants continued to deny that price

increases ever occurred. On September 8, 2016, Olafsson stated that “people that say that . . .

there’s a big generic price inflation, are simply wrong.”

           13.   Reality, however, overtook the Defendants. In November 2016, Bloomberg

reported that Teva was a target of the DOJ and State AGs’ investigations and looming charges.

The end of the Price-Hike Strategy brought further declines in profits. Olafsson, an architect of

the strategy and the driving force of the Actavis transaction, was fired on December 5, 2016. A




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week later, the State AGs sued Teva for violations of the Sherman Act. In short order, CEO

Vigodman was terminated in February 2017, and CFO Desheh was also out by May 2017. On

August 3, 2017, the very first investor call after their terminations, Teva announced that it was

required to take a $6.1 billion write-down of its entire generics business because its fundamental

value had been “permanently impaired.”

       14.     Without the Price-Hike Strategy driving Inflated Profits, Teva’s ability to service

its over $30 billion in debt also raised fears; the credit-rating agencies immediately downgraded

the Company’s debt to just above “junk.” And after 30 years of maintaining or increasing its

dividend, the new Board and management of Teva were forced to cut the dividend by 75%. In

reality, without the Price-Hike Strategy, Teva was a fundamentally weaker company than

investors were led to believe. The share price plummeted in reaction to this news.

       15.     Defendants carried out this securities fraud through four interrelated categories of

misstatements and omissions, alleged particularly below. First, Defendants explicitly attributed

Teva’s financial performance to legitimate and benign business strategies, including cost cutting

and product selection. Having attributed the source of Teva’s revenues, Defendants were

required to disclose the reality that Teva’s performance was driven by the undisclosed Price-

Hike Strategy. Second, under Item 5 of Form 20-F, Defendants were obligated to disclose that

the Price-Hike Strategy was impacting Teva’s profits, first as they dramatically increased, and

later as they subsequently evaporated. Third, Defendants repeatedly stated that Teva was

excelling in a highly competitive environment. That was far from the truth, as Teva was only

able to sustain the Inflated Profits because of a lack of competition. Whether illegal or not, this

was a precarious reality, which could be—and ultimately was—undercut. Finally, in connection




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with the Note Offering, Defendants were required to disclose the receipt of the State AGs’ and

DOJ subpoenas. They did not.

       16.     Additionally, Defendants colluded with other manufacturers to fix prices for a

subset of at least 16 drugs, which exhibited both parallel price increases with Teva’s competitors

and other indicia of collusion. These allegations are corroborated by the facts identified through

the State AGs’ allegations that Teva engaged in a vast industry-wide price-fixing conspiracy.

Additionally, the allegations herein, on information and belief, identify the Teva employee who

the State AGs allege was central in the price-fixing; this employee, however, was not in a

position to agree to or approve any pricing changes. Instead, Defendant Griffin, Chief

Accounting Officer of Teva and CFO of Teva USA, and Cavanaugh, COO of Teva USA, made

those decisions, approving all the price increases alleged herein.

       17.     Defendants’ fraud also extended to related matters, such as failing to disclose and

actively concealing the negative impact of the Actavis acquisition and integration of the acquired

business on Teva’s financial results and business prospects. Moreover, since August 4, 2017,

Teva repeatedly—and falsely—denied any involvement in collusive conduct, further misleading

investors during the Class Period.

       18.     Teva’s years-long lies and misconduct was further revealed on December 9, 2018,

when Joseph Nielsen, an assistant attorney general and antitrust investigator in Connecticut who

has been leading the State AGs’ investigation, announced that the scope of this investigation was

far larger than initially reported. Specifically, Mr. Nielsen revealed that the investigation had

expended to at least 16 companies and 300 drugs, and had exposed “the largest cartel in the

history of the United States.”




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        19.      On May 10, 2019, the public learned even more about Teva’s illegal pricing

practices, when more than 40 states, led by the Connecticut AG, filed a second suit against Teva

and its purported competitors, bringing additional claims for conspiring to fix the price of at least

112 different generic drugs, some by well over 1,000%. Critically, the State AGs stated in their

latest complaint that their investigation is still ongoing and they “will likely bring additional

actions” based on drugs not identified in the current complaint.

        20.      Separate and apart from the Company’s participation in the largest cartel in U.S.

history, Teva contributed to the opioid epidemic in the country by illegally pushing the deadly

narcotics onto any willing medical practice without regard for FDA regulations.

        21.      Opioids are a class of drugs that include the illegal drug heroin, synthetic opioids

such as fentanyl, and pain relievers available legally by prescription, such as oxycodone

(OxyContin®), hydrocodone (Vicodin®), codeine, morphine, and many others.

        22.      Notwithstanding Defendants’ repeated acknowledgements that opioids are for

limited uses, such as “opioid tolerant cancer patients with breakthrough cancer pain”, Teva

pushed its sales representatives to increase sales of its opioid products by promoting off-label

uses (i.e., non FDA-approved).        Consequently, Teva helped fuel an opioid epidemic in the

United States which kills over 115 people each day, and has led to the 2017 presidential

declaration that the opioid crisis has become a public health emergency.

        23.      Over the course of the Relevant Period, the extent of Teva’s illegal opioid sales

came to light, which, to date, has resulted in approximately 1,500 complaints filed against Teva

and/or its affiliates.

        24.      Most recently, on May 26, 2019, on the eve of one of the first cases to go to trial,

Teva paid $85 million to settle claims brought by the State of Oklahoma. Shortly thereafter, the




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market was forced to reconsider the potential liabilities Teva faced as a result of the opioid

litigation and price-fixing litigation, with one analyst estimating damages of approximately $4.1

billion.

II.        JURISDICTION AND VENUE

           25.   The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act, 15 U.S.C. §§78j(b) and 78t(a), and the rules and regulations promulgated thereunder,

including SEC Rule 10b-5, 17 C.F.R. §240.10b-5; Sections 1-402(c) and 1-501(c) of the PSA, 70

Pa. Stat. §§1-402(c) & 1-501(c); and the Israel Securities Law, 1968.

           26.   This Court has jurisdiction over the subject matter of this action pursuant to

Section 27 of the 34 Act (15 U.S.C. § 78aa). In addition, because this is a civil action arising

under the laws of the United States, this Court has jurisdiction pursuant to 28 U.S.C. § 1331.

This Court has supplemental jurisdiction over the subject matter of the claims brought under the

Israel Securities Law, 1968, Sections 1-402(c) and 1-501(c) of the PSA, 70 Pa. Stat. §§1-402(c)

& 1-501(c), pursuant to 28 U.S.C. §1367(c); and the law of Pennsylvania

           27.   Venue is proper in this District pursuant to Section 27 of the 34 Act (15 U.S.C. §

78aa). In addition, venue is proper pursuant to 28 U.S.C. § 1391. Moreover, the Class Action is

pending in this District, and courts throughout the United States have found that this District is

the most appropriate forum for related actions. See Galmi v. Teva Pharm. Indus. Ltd., No. 16-cv-

08259 ECF No. 74 (April 3, 2017 C.D. Cal.); Phoenix Ins. Co. Ltd. v. Teva Pharm. Indus. Ltd.,

No. 18-cv-3305, ECF No. 38 (Feb. 22, 2019 E.D. Pa.); Grodko v. Teva Pharm. Indus. Ltd., et al.,

No. 17-cv-3743, ECF No. 37 (E.D. Pa. April 10, 2018); Baker v. Teva Pharm. Indus. Ltd., et al.,

No. 17-cv-3902, ECF No. 17 (E.D. Pa. Apr. 10, 2018); Clal Insurance Company Ltd. et al., v.

Teva Pharmaceutical Industries Ltd. et al., No. 2:19-cv-00530 ECF No. 26 (E.D. Pa. April 4,




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2019); Mivtachim The Workers Social Insurance Fund Ltd. et al., v. Teva Pharmaceutical

Industries Ltd. et al., No. 2:19-cv-00674 ECF No. 23 (E.D. Pa. April 4, 2019).

       28.     In connection with the acts alleged herein, Defendants directly or indirectly used

the means and instrumentalities of interstate commerce, including the United States mails,

interstate telecommunications, and the facilities of the New York Stock Exchange (“NYSE”).

III.   PARTIES

       A.      Plaintiffs

       29.     Psagot Provident and Psagot Mutual Funds are affiliates of the Psagot Investment

House. The Psagot Investment House is an Israeli investment firm and the country’s largest

pension fund manager, with capital of over $40 billion. Psagot purchased and/or sold Teva

securities on the NYSE and TASE during the Relevant Period and was damaged upon the

revelation of the alleged corrective disclosures.

       30.     Migdal Mutual Funds is one of the leading mutual fund firms in Israel, and

specializes in the management of mutual funds in a diverse range of asset classes and markets.

Migdal Mutual Funds purchased and/or sold Teva securities on the NYSE and TASE during the

Relevant Period and was damaged upon the revelation of the alleged corrective disclosures.

       31.     The Amitim Funds are five related Israel-based pension funds. Each of the

Amitim Funds purchased Teva shares during the Relevant Period and was damaged thereby.

Moreover, each of the Amitim Funds purchased Teva securities on the NYSE and the TASE

during the Relevant Period and was damaged thereby.

       32.     Hebrew University is the pension fund for employees of the Hebrew University of

Jerusalem, Israel’s second oldest university, established in 1918. Hebrew University purchased

and/or sold Teva securities on the NYSE and TASE during the Relevant Period and was

damaged upon the revelation of the alleged corrective disclosures.


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       33.     Migdal is one of the largest life insurance and pension managers in Israel,

managing nearly $60 billion in assets. Each of the Migdal entities – Migdal Insurance, Migdal

Makefet, and Yozma – purchased and/or sold Teva securities on the NYSE and TASE during the

Relevant Period and was damaged upon the revelation of the alleged corrective disclosures.

       34.     The Altshuler Shaham entities – Altshuler Mutual and Altshuler Provident – are

affiliates of the Altshuler Shaham Investment House. The Altshuler Shaham Investment House,

formed in 1990, is a leading Israeli investment house that provides investment management

services to its clients, which include mutual funds, pension funds, and provident funds. Altshuler

Shaham purchased and/or sold Teva securities on the NYSE and TASE during the Relevant

Period and was damaged upon the revelation of the alleged corrective disclosures.

       35.     Halman Aldubi is an affiliate of the Halman Aldubi Investment House. The

Halman Aldubi Investment House, founded in 1995, is one of the leading investment houses in

Israel, managing a total of $15 billion in assets. Halman Aldubi purchased and/or sold Teva

securities on the NYSE and TASE during the Relevant Period and was damaged upon the

revelation of the alleged corrective disclosures.

       36.     Canaf-Clal are Israeli investment entities affiliated with Canaf-Clal Financial

Management Ltd., the investment arm of Israel’s Call Group, with total assets under

management of nearly $39 billion. Each of the Canaf-Clal entities each purchased Teva shares

during the Relevant Period and was damaged thereby. Moreover, each of the Canaf-Clal entities

purchased Teva securities on the NYSE and the TASE during the Relevant Period and was

damaged thereby.

       37.     Alumot is a subsidiary of Alumot Investment House, one of Israel’s leading

investment companies. Alumot Investment House was founded in 1996 and currently manages




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₪11 billion. Alumot purchased Teva shares during the Relevant Period and was damaged

thereby. Moreover, Alumot purchased Perrigo securities on the NYSE and the TASE during the

Relevant Period and was damaged thereby.

       38.    Menorah Pensions is the largest private pension fund in Israel, with over one

million members and assets under management of $25 billion. Menorah Pensions operates as a

subsidiary of Menorah Insurance, a subsidiary of Menorah Mivtachim Holdings Ltd. (“Menorah

Holdings”).   Menorah Insurance is one of the largest insurance companies in Israel, with

operations in the general insurance, life insurance, and health insurance sectors, with

approximately $9 billion in assets under management.      Each of the Menorah entities each

purchased Teva shares during the Relevant Period and was damaged thereby. Moreover, each of

the Menorah entities purchased Teva securities on the NYSE and the TASE during the Relevant

Period and was damaged thereby.

       39.    Meitav is an affiliate of Meitav Dash, a leading investment management firm in

Israel with approximately $36.3 billion under management. Meitav purchased Teva shares

during the Relevant Period and was damaged thereby.        Moreover, Meitav purchased Teva

securities on the NYSE and the TASE during the Relevant Period and was damaged thereby.

       B.     Defendants

       40.    Defendant Teva Pharmaceutical Industries Ltd., the world’s largest generic drug

manufacturer, is incorporated in Israel with its executive offices at 5 Basel Street, P.O. Box

3190, Petach Tikva, 4951033, Israel. Teva ADS trade on the NYSE under the symbol “TEVA.”

Teva Preferred Shares and Notes are traded in the U.S. Teva’s ordinary shares trade on the TASE

under the symbol “TEVA.”

       41.    Teva has two reporting segments to its business, specialty medicines and generic

medicines. During the Relevant Period, Teva’s generics segment contributed approximately one


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half of the Company’s revenues. Teva’s U.S. generics business is the most important part of its

generics segment, comprising approximately 50% of overall generics revenues.

       42.     Defendant Teva Pharmaceuticals USA, Inc. is defendant Teva’s wholly-owned

subsidiary and has its principal offices at 1090 Horsham Road, North Wales, Pennsylvania,

19454. As detailed in the sworn declaration of Austin D. Kim (“Kim”), Teva USA’s Vice

President and Deputy General Counsel, Corporate/M&A, submitted by Teva in support of its

motion to transfer two related securities fraud actions to this District, Teva’s “principal United

States subsidiary is Teva USA.” Galmi, ECF No. 37-2 ¶3 (the “Kim Declaration”). Moreover,

Teva’s “sales, marketing, and finance executives with responsibility for U.S. generics pricing are

based in Pennsylvania.” Id., ¶4. In addition, Teva’s investor relations department and individuals

responsible for drafting and preparing Teva’s public filings with the SEC are based at Teva

USA’s Pennsylvanian offices. Id. Throughout the Relevant Period, Teva listed Teva USA as its

agent of service on its numerous Registration Statements filed with the SEC. Also, Teva, in its

press releases, directed investors to “Teva Investor Relations at 1090 Horsham Road, North

Wales PA, 19454 or by phone at (215) 591-8912” in order to receive copies of its Annual

Reports and complete audited financial statements. Lastly, “[d]ocuments relating to the subject

matter of this lawsuit—e.g., materials related to Teva USA, drug pricing, and U.S. competitors—

are located in Pennsylvania, or, if not there, in Israel.” Kim Declaration, ¶7.

       43.     Defendant Erez Vigodman served as Teva’s President and CEO from February

11, 2014 to February 6, 2017 and as a Teva Director from June 22, 2009 to February 6, 2017.

Vigodman signed and certified certain of Teva’s alleged false and misleading reports on Forms

20-F and Forms 6-K filed with the SEC during the Relevant Period, as well as the ADS/Preferred

and Notes Registration Statements. Vigodman also made false and misleading statements on




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numerous conference calls with investors and analysts, as alleged specifically herein. During his

tenure at Teva, Vigodman possessed the power and authority to, and in fact did approve and

control the contents of the Company’s SEC filings alleged herein to be false and misleading.

       44.     Defendant Eyal Desheh served as Teva’s Chief Financial Officer CFO from July

2008 to June 30, 2017, except from October 30, 2013 to February 11, 2014, during which time

he served as Teva’s Interim CEO and Interim President. Desheh signed and certified certain of

Teva’s false and misleading reports on Forms 20-F and 6-K filed with the SEC during the

Relevant Period, as well as the ADS/Preferred and Notes Registration Statements filed with the

SEC. Desheh also made false and misleading statements on numerous conference calls with

investors and analysts, as alleged specifically herein.

       45.     Defendant Yaacov Altman (“Altman”) served as Teva’s Acting CFO from

October 31, 2013 to February 11, 2014. Altman signed and certified certain of Teva’s reports on

Forms 20-F and 6-K filed with the SEC during the Relevant Period, as set forth herein. Altman

made false and misleading statements and omitted to disclose the truth during the course of

numerous conferences with investors and analysts, alleged specifically herein.

       46.     Defendant Sigurdur Olafsson served as President and CEO of Teva’s Global

Generic Medicines Group from July 1, 2014 to December 5, 2016. Olafsson made false and

misleading statements on numerous conference calls with investors and analysts, as alleged

herein. During his tenure at Teva, Olafsson possessed the power and authority, and in fact did

approve and control the contents of the Company’s SEC filings alleged herein to be false and

misleading.

       47.     Defendant Yitzhak Peterburg (“Peterburg”) served as Teva’s Interim President

and CEO from February 6, 2017 to October 31, 2017. Prior to that date, he was Chairman of




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Teva’s Board from January 1, 2015. He also served as a Teva director from June 2009 to July

2010 and after a brief departure he rejoined Teva’s Board from 2012 until February 6, 2017.

Peterburg signed and certified certain of Teva’s reports on Forms 20-F and 6-K filed with the

SEC during the Relevant Period, as set forth herein. Peterburg made false and misleading

statements and omitted to disclose the truth during the course of numerous conferences with

investors and analysts, alleged specifically herein.

       48.     Defendant Deborah Griffin (“Griffin”) serves as Teva’s SVP and Chief

Accounting Officer (Principal Accounting Officer), and served as the Authorized U.S.

Representative of Teva during the Relevant Period. She was also VP and CFO of Teva USA

during the Relevant Period. Griffin worked at Teva USA’s North Wales offices. Griffin signed

the ADS/Preferred and Notes Registration Statements and was an Authorized U.S.

Representative for Teva. While at Teva, Griffin possessed the power and authority, and in fact

did approve and control the contents of the Company’s SEC filings alleged herein to be false and

misleading, as they pertained to Teva USA’s financial reporting.

       49.     Defendant Dipankar Bhattacharjee (“Bhattacharjee”) served as the President and

CEO of Teva’s Global Generic Medicines Group from December 5, 2016 to December 31, 2017.

He previously served as President and CEO of Teva’s Generics Europe from 2013 and 2016 and

as CEO of Teva UK Ltd. and later as Senior Vice President (“SVP”) of Teva’s Western Europe

from 2009 to 2013. Bhattacharjee made false and misleading statements and omitted to disclose

the truth during the course of numerous conferences with investors and analysts, alleged

specifically herein.

       50.     Defendant Kåre Schultz (“Schultz”) has served as Teva's President and CEO since

November 1, 2017. Schultz signed and certified certain of Teva’s reports on Forms 20-F, 6-K, 8-




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K, and 10-K filed with the SEC during the Relevant Period, as set forth herein. Schultz made

false and misleading statements as alleged herein. Since his appointment as Teva President and

CEO, Schultz possessed the power and authority to, and in fact did approve and control the

contents of the Company’s SEC filings alleged herein to be false and misleading.

       51.      Defendant Michael McClellan (“McClellan”) has served as EVP and CFO of

Teva since November 2017. Prior to becoming CFO, he was Teva’s SVP and Interim CFO from

July 2017 to November 2017, and SVP and CFO of the Global Specialty Medicines division July

2015 to July 2017. McClellan signed and certified certain of Teva’s reports on Forms 20-F and

6-K filed with the SEC during the Relevant Period, as set forth herein. McClellan made false and

misleading statements and omitted to disclose the truth during the course of numerous

conferences with investors and analysts, alleged specifically herein.

       52.      Defendants   Vigodman,     Desheh,    Olafsson,    Griffin,   Altman,   Peterburg,

Bhattacharjee, McClellan, and Schultzare referred to herein collectively as the “Officer

Defendants.” Teva and the Officer Defendants are referred to herein collectively as the

“Defendants.”

IV.    SUBSTANTIVE SECURITIES FRAUD ALLEGATIONS

       53.      The allegations detailed below are based on Plaintiffs’ counsel’s investigation,

which included, inter alia, a review of Defendants’ public statements, news articles, and analyst

reports; analysis of pricing in the generic drug markets in which Teva operated; and review of

court filings related to Teva, including the amended complaint for violation of the federal

securities laws in the Class Action and the Generics MDL.

       54.      In particular, Plaintiffs rely on the numerous interviews of former Teva

employees cited in the Class Action amended complaint, which are identified herein by job

description and responsibility, and duration of employment. Such individuals are referred to


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herein as the “Former Employees” or “FEs”. Allegations attributed to a particular Former

Employee are designated as such by reference to their “FE-__” designation or job description.

       A.      Pre-Relevant Period Allegations

               1.       ADS Price Suffers; Transaction Motivation Announced

       55.     Before the Relevant Period, Teva’s generics segment was struggling and Teva’s

share price had dropped from the $60s in 2010 into the $30s by 2013.

       56.     Among other headwinds, in 2012 Teva had received subpoenas from the SEC

relating to a Foreign Corrupt Practices Act (“FCPA”) investigation into Teva’s bribery scheme to

generate sales and gain market share of generic drugs in Russia, certain Eastern European

countries, and certain Latin American countries. (SEC v. Teva Pharm. Indus., No. 1:16-cv-25298

(KMM) (S.D. Fla. Dec. 22, 2016) (ECF No. 1 at ¶ 2)). The SEC also alleged that Teva

deliberately falsified its accounting. Teva’s generics revenues from the “Rest of World” markets

(“ROW”), markets that were the subject of the FCPA investigation, fell approximately $280

million in 2013 and continued to fall after. Ultimately, Teva paid a $519 million fine and entered

into a deferred prosecution agreement. The investigation obstructed the pipelines of revenue

from these countries.

       57.     Teva’s problems, however, were not limited to the foreign bribery scandal. In

August 2013, then-CEO Levin acknowledged that the U.S. generics business had been “slowing

fundamentally” for years and had announced a strategy to focus on Teva’s other business

segment, branded drugs. Abruptly, Levin was fired on October 30, 2013, after just 18 months as

CEO, and was immediately replaced by CFO Defendant Desheh. As he stepped into the role of

interim CEO, Desheh was enthusiastic about Teva’s prospects, as was Chairman Phillip Frost,

who told analysts that his friends were buying “hundreds of millions of dollars” of Teva shares.




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       58.     By the beginning of 2014, Desheh’s optimism became more strident as he

announced Teva’s motivation to make a major acquisition, predicting that within 12 to 24

months Teva’s “stock price will go up and we’ll be able to use our share as a currency . . . to

fund transactions.” As Defendant Vigodman took the helm as new CEO in February 2014,

analysts reported that he also supported engaging in a significant acquisition.

       B.      Teva Adopted Undisclosed Price-Hike Strategy

       59.     Defendants actively concealed, however, that by early 2013 Teva had adopted a

non-public strategy to systematically increase prices across dozens of drugs in its generics drug

portfolio (the “Price-Hike Strategy”). Teva’s decisions to increase prices came from the top

down. Using an established review and approval procedure, price increases required the Chief

Accounting Officer of Teva and Teva USA CFO, Griffin, and Teva USA COO, Cavanaugh to

undertake and document a careful cost-benefit analysis to determine whether to make a price

increase; they would personally approve the increases. (FE-1, FE-2.) Griffin and Cavanaugh

would then decide when the increases would become effective, often implementing them in

batches. (FE-1, FE-2.)

       60.     Members of the Pricing Group, who would have to provide detailed reviews and

documentation of price reductions, were simply “told” via emails or in meetings to implement a

price increase with little or no justification. (FE-3.) While the directions often came from the

head of Teva USA’s Pricing Group, Kevin Galownia, he did not have the authority to make

price-increase decisions himself; those decisions came from above. (FE-3, FE-1, FE-2, FE-4.)

Once implemented, Teva notified its customers via a letter, and would circulate a copy to

employees whose work would be impacted by the increase (e.g., customer service employees

who would need to field consumer complaints following the hikes). (FE-2, FE-4.) The expected

profits from the price increases were then incorporated into the Company-wide Oracle database


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(FE-2, FE-1, FE-3), to which Oberman, Olafsson (who joined Teva in July 2014), Cavanaugh,

and Griffin each had access. (FE-1, FE-3.) Oracle generated daily or weekly “Scorecards” that

Oberman (and later Olafsson), Griffin, and Cavanaugh would receive that reported generic drug

revenues, which included the Inflated Profit, and tracked whether Teva was on schedule to meet

forecasts. (FE-1, FE-2, FE-3.)

        61.        The Scorecards tracked profits against financial budgets and a long-term “Work

Plan” which was prepared annually and contained forecasts for the coming three to five years. As

to the generics segment, Oberman (and later Olafsson), Cavanaugh, and Griffin were responsible

for assembling the Work Plan, and Oberman and Olafsson were responsible for presenting it to

Teva’s executive committee in Israel, which included Vigodman and Desheh. (FE-2, FE-1.)

During each quarter, a document called a Latest Best Estimate (“LBE”) was prepared, with the

involvement of Oberman (and later Olafsson), Cavanaugh, and Griffin, detailing whether

forecasts were met, or whether there was a “hole” between the forecasted profits and reality.

(FE-1, FE-2.) The LBE reports were sent to Teva’s executive committee in Israel (FE-1, FE-2).

        62.        Throughout the Relevant Period, Defendants told investors that Teva’s increased

profits came from ordinary business strategies, like cost cutting and new product launches. At

every opportunity, in Teva’s financial disclosures filed with the SEC and on conference calls, the

Defendants denied that Teva was engaged in price increases, let alone that those increases were

driving profits.

        63.        They concealed this because the Price-Hike Strategy was inherently risky,

unsustainable, and could subject Teva to government and law enforcement scrutiny, if not

prosecution. Specifically, the strategy was unsustainable and risky because the U.S. generic drug

market was designed to be extremely competitive; generic drugs are effectively a commodity,




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fully interchangeable and identical in every respect, except for price. Wholesale customers solicit

pricing though a “blind” RFP bidding process. Thus, even if Teva increased its prices, the

resulting profits could be short lived if other manufacturers undercut Teva’s price in order to

secure more market share. Moreover, generic drugs are an essential part of the lives of millions

of Americans. Dramatic increases in prices foreseeably would, and in fact did, garner public

criticism and Congressional action that further undercut the sustainability of the strategy.

Additionally, many of Teva’s price increases occurred in tandem with those of competitors.

Whether illegal or not, such pricing behavior is indicative of a lack of competition, if not

collusion, and could, and again did, become the subject of intense civil and criminal law

enforcement investigations. Had Teva disclosed that its core business strategy was to

aggressively increase prices of generic drugs, investors would have valued the Company very

differently from one with a strategy driven by fundamental growth and cost cutting, as the

Defendants falsely proclaimed.

       64.     Teva’s Price-Hike Strategy was particularly well-suited for concealment. The

generics industry is highly opaque; neither Teva, nor any of its peers, disclosed to the investing

public any information concerning individual drug prices, changes or amounts of revenues per

drug, let alone the profits from any particular drug. As explained below, to determine that the

Price-Hike Strategy was actually the driver of Teva’s success, the Class Action plaintiffs and their

experts undertook an econometric analysis of thousands of data points from various non-public,

subscription-based data services, including multiple regression analyses, to identify and quantify

Teva’s very large price increases that greatly exceeded general pricing trends and inflation. The

analysis then isolated the amount of profit Teva generated solely as a result of the increases. This

analysis yielded the Inflated Profits measure alleged herein.




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       C.      Teva Began to Implement The Price-Hike Strategy

       65.     On July 3, 2013 and August 9, 2013, the Defendants began to implement the

Price-Hike Strategy by raising the prices of 18 drugs. Fifteen of the increases were implemented

together with Teva’s competitors who also implemented price increases on the same drugs. The

increases were as high as 812% of the original price. See Appendix A.

       66.     In just the last two quarters of 2013, these price increases generated as much as

$250 million in Inflated Profits. The profit from the increases fell directly to Teva’s bottom line

because they required no additional R&D or S&M expenses. These 2013 price-hiked drugs

would contribute as much as $875 million in Inflated Profits to Teva’s bottom line by the end of

the Relevant Period.

       67.     From the Scorecards, LBE reports, and Work Plan, executives closely tracked the

impact of the Inflated Profits. This reporting structure ensured that “everyone would have

known” if there were significant price increases that generated large profits. (FE-2.)

       D.      2014 - Relevant Period Begins; Fraudulent Attribution of Profits; ADS Price
               Jumps; Law Enforcement Scrutiny

       68.     Entering 2014, price increases by generic drug companies had caused public

concern. For example, on January 8, 2014, the National Community Pharmacists Association,

based on a proprietary survey of its members, wrote to Congress stating that “[o]ver the last six

months . . . many of our members across the U.S. [] have seen huge upswings in generic drug

prices,” and requested an investigation. As the fact of large price increases on certain drugs

trickled out to the public, the Defendants made increasingly misleading statements to cover their

tracks and falsely disassociate themselves from price increases by attributing profit to other

sources.




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       69.     The Relevant Period begins on February 6, 2014, the date Teva announced its

fourth quarter 2013 and full year 2013 financial results in a press release. Those results improved

as compared to performance prior to the Price-Hike Strategy. The financial disclosures, however,

made no mention of the fact that this newfound success was driven by Inflated Profits.

       70.     Specifically, Teva’s financial disclosures touted a 14% increase in U.S. generics

revenue for the fourth quarter, attributing it to “higher sales” volume, reduced expenses, and

“exclusive launches” of new generic drugs. While the attributed reasons for improvement may

have had some minor influence on the profits, all of the YOY improvement was driven by the

Inflated Profit from price increases. The omission of this fact when listing the causes for the

YOY profit growth was misleading. This pattern would repeat throughout the Relevant Period.

       71.     During the February 6, 2014 earnings call, Desheh announced that Teva would

increase its quarterly dividend by 5%, that the “U.S. generic business is highly profitable,” and

that “[w]e had a pretty good even excellent second half [of 2013] in the United States [generic]

business.” Oberman, CEO of U.S. generics followed and explained that “at the gross profit levels

that [Desheh] was talking about, [the U.S. generics business] is a very valuable business to Teva,

and we see it continuing to be on a go-forward basis.” This presented a stark contrast from

Levin’s assessment just months earlier that the generics business was “slowing fundamentally.”

       72.     The improved financial results were well received by investors and analysts. On

February 6, 2014, a BMO Capital Markets analyst wrote that generic sales “came in above ... our

expectations and consensus”; “we think 4Q results are a high-quality beat with revenue and EPS

coupled with an improvement in margins year over year. . . . Teva shares should be bolstered by

today’s positive earnings announcement.”




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       73.     The encouraging news triggered the beginning of a long and steep increase in

Teva’s ADS price that would last throughout 2014 and 2015.3 By early March 2014, the ADS

had risen from the $30s to trade at $48. The increased price of the ADS was critical to achieving

the Defendants’ stated motivation to use the ADS as “currency” to make a major acquisition.

Desheh, on a March 4 investor conference call, explained that with “the stock price under $40 . .

. we can’t use [Teva Securities as] currency,” but that, with “change[s] over the past few

months,” Teva was extracting “itself [from] . . . a corner that was difficult to come out of,”

bringing Teva closer to a large acquisition.

       74.     What investors and analysts did not, and could not, know was that Desheh,

Oberman, and the Company’s SEC filings had concealed the Price-Hike Strategy, and that, in the

fourth quarter of 2013, the 18 price increases made pursuant to the strategy generated the

entirety of Teva’s YOY gain in U.S. generics revenue.

       75.     First Quarter 2014 Results; Analysts Take Note: By the beginning of April 2014,

Teva’s ADS price had increased to $54.06, or 19%, since the Relevant Period began. As a


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       Figure 1:




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National Alliance Securities analyst concluded, Teva’s ADS had “the Best YTD” 2014

performance relative to its peers, a stark contrast to how Teva had “dramatically underperformed

in 2013.”

       76.     The series of positive financial disclosures, fueled by undisclosed Inflated Profit

from the concealed Price-Hike Strategy, continued. On May 1, 2014, Teva reported surprisingly

positive results driven by its generics segment, which reported a YOY increase of $117 million

from Q1 2013 profits. The Defendants falsely explained that lower expenses, a changed

composition of revenues, and “new product launches” were the cause of the increase in profits. In

reality, the Price-Hike Strategy had generated $120 million that quarter.

       77.     The 2014 Work Plan, which was being reviewed by the executive committee in

August 2013, would have included the expected profits from the July and August 2013 price

increases. Cavanaugh, Griffin, and Oberman were each provided on a daily or weekly basis with

Scorecards that tracked whether Teva’s actual results met or exceeded the Work Plan forecasts.

Vigodman and Desheh similarly were provided documents reflecting the impact of the Inflated

Profits as they compared actual revenues versus the Work Plan through the LBE reports

disseminated throughout the quarter.

       78.     Analysts reacted positively to Teva’s surprising and rapid turnaround. Cowen and

Company analysts wrote, “The bottom line is that this story is reversing (for the positive) much

faster than previously anticipated, and the belief that ‘growth’ could reemerge is very real.” J.P.

Morgan predicted an “upside to near/longer term EPS” because of Teva “taking several steps to

regain its generic leadership including . . . focusing more heavily on portfolio selection and

management.” Jefferies analysts noted that Vigodman “Impresses in His Wall Street Debut” due

to his determination to reestablish “Teva’s dominance in its core generic business.”




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       79.     Second Quarter 2014 Results, Further Price Increases, and Law Enforcement

Scrutiny: In April 2014, Teva increased the prices of another 12 generic drugs pursuant to the

Price-Hike Strategy; eight of the increases were carried out together with Teva’s competitors.

Following the established process for implementing price increases, Cavanaugh and Griffin

would have approved these price increases, and would have tracked the Inflated Profits generated

through the Scorecards. By the end of the second quarter, these new price hikes alone would

generate as much as $50 million in Inflated Profit; and as much as $395 million by the end of the

Relevant Period.

       80.     On July 1, 2014, Olafsson was hired from Actavis as President and CEO of

Teva’s Global Generic Medicines Group.

       81.     By the summer of 2014, public attention to generic pricing had increased. On July

8, 2014, The New York Times published an article titled, “Rapid Price Increases for Some

Generic Drugs Catch Users by Surprise,” highlighting that the price of digoxin, a decades-old

drug that Teva did not produce, had nearly doubled since late 2013. Within days, and as a result

of this article, the Connecticut Attorney General (“AG”) began a non-public investigation into

the companies that manufactured digoxin. The Connecticut AG issued subpoenas to Teva’s

competitors Impax (on July 14, 2014), and Lannett Company, Inc. (“Lannett”) (on July 15,

2014); each company disclosed its subpoena in an SEC filing the very next day.

       82.     In this context, on July 31, 2014, Teva announced its Q2 2014 financial results,

once again boasting an excellent outcome from its generics division. Profitability of the generic

segment increased by $156 million from 2013, again attributed to legitimate business strategies.

During the earnings call, Desheh stressed that Teva’s “improvement in sales this quarter was

driven by the growth of our global generic business, primarily in the U.S.”




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       83.     Analysts echoed Defendants’ explanations. Jefferies analysts observed: “we

continue to see signs of recovery for Teva’s US generic business, which posted a strong 10%

Y/Y gain,” “Solid Q2.” Piper Jaffray increased its price target for Teva from $48 to $55 because

of “meaningful growth drivers for . . . [the] generics businesses,” and the “[s]teady performance

for U.S. generics.”

       84.     In truth, the Price-Hike Strategy had generated as much as $160 million in

Inflated Profit, accounting for all of the YOY increase in profit reported for Teva’s global

generics division.

       E.      Third and Fourth Quarter 2014 – Direct Questions; Explicit Denials Of Price
               Hikes

       85.     Teva continued to report increasingly positive results driven by its U.S. generics

business, even as scrutiny of certain price increases in the industry continued. The State AGs

served Par Pharmaceuticals with a subpoena on August 6, 2014, which Par disclosed on August

11, 2014. Then, on October 2, 2014, Congress sent letters to Teva and 16 of its peers. One such

letter, addressed personally to Vigodman, sought information on “the underlying causes of recent

increases in the price of [Teva’s] drugs.” Vigodman never responded. Any truthful answer would

have required him to reveal the Price-Hike Strategy.

       86.     Griffin and Cavanaugh implemented another 20 price increases on July 1 and

August 28, 2014, pursuant to the Price-Hike Strategy (Appendix A), 12 of which Teva made

together with other manufacturers. The increases would have been recorded in the Oracle

database, and reflected in the daily Scorecards and LBE reports. These 12 price increases would

generate as much as $50 million in Inflated Profit.

       87.     Significantly, the expected Inflated Profits from the July and August 2014 price

hikes, along with all the earlier increases, would have made their way into the Oracle database



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and been reflected in the report to the Officer Defendants. The price hikes implemented through

August 2014 generated as much as $193 million in Inflated Profits in the third quarter of 2014.

       88.     Third Quarter 2014 Results: On October 30, 2014, Teva released positive third

quarter results, driven by an increase in generic segments profits of $160 million, or 40%, as

compared to the third quarter of 2013. As was routine by this point, the Defendants fraudulently

attributed this increase to a reduction in expenses.

       89.     With Congressional hearings looming, on the October 30, Q3 2014 earnings call,

a UBS analyst asked Vigodman: “could you talk about Generics a little bit in the U.S.? . . .

whether there were price increases in some of your base business and whether that impacted”

profit. Vigodman fraudulently explained that the market was functioning normally and that

prices were decreasing:

       When there’s an opportunity, when there is a shortage in the market, we
       obviously look for pricing like any other business. But overall, as I’ve said many
       times before, the base business itself is slowly eroding, the overall of the base
       business.

       90.     Increases in prices due to shortages is a normal market dynamic. Thus, Vigodman’s

statement misled investors as to the fact that Teva had, by this time, implemented the strategy by

effectuating price increases on 46 drugs since July 2013 (some more than once), while not one of

these 46 drugs were subject to shortages or other reported market anomalies. In total, the

systematic Price-Hike Strategy had yielded as much as $193 million in Inflated Profits in the third

quarter of 2014. The profits from all of these price increases would have been reflected in the

Work Plan and LBEs that Vigodman and Desheh received.

       91.     Unaware of the true facts, analysts reacted positively to Teva’s financial results,

and Teva’s ADS price continued to climb. A Cowen and Company analyst noted, Teva’s

“Operations Are Improving, Cash Flows Are Accelerating.” Piper Jaffray wrote, “Importantly,



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operating profit . . . for the generics segment during the quarter was up 40% versus the same

period a year ago.” Morgan Stanley increased its price target for Teva from $57 to $61, stating,

“We are encouraged by progress that Teva is making on global generics under Siggi Olafsson.”

       92.     December 11, 2014 Guidance Call By November 2014, the DOJ initiated its own

investigation into generic drug pricing and impaneled a grand jury in Philadelphia, Pennsylvania.

The grand jury began issuing subpoenas to generic drug makers, the first on November 3, 2014

to Lannett and Impax relating to a drug Teva did not make. The companies disclosed these

subpoenas days later in SEC filings, on November 6 and 7, respectively.

       93.     On November 20, 2014, the Senate Subcommittee on Primary Health and Aging

held a hearing to explore “if there was a rational economic reason as to why patients saw [] huge

price increases [in generic drugs] or whether it was simply a question of greed of companies who

were able to raise prices to whatever level they wanted.” Teva was invited, but refused to testify.

       94.     It was against this backdrop that, on December 11, 2014, the Company held a

guidance call with analysts. On the call, a Morgan Stanley analyst honed in on the issue of risky

price increases, asking: for “generic manufacturers, I’m assuming that wholesalers have been

seeing extraordinary price increases in recent years and has been buying inventory ahead of

tremendous price increases. . . . Are you able to control it?”

       95.     In response, Olafsson flatly denied that prices had increased at all: “So first let me

correct. I have to disagree that they have experienced tremendous price increase.” Olafsson

dismissed the matter further: “There has been a lot of press about price increases on individual

molecules and this has been a hot political issue selecting a few products.”

       96.     These statements were flatly belied by the facts, to which Olafsson had direct

access. Teva by then had implemented 50 price increases on 46 drugs, each from 50% to as




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much as 1,500%; each increase was part of a concealed internal strategy and implemented

pursuant to Teva’s established internal practices.

       97.     Year-End 2014 Results: On February 5, 2015, Teva filed its fourth quarter and

full year 2014 financial results with the SEC, once again announcing positive results driven by

the generics segment. Fourth quarter 2014 profit for the generic segment increased $47 million,

or 9%, as compared to Q4 2013. For the full year 2014, profit from the generic segment

increased $480 million from 2013.

       98.     Though the Defendants attributed success to cost savings and other benign factors,

in Q4 2014 alone, Teva made as much as $219 million in Inflated Profits, or four times the fourth

quarter increase in profits the Defendants boasted; Teva made Inflated Profits of nearly $700

million for the full year 2014, or 144% of the reported YOY increase in generic profit for the

whole Company. All of these results would have been reflected internally in the Work Plan, the

Scorecards, and the LBE reports distributed to the Defendants.

       99.     The following table reflects Teva’s overall Inflated Profits for 2014:




       100.    Without mention of the Price-Hike Strategy, Desheh bragged about the profits

from Teva’s generic division. On the February 5, 2015 earnings call, he claimed “the most

notable contribution” to Teva’s growth and profits “was generated by our Generic business,

improving profitability by more than 500 basis points,” contributing “nearly $500 million” and

comprising 31% of the Company’s total profit. Unaware that the profits came from the Price-

Hike Strategy, analysts focused on this success. Piper Jaffray wrote that “profitability of the

generics business [is] continuing to improve.” Barclays focused on the trajectory of generics’



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success: “profitability for generics improved to 21.9% from 16.8% in 2013. . . . The company

anticipates another 400 basis point improvement in 2015 . . . a key priority.”

       101.    Notably, and consistent with the Officer Defendants having misled investors by

attributing Teva’s improved profits to sources other than the Price-Hike Strategy, throughout

2014 the Officer Defendants had also claimed that some portion of Teva’s increasing

profitability in generics was attributable to a purported $2 billion “cost-cutting” program that had

first been adopted in late 2012. However, only a fraction of that cost-cutting program actually

fell to Teva’s bottom line as profit. As Defendants eventually disclosed on a December 2014

investor call, by then Teva had generated only $150 million in cumulative profit from the

program since its inception. After that call, the Defendants stopped emphasizing cost cutting and

mentioned it only rarely again.

       102.    Teva also made statements about its strategy in various markets including Russia,

including statements in its 2014 20-F that Teva’s “key ROW markets” included Russia, which

“is characterized by rapid growth and relatively high sales of branded generics and OTC

products,” and that Teva’s “ROW strategy is to be selective as to where we do business, focusing

on the countries and segments where we can achieve a significant position. Over time and with

the right opportunities, we intend to expand our presence in markets such as Russia, China,

Brazil, and India . . . .” Teva’s 2014 20-F further stated that Russia “is primarily a branded

generic market” where “we market a diverse portfolio of products. We are currently one of the

largest pharmaceutical companies in Russia, playing a role in the commercial, retail, hospital and

state funded segments. The Russian government seeks to encourage the use of generic products

in order to reduce the cost of pharmaceuticals and increase patient access, which is influencing

our portfolio strategy. The government is further seeking to encourage local pharmaceutical




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production by providing incentives, and we have recently established a manufacturing facility in

Yaroslavl, Russia.” Teva made substantially similar statements in its 2015 20-F.

       103.    The 2014 20-F further stated that Teva’s management assessed the effectiveness

of the Company’s internal control over financial reporting as of December 31, 2014, and

concluded that its internal controls were effective, and that Defendants Vigodman and Desheh

evaluated the effectiveness of the Company’s disclosure controls and procedures as of December

31, 2014, and concluded that its disclosure controls and procedures were effective. Teva made

substantially similar statements in its 2015 20-F.

       F.      The First Half of 2015 – Teva ADS Price Soars to Become “Currency” For
               “Transformational” Actavis Acquisition

       104.    Teva implemented at least another 14 price increases in January 2015 (Appendix

A), nine of which were increased together with other manufacturers. Each of these was again

subject to the same rigorous internal review and approval process that included the Officer

Defendants, Oberman and Cavanaugh. The Inflated Profits were captured in the daily and

weekly Scorecards and intra-quarter LBE reports that Griffin, Cavanaugh, and Olafsson

circulated to Vigodman and Desheh to track whether forecasts were being met. By the end of the

first quarter of 2015, the 14 price increases undertaken in that quarter would generate as much as

$48 million in Inflated Profit; the Price-Hike Strategy overall would generate as much as $228

million in the quarter.

       105.    The Inflated Profits boosted the ADS price to nearly $60, and the Defendants’

motivation to use the ADS as “currency” for a “transformational” transaction was coalescing into

reality. As J.P. Morgan noted on February 5, 2015: “We believe that Teva is looking at assets of

all sizes, and will not rule out transformational M&A if the opportunity presents itself.” On

March 10, Susquehanna took note that “TEVA is increasingly focusing attention on its financial



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capacity and appetite for M&A.” By April 16, Barclays reported on Teva’s “willingness” to

perform a “‘transformational’ acquisition in the generics space.” That day, Leerink wrote that

Teva had an “urgency to diversify via M&A.”

       106.    Though not disclosed at the time, by late 2014 the Defendants had actually

approached Allergan, although Allergan was not ready to make a deal then. Vigodman would

later admit, on July 27, 2015, that Actavis “was basically the highest priority” for an acquisition.

Indeed, Olafsson told employees assembled at an August 2014 meeting soon after arriving at

Teva (from Actavis), that he had never joined a company that did not eventually acquire his

previous employer. (FE-1.)

       107.    First Quarter 2015 Results: On April 30, 2015, Defendants again announced

excellent results stemming from Teva’s generic segment, pointing to a profit increase of $296

million, or 59%, compared to the first quarter of 2014. The Defendants again misleadingly

attributed this increase in profits to a reduction in expenses, as well as a new product launch and

higher profitability in Europe. The Defendants concealed that as much as $228 million in

Inflated Profits accounted for 77% of the reported generic profit increase.

       108.    On the earnings call, Olafsson announced a “1,000 basis points improvement over

a two years period” in “operating profit in the generic segment.” He attributed this to “a

significant improvement in our cost of goods . . . portfolio offering . . . [including] when we have

more of the launches . . . [and] the cost infrastructure.”

       109.    In the absence of the truthful and complete reasons for Teva’s improved profit,

analysts credited the Defendants’ false statements. J.P. Morgan noted, “Teva continues to make

progress on generics profitability . . . we remain encouraged by the recovery in Teva’s generic

business.” Cowen and Company noted that Teva’s “outperformance was a result of better than




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expected U.S. generic sales.” Buoyed by the fraud, Teva’s ADS closed at $60.42 that day, an

increase of 33% since the start of Relevant Period.

       110.    As the weeks passed, the Defendants continued to laud the vast success in Teva’s

generic segment in a series of statements:

       •       On May 13, 2015, at a Bank of America Conference, Desheh declared that
               Teva’s improved generic business was “nothing short of a revolution,”
               explaining that “[i]n 2013 our gross margin of generic business was 41.3%.
               And it’s 46% in Q1 2015. Our operating margin was 16.7%. It is 27%, this
               is full 10 percentage points,” i.e., a $1 billion improvement.

       •       During a June 10, 2015 Goldman Sachs Global Healthcare Conference,
               Vigodman explained: “we started 2014 with a clear message, clear focus,
               getting the house in order first, solidifying the foundation of Teva. You see
               the profound change in the generic business. These are things that are
               not confined to numbers, but maybe numbers tell the story: 16.7%
               operating profit, 2013; 21.9% operating profit, 2014.” He fraudulently
               attributed all of this success to “cost reduction” and “[f]ull transformation
               of our operational network.”

       111.    $40 Billion Acquisition of Actavis Announced: As Olafsson had foretold on July

27, 2015, with Teva’s ADS price reaching an all-time high of $72, Teva would announce the

transformational acquisition it had been seeking: it had entered into a definitive agreement to

acquire Allergan’s worldwide generics business, Actavis, for $40.5 billion in cash and equity.

       112.    In announcing the deal, Vigodman explained that the rapid and surprising

turnaround in Teva’s generics segment since the start of the Relevant Period was the

“precondition” for making the deal. Of course, he concealed that the true “precondition”

underlying that turnaround was Teva’s implementation of the Price-Hike Strategy.

       G.      The Second Half of 2015 – Motivation Shifts; Paying for Actavis

       113.    Following the announcement of the Actavis deal, the Defendants needed to raise

over $30 billion in cash to pay for it. Teva did not have the money, and the price tag would

amount to roughly 20 years of Teva’s recent annual earnings. To pay for the deal, Teva would



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give Allergan $7 billion in ADS, and raise cash from investors through a $7 billion secondary

public offering of ADS and an initial public offering of Preferred Shares in early December

2015, and $15 billion from an offering of bonds set for 2017.

       114.   On July 30, 2015, following the announcement of the Actavis deal, Teva issued

more glowing Q2 2015 results driven by generics; specifically, an increase in generics profit of

$193 million, or 36%, compared to Q2 2014, attributed primarily, and misleadingly, to reduced

expenses and new product launches. That day, Desheh boasted about “the impressive

improvement in the profitability of our Generic business ... up from around 20%, 21% a year ago

to between 39.5% to 30% in the first half of 2015,” and specifically the “strong focus on U.S.

Generics business.” The Defendants concealed that the Price-Hike Strategy contributed as much

as $236 million in Inflated Profits in the second quarter alone. Without the Price-Hike Strategy,

generic profit would have declined.

       115.   Third Quarter 2015 Results: In July 2015, Teva implemented another seven price

increases, four of which were executed together with other manufacturers’ price increases,

following Cavanaugh’s and Griffin’s review and approval and as would be reflected in the

Scorecards, LBEs, and Work Plan circulated to the Defendants. By the end of the quarter, these

seven price increases, together with earlier hikes, would generate as much as $218 million in

Inflated Profits. Furthermore, given the timing of the increases, the expected profits would be

incorporated into the 2016 Work Plan that Olafsson, Cavanaugh, and Griffin would be

finalizing for presentation to Vigodman and Desheh later in the summer, following the routine

schedule.

       116.   Following these increases, on October 29, 2015, the Defendants issued Teva’s

third quarter 2015 results, reporting an increase of $20 million in generics profits compared to




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the third quarter of 2014, again misleadingly attributing this increase mainly to lower expenses.

In reality, the Price-Hike Strategy contributed as much as $218 million, ten times the reported

improvement in profit.

       117.    On the earnings call, Vigodman was exuberant about the “huge opportunities in

the United States” for generics. Likewise, Olafsson emphasized that “the Generic business in

third quarter continued to drive growth,” and that “[w]e really have been improving the

profitability over time,” pointing to increased margins of “16.8% in 2013, 22.1% in 2014, and

year-to-date number is about 28.9%.”

       118.    Analysts, unaware of the truth, continue to adopt the Defendants’ misleading

narrative. Piper Jaffray wrote, “Margins for the generics business continue to improve. . . .

Though top-line growth for the generics segment has been anemic, margins have continued to

expand.” Jefferies’ analysts highlighted that, “Generic Drug Margins Continue to Improve,”

noting that “on the live Q3 presentation, management highlighted the significant improvement in

profitability from its core generics business.”

       119.    Increased Public Scrutiny on Pricing: By the fall of 2015, however, Congressional

initiatives, law enforcement actions, and public anger toward perceived abuses in drug pricing had

taken hold. Legislation was introduced in Congress that would penalize generic manufacturers for

increasing prices at a rate higher than inflation. The State AGs and DOJ were continuing their

investigations. Furthermore, Allergan had received a DOJ subpoena concerning generic pricing

on June 25, 2015, which it disclosed in an SEC filing on August 6, 2015.

       120.    Given this landscape, during the Q3 2015 earnings call held on October 29, 2015,

analysts posed direct questions to the Defendants aimed at getting a clear answer as to whether




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Teva was exposed to regulatory scrutiny. The Defendants met these specific questions with

equally specific denials.

       121.    On the call, after a series of questions on the sustainability of Teva’s generics

success, Vigodman reaffirmed the false premise that Teva had generated its profits solely from

sustainable, ordinary business practices, and not price:

       We’re very . . . responsible in everything that portends to prices on the Generics
       side.... And I would even put it another way, all the improvement you see in our
       – in margins is not driven by price. It is driven by quantities and by mix and by
       efficiency measures. Not by price, 2014, 2015, and that’s a very important
       message.

Then, when a Barclays analyst asked for management’s thoughts on the proposed legislation’s

“potential limit to generic drug price increases,” Olafsson denied that Teva was exposed:

       In terms of the proposed legislation on pricing control on generics, ... we have
       told you that overall on our whole portfolio, we have a decline in price. The talk
       about the inflation in generics when you have a big portfolio is really not there.

The only price increases he acknowledged were those “due to some abnormalities in the

market,” like supply shortages.

       122.    Misled, analysts took explicit note. That day, UBS repeated the Defendants’

fraudulent denials: “[Management] highlighted that the [generic business] improvement was not

driven by price, but by volume, mix, and efficiency.” The truth was that the fraudulent denials

concealed the Price-Hike Strategy, and that Teva had by that point made 71 price increases, none

of which were caused by market abnormalities like shortages. Moreover, a huge portion, if not

all, of the margin improvement Vigodman touted was driven by as much as $1.6 billion in

Inflated Profit reported since the start of the Relevant Period, including, over $690 million in

2014, and over $680 million in the first three quarter of 2015. All of this information was

reflected in the Scorecards, LBEs, Work Plan and other reports regularly sent to Olafsson and

Vigodman.


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        123.    Importantly, by this time, the Defendants’ misstatements, which were necessary

to maintain the ADS price in order to raise the cash for the Actavis deal, were concealing an ever

increasing risk. Public, regulatory, and law enforcement scrutiny of the industry had begun to

undermine Teva’s ability to execute and sustain the Price-Hike Strategy. Teva was finding it

increasingly difficult to increase prices. In 2014, Teva made 32 increases. In 2015, Teva made a

total of only 21 hikes; 14 in January, and seven in July, the final round of significant price

increases implemented in a systematic fashion prior to the close of the Relevant Period. By the

end of 2015, Inflated Profits had diminished quarter over quarter for the first time since Q1 2014.

        124.    With this context, and with the offering of $7 billion in ADS and Preferred Shares

weeks away, Teva attended a November 19, 2015, Jefferies conference. The moderator pressed

Desheh about “everyone’s favorite topic the last 2 months . . . pricing, is it an issue? . . . where

do you go on pricing?” Desheh acknowledged the swirl of concern over pricing and legislative

actions, but claimed that “Teva was not associated with any of that,” and specifically, with

respect to legislative initiatives to cap price increases, Teva’s exposure “is as a small as anybody

can have.” The opposite was true.

        125.    Teva’s False and Misleading Registration Documents for Its Secondary ADS and

Preferred Share Offerings: On November 30, 2015, Teva filed a Registration Statement with the

SEC, regarding Teva’s Secondary ADS and Preferred Share Offerings, and on December 3 filed

two prospectus supplements and issued the Secondary ADS and Preferred Shares. The Offering

Documents included numerous false and misleading statements attributing Teva’s profits to

sources other than the Price-Hike Strategy. The ADS/Preferred Offerings raised approximately

$7.2 billion.




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       H.      First Half of 2016 – Price-Hike Strategy Screeches to A Halt; Pricing
               Pressure Denied; Subpoenas Concealed; $20 Billion Debt Offering and Close
               of Actavis Deal

       126.    As 2015 came to a close, the effects of industry-wide pressure on generics pricing

spurred by the investigations and scrutiny on pricing practices came to the fore as a number of

industry participants reported a new trend of downward pricing pressure. On, January 11, 2016,

McKesson, one of Teva’s major wholesaler customers, announced that it “now expect[ed] that

operating profit from generic pharmaceutical pricing trends will be significantly weaker” through

the second half of its fiscal year, ending on March 31, 2016.

       127.    The same day, J.P. Morgan held a healthcare conference. With McKesson’s

announcement in mind, J.P. Morgan asked Olafsson to comment “on how you see generic

pricing as we look out not just this year but in the future and how Teva is able to navigate the

current environment?” Olafsson responded by fraudulently claiming that Teva was not involved

in “big price increases”:

       There’s a lot of headlines of examples of big price increases in generics. But
       when you are a company of the size of Teva and you have the portfolio that we
       have today – as I said, 270 products for the whole of the portfolio – there is a
       decline.

He later fraudulently explained that, because Teva had not taken “big price increases,” its

generics portfolio was not exposed to price deflation:

       The generic pricing – we need to keep in mind there’s a lot of talk about inflations
       in generic pricing. But what we see is there’s – overall on our total portfolio of 270
       products, there is a slight decrease in pricing. . . . on 95% of our portfolio, we
       experience price decline. And then on 5%, we might be flat or a slight increase . . .

       128.    These false statements belied the truth. Teva had raised prices on 60 drugs, or

22% of the portfolio Olafsson cited, generating by that point as much as $1.7 billion. This would

have been reflected on the daily Scorecards and intra-quarter LBE reports the Officer Defendants

received. More to the point, the drug prices that were driving Teva’s profits were massively


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inflated, making Teva particularly vulnerable to the pricing pressure that other industry players

reported.

        129.    Fourth Quarter and Full Year 2015 Results: On February 11, 2016, Teva issued its

fourth quarter and full year 2015 financial results. The full year disclosures reported Teva’s

profit in generics in 2015 were up $500 million YOY, concealing over $848 million in Inflated

Profit for the year.

        130.    On the earnings call that day, Olafsson again touted a “$1 billion improvement in

operating profit over 24 months period,” pointing to generics profits going from “$1.68 billion

operating profit in 2013, or 17% of revenue, to $2.68 billion operating profit in 2015, or 28% of

revenue. He explained rhetorically: “So how did we do this? Not by pricing but by portfolio mix,

new products, and efficiency measures.”

        131.    Olafsson denied even the mere existence of price inflation, let alone having

engaged in 71 price hikes: “on pricing . . . . [W]e and the generic industry overall don’t see price

inflation of generics as it sometimes is portrayed in the media.”

        132.    In truth, the concealed Price-Hike Strategy had generated as much as $1.5 billion

in Inflated Profits over the 24 months period Olafsson cited.

        133.    But additional price hikes had become more difficult, if not impossible to

implement. Accordingly, Teva reported that fourth quarter 2015 profit in generics increased only

1% compared to the fourth quarter of 2014. Analysts, thus, grew more concerned as more firms

reported pricing pressure in the fourth quarter. Guggenheim asked: “some of your competitors

have talked about pricing pressure in the generics business during the quarter. Curious if you saw

that, and if so what might be driving that.” Olafsson fraudulently responded:




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        let me start on the pricing. As I mentioned in the beginning, we didn’t see
        anything change in fourth quarter. We saw approximately 4% pricing pressure
        or price decline in the US business over 2015 flat over the year.

        134.      Misled, Guggenheim expressed relief in its report, stating: “[u]nlike its generic

competitors, TEVA did not experience any increase in pricing pressure this quarter, which

highlights the strength of the company’s platform, in our view.” Jefferies’ analysts also believed

Olafsson’s false distinction between Teva and other companies reporting pricing pressure: “Mgt

noted that smaller generics players may have realized outsized gains from price increases on

individual drugs – and are thus now exposed to faster price erosion – and stressed that its

portfolio breadth and optimized supply chain/cost structure allow the co to maintain solid

profitability.”

        135.      Based on these false statements, the Defendants had concealed from investors the

true reason for the flattening of the YOY profit growth from generics: Teva’s Price-Hike

Strategy had begun to falter. The 60 drugs on which Teva had increased price were facing

renewed pricing pressure. As such, the quarterly change in Inflated Profit had begun to decrease,

rather than increase by as much as $70 million since the second quarter of 2015, or by 30%. This

trend would continue throughout the Relevant Period.

        136.      The following table reflects Teva’s overall Inflated Profit for 2015:


 2015 ($ millions)                  Q1            Q2            Q3            Q4          Full Year

 Inflated Profit                  $228          $236          $218         $166           $848


        137.      Pricing Concerns Increase, Defendants Go on the Offense: As investors became

increasingly concerned about the pricing environment, the Defendants continued to affirmatively

deny any vulnerability to pricing pressure. At a March 8, 2016 conference, a Cowen analyst




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asked Olafsson to “discuss what you’re seeing” on “generic pricing.” Olafsson said that “[Teva]

never saw” price increases and that “inflation never really happened in the generics business.”

He added, “overall the pricing hasn’t changed that much,” and was “stable,” and there had been

no “big changes in the pricing environment” since 2015. In reality, Teva’s Inflated Profit had

fallen 24% in the fourth quarter 2015, from $218 million to $166 million, compared to the prior

quarter.

       138.    First Quarter 2016 Results: As the public and law enforcement scrutiny

intensified, the Price-Hike Strategy faltered and Inflated Profits declined from pricing pressure.

Teva was unable to make significant additional price hikes, implementing only five during the

entire course of 2016, all on April 6 of that year, and all on drugs that Teva had hiked before and

in markets where Teva possessed a monopoly. See Appendix A.

       139.    Because of declining profits, the Defendants were under significant stress to

finance the Actavis acquisition. They needed to raise the $20 billion in additional cash required

to close the Actavis deal through a bond offering. On May 9, 2016, on the Q1 2016 earnings call,

the Defendants set a new date for the $20 billion offering, September 2017.

       140.    That day, Teva also announced its first quarter 2016 financial results, reporting

profit from generics $215 million less than in the first quarter of 2015. Defendants misleadingly

attributed the decline to higher expenses, lower sales, lower European profit, and fewer product

launches. As pricing pressure sapped the impact of the Price-Hike Strategy in Q1 2016, Teva

generated $104 million less in Inflated Profits compared to the first quarter of 2015, accounting

for half of the generics division’s reported profit decline. The “hole” created by the drop in

Inflated Profit would have been reflected in the Scorecards, LBEs and Work Plan. (FE-1, FE-2.)




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       141.    Similarly, even as additional generic drug manufacturers accurately reported poor

results due to pricing pressure, the Defendants continued to deny that pricing pressure had any

impact on Teva. On the May 9, 2016 earnings call, Olafsson noted “the number of companies

citing a tougher pricing environment or price deflation seems to have grown at an almost

incredible rate.” However, he again denied that Teva had exposure to price deflation, and blamed

other manufacturers’ woes on those firms’ business models:

       Throughout the ongoing debate this year about the level of generic price erosion
       in the United States, Teva has been very consistent and clear with investors. Teva
       has not seen any fundamental change or worsening in the pricing
       environment... What this boils down to is each individual company’s business
       model.... Nothing has happened in the last two quarters that has changed the
       pricing environment.

Olafsson instead blamed Teva’s decline in generic profits entirely on issues other than pricing,

most prominently the lack of new product launches. He misleadingly asserted that Teva’s prior

success had come from sustainable sources such as “portfolio optimization, strengthening our

capabilities in R&D, and manufacturing of complex products . . . and sales force effectiveness.”

       142.    The empirical facts internal to Teva and available to Olafsson through the

Scorecards, LBE reports, Work Plans, and the Oracle database would have shown otherwise.

Like its competitors, price deflation was substantially damaging Teva’s profits. Since the fall of

2015, Teva’s Inflated Profit plummeted from as much as $236 million in Q2 2015, to $218

million in Q3 2015, to a mere $124 million in the first quarter of 2016. See Figure 1.

       143.    Deceived analysts credited Olafsson’s false denials. J.P. Morgan wrote,

“Reassuring Generics Outlook Ahead of [Actavis] Deal Close . . . Teva does not see any major

changes in the price environment.” Jefferies wrote “Generic pharmaceutical bellwether TEVA

has not witnessed a deterioration in the pricing environment, according to mgt. This directly

contrasts with what has been stated by a number of competitors over the past few months.”



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       144.    With Teva’s debt offering scheduled to occur in the fall, and thus needing to keep

investors optimistic about Teva’s prospects, the Defendants continued their unrelenting flow of

fraudulent statements and denials that Teva was seeing any increase in pricing pressure:

       •       May 10, 2016 (Olafsson) “I know many of the competitors in the generic
               space ... are talking about a lot of pricing pressure, but it shouldn’t be.
               There is nothing that has happened over the last two quarters which has
               changed fundamental the market.”

       •       June 3, 2016 (Vigodman) “So we are very consistent. Our message was
               conveyed, and we will continue to convey. What we see is a 4% to 5%
               erosion. That’s what we see. That’s not something which is different from
               what we said during 2015. By the way, we continue saying it in 2016.”

       •       June 8, 2016 (Olafsson) “[R]eally, the environment hasn’t changed.
               When we signed that [Actavis] deal in July [2015], we talked about 4%
               price erosion in the US generic business. And we are still talking about
               the same number, what we see in the base business.”

       145.    The undisclosed truth was that the rapid deterioration of the Price-Hike Strategy

continued into the second quarter of 2016. Inflated Profits would decline 52% YOY.

       146.    Only days after Olafsson’s June 8 statements, undisclosed to shareholders, on

June 21, 2016, Teva received a subpoena from the DOJ seeking information relating to generics

pricing. And on July 12, 2016, Teva received a subpoena from the Connecticut AG. Teva did not

make any further price increases for the duration of the Relevant Period.

       147.    Subpoenas Concealed; Notes Offering Is Accelerated: The day immediately after

receiving the subpoena from the Connecticut AG, on July 13, 2016, the Defendants announced that

Teva was accelerating its $20 billion debt offering from the September timeframe it had

announced just weeks earlier. Defendants filed the Registration Statement with the SEC that

very day. To support this surprise announcement, Olafsson, Vigodman, and Desheh gave bullish

guidance to investors for the end of 2016 through 2019. Again, with industry reports of pricing

pressure in mind, a Citigroup analyst asked Olafsson on an investor call that day: “can you



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comment on the generics pricing assumptions that you have baked into your forecast?”

Olafsson responded: “we are assuming and now forecasting for the guidance for the remainder

of the year same pricing assumption as we have had for the first half of the year,” because “we

saw no change in the pricing. We saw a stable environment . . . from first quarter into second

quarter.”

       148.   But far from being “stable,” the pricing environment for Teva’s own generics

portfolio had been deteriorating. Inflated Profit was down $122 million, or 52%, for the second

quarter as compared to the same period in 2015. Teva was unable to offset this price

deterioration with additional price increases. The pricing assumption Teva “baked into” the

guidance was contemporaneously false and disprovable.

       149.   Moreover, Teva’s Price-Hike Strategy faced a brand new, and concealed,

challenge. The Defendants made no mention of this or the DOJ subpoenas until after the Notes

Offering was complete and the Actavis deal was closed.

       150.   Without the true facts, investors were falsely reassured that Teva had somehow

immunized itself from the downward industry trend. Piper Jaffray noted that “management stated

that it did not see further pricing pressure on the overall generics business,” which “may ease

recent worries regarding the near-term trajectory of the business.” Morgan Stanley wrote that

“pricing and LT Guidance [was] encouraging . . . [m]gmt sees US pricing environment as

unchanged.”

       151.   The $20 Billion Debt Offering: On July 18, 2016, Teva launched its $20 billion

bond offering to finance the Actavis transaction, approximately $15 billion of which were U.S.

dollar-denominated and sold directly to public investors. The offering was made pursuant to the

Notes Offering Materials, which incorporated several of the false and misleading quarterly and




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full year financial disclosures. Despite dozens of pages of disclosures about other investigations

and litigations, neither the Notes Offering Materials, nor the documents incorporated by

reference therein, disclosed the DOJ and Connecticut AG subpoenas.

       I.      Third Quarter of 2016 – Disclosure of Declining Performance and
               Subpoenas; Generics Day

       152.    Second Quarter 2016 Results: On August 4, 2016, Teva announced disappointing

second quarter 2016 results and disclosed for the first time the receipt of the DOJ and State AG

subpoenas. The financial disclosures reported $115 million less in generic profit in Q2 2016,

than in the second quarter of 2015, a decrease attributed mostly to increased expenses, the loss of

exclusivity on certain products, and lower sales on products for which Teva had not taken price

increases. This misleading attribution concealed that Teva earned as much as $122 million less in

Inflated Profits for Q2 2016 YOY. On the disclosure of the poor results and the subpoenas, the

price of Teva Securities declined.

       153.    The Defendants scrambled to mitigate the bad news, making a series of false

statements to reassure investors that Teva was still immune to the swelling pricing pressure. On

the earnings call, a Citigroup analyst again asked whether decreased U.S. generic revenues had

impacted Teva’s views on pricing stability. Likewise, Olafsson once again falsely claimed that

“the pricing is stable to the same degree as before . . . very stable from the first quarter.” This

was belied by facts that Olafsson was presented with on the daily Scorecards, and in the LBEs

and Work Plan, that he shared with the other Officer Defendants, which would have revealed

dramatically decreasing Inflated Profit.

       154.    When a J.P. Morgan analyst asked whether Teva might increase prices following

the Actavis acquisition, Olafsson fraudulently implied that Teva had never increased prices to

drive profits, and that opportunities to do so were ephemeral and limited to times of shortage,



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stating, “pricing comes with shortages in the market . . . if there’s some kind of dysfunction in

the market, there might be a small pricing opportunity that usually comes in and comes out.” The

concealed truth was that Teva had made 76 price increases on 60 drugs, and none had anything

to do with shortages. And now, with those inflated prices under pressure, the Inflated Profit was

declining.

       155.    The false statements mollified unaware analysts. J.P. Morgan wrote, “[Teva’s] US

generics business [was] modest[ly] below expectations but generic pricing environment remains

stable.” Morningstar analysts similarly wrote that Teva’s “Management also noted underlying

price erosion remains consistent in the mid-single digits at approximately 4%.”

       156.    The table below reflects the change in Teva’s profits as reported in the first half of

2016, as compared to the same period a year ago, as well as the change in Inflated Profits for the

same period:


                 2016 ($ millions)                    Q1           Q2        Half Year
                 Reported YOY Change in
                 Generic Profit                    -$215       -$115         -$330
                 (Unreported) YOY
                 Change in Inflated Profit         -$104       -$122         $-227


       157.    Teva’s Generics Day: On September 9, 2016, Teva held its “Generics Day” for

investors, during which the Defendants touted the supposed opportunities of the combined

Teva/Actavis business. Olafsson issued more misleading, categorical claims that Teva had never

inflated its prices for generics drugs: “[t]here is no inflation in the generic pricing”; “people that

say that . . . there’s a big generic price inflation, are simply wrong.” He falsely reiterated that

price increases occurred only with market abnormalities like shortages: “When price increases

are taken, there’s some kind of abnormality in the business. There are shortages.”



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       158.    Olafsson then falsely explained that Teva had a purported “secret sauce” that

immunized the Company from pricing pressure. In reality, Teva had no “secret sauce”; it was

suffering from pricing pressure on its drug portfolio which in reality had “big generic price

inflation” from years of large price hikes made pursuant to the Price-Hike Strategy. The pricing

pressure on that portfolio would have been reflected in the Scorecards, LBEs and Work Plan.

       J.      Fourth Quarter 2016 – Teva Reported as Target of Investigations; Poor
               Results; DOJ and State AG Charges; Executives Fired

       159.    Bloomberg Article; DOJ Charges & State AGs Loom: On November 3, 2016,

Bloomberg, the leading real-time news source for Wall Street and investors, published an article

titled, “U.S. Charges in Generic-Drug Probe to Be Filed by Year End,” revealing for the first

time that “according to people familiar with the matter,” “U.S. prosecutors are bearing down on

generic pharmaceutical companies in a sweeping criminal investigation into suspected price

collusion” as the “antitrust investigation by the Justice Department, begun about two years ago,

now spans more than a dozen companies and about two dozen drugs,” and “the first charges

could emerge by the end of the year.” Moreover, “Connecticut Attorney General George Jepsen .

. . is seeking to lead a group of states . . . seeking damages.” The article specifically mentioned

Teva as one of the companies.

       160.    Accordingly, Teva was now for the first time reported as a potential target of

criminal and civil liability. The price of Teva securities fell immediately upon release of this

article, with its ADS price plummeting 9%.

       161.    Poor Third Quarter Results; Continued Denials: On November 15, 2016, Teva

reported its third quarter 2016 results, its first post-Actavis financial report, disclosing

disappointing numbers, particularly from Teva’s legacy generics business. With revenues from

Actavis removed, Teva’s U.S. generics revenues declined $277 million YOY from the third



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quarter of 2015. Defendants fraudulently attributed the decline to causes such as divestments and

lost sales from certain drugs. In truth, as much as $121 million, or 44%, of the overall YOY

decline, was attributable to a YOY decline in Inflated Profit as the Price-Hike Strategy collapsed.

This decline would, again, have been reflected in the Scorecards, and the “hole” between

forecasts and actual revenues long ago captured in the LBEs, and circulated to Olafsson, Desheh,

and Vigodman.

       162.    Olafsson, however, falsely insisted that “like previous quarters, there hasn’t been

any fundamental change in the US drug pricing.” Indeed, Olafsson doubled down when a Wells

Fargo analyst expressly asked whether the reported increase in price erosion to 7% was a “result

of having to tame previous price increases, or give back some of those?” Olafsson flatly, and

fraudulently, stated “No.” He instead claimed the number increased because of divested drugs,

and thus that it was an anomaly limited to the quarter. In reality, the increase in erosion was

causing a dramatic decline in Inflated Profit. Figure 1. A puzzled J.P. Morgan analyst pressed

him, observing that “anyone that look[s] at the industry as a whole, it feels like this [is] a broader

issue than [a] one-off market disruption.” Olafsson adamantly insisted “there hasn’t again been

any fundamental change” in pricing.

       163.    The false statements comforted analysts otherwise troubled by the poor U.S.

generic results. Deutsche Bank wrote: “management continue[d] to expect mid-single digit price

erosion in 4Q and over the longer term.”

       164.    Olafsson Is Fired: Less than three weeks later, on December 5, 2016, Teva

unexpectedly announced Olafsson’s “retirement.” His replacement, Bhattacharjee, immediately

took over as CEO, Global Generic Medicines Group. In reality, Olafsson, only 48 years old, was

fired. He is now the CEO of Hikma Pharmaceuticals PLC, and a director of other companies.




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       165.    Analysts readily saw through the implausible reason given for Olafsson’s

departure, concluding that he had been terminated due to the poor performance of Teva’s

generics division. In truth, the sudden change in performance was the materialization of the risks

associated with the Price-Hike Strategy; Inflated Profit suddenly dropped; law enforcement was

now pursuing Teva; a price-inflated generics portfolio was increasingly susceptible to pricing

pressure; and Teva could not plug the hole in its financial results with price increases.

       166.    DOJ Criminal Charges; State AGs Sue Teva: On December 14, 2016, the DOJ

announced it had charged (by information) Glazer and Malek, the former CEO and the former

President, respectively, of Heritage, a competitor of Teva’s, for their roles in conspiracies to fix

prices, rig bids, and allocate customers, including manipulating the market for Glyburide from

2013 through the end of 2015. The connection between Teva and these charges was clear; Teva

controlled over 75% of the market for Glyburide during the Relevant Period.

       167.    The next day, December 15, 2016, the Connecticut AG announced that he and 19

other State AGs had filed a federal lawsuit for antitrust violations against Teva USA and five

other major drug companies, alleging that Teva conspired on Glyburide (the “First State AGs’

Complaint”). The State AGs’ complaint cited emails, calls, and documents that evince explicit

collusion between Teva and Heritage’s principals, Malek and Glazer.

       168.    The First State AGs’ Complaint has since been amended to include 13 additional

drugs, seven of which implicate Teva, and 47 State AGs, and the AGs from the District of

Columbia and Puerto Rico. That complaint is based in part on the cooperation of Glazer and

Malek, who have settled with the State AGs in exchange for cooperation. The State AGs are now

investigating conspiracies regarding upwards of 200 drugs, filed a significantly expanded

complaint in May 2019, as set forth below, and have indicated their intent to file additional




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complaints in the future. Malek and Glazer have also pleaded guilty to Federal criminal charges,

admitting that they participated in “a conspiracy to suppress and eliminate competition by

allocating customers and fixing and maintaining prices for glyburide, from in or about April

2014 and continuing until at least December 2015,” in violation of the Sherman Act.

       K.     The Truth Emerges Related to Russia, Ukraine, and Mexico

       169.   On December 22, 2016, the DOJ issued a press release entitled “Teva

Pharmaceutical Industries Ltd. Agrees to Pay More Than $283 Million to Resolve Foreign

Corrupt Practices Act Charges.” This press release stated the payment was a criminal penalty in

connection with the bribery of government officials in Russia, Ukraine, and Mexico, and

explained that Teva had entered a deferred prosecution agreement in connection with a criminal

information filed the same day in the Southern District of Florida. Further, the press release

explained that Teva LLC (Russia) had entered a plea agreement with the DOJ, pleading guilty to

conspiracy to violate the FCPA in connection with its bribery of a Russian official. The plea

agreement included the admission that Teva LLC (Russia) did not timely and voluntarily self-

disclose the FCPA violations to the DOJ. The DOJ’s December 22, 2016, press release, the

criminal information, and Teva LLC (Russia)’s plea agreement are each incorporated herein in

their entirety. Those documents detailed Teva’s bribery of government officials in Russia,

Ukraine, and Mexico.

       L.     First Quarter 2017 – Continued Decline of Generics Revenue

       170.   In view of Olafsson’s departure, on January 6, 2017, Teva provided 2017

guidance a month early, announcing a significant reduction and surprising analysts. Vigodman

attributed the reduction to previously-unannounced poor performance, and an “EBITDA gap of

$1.2 billion emanating from our US generics business.” Teva’s legacy generics business

“explain[ed] the majority of the gap.” On this news, the price of Teva Securities plummeted.


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       171.    Vigodman concealed that the EBITDA “gap” was actually attributable largely to

the collapse of Teva’s Price-Hike Strategy, and the resulting steep decline in Inflated Profit. In

2016, Teva had generated only as much as $420 million in Inflated Profit, compared to $848

million in 2015. In each quarter of 2016, Inflated Profit declined at least 45% YOY. In 2016,

Teva made only five modest (~25%) price increases, on drugs that had already been hiked.

       172.    The following chart reflects the YOY reduction in Inflated Profits on a quarterly

basis from 2015 to 2016:

     Inflated Profit
     ($ millions)          Q1             Q2           Q3         Q4            Full Year

        2015
                       $228           $236             $218      $166           $848
        2016
                       $124           $114             $97       $86            $421


       173.    Vigodman, for his part, continued to fraudulently claim that Teva’s profitability

since 2014 was “accomplished with a strong emphasis on the cost of goods sold, product mix,

and the overall cost structure,” and “not by price.”

       174.    Vigodman Is Terminated: On February 6, 2017, Teva announced Vigodman’s

termination, effective immediately. Without a permanent replacement, Teva appointed

Peterburg, its Chairman of its Board since January 2015, as Interim President and CEO.

Investors reacted negatively on this news, and the price of Teva Securities dropped significantly.

Once again, the reality was that Vigodman was fired.

       175.    On February 13, 2017, Teva announced its full year 2016 and fourth quarter 2016

results. The Defendants disclosed that, without the Actavis revenue, Teva would have reported a

$233 million YOY decline in quarterly U.S. generics revenues, but concealed that as much as

$80 million of that YOY decline resulted from the decline in Inflated Profit.


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       176.    As to the full year 2016, without Actavis, Teva would have reported a YOY U.S.

generic revenue decline of $1.4 billion for the full year 2016, attributed to a loss of exclusivity,

lower sales of certain drugs, and the loss of revenues from divested product, when in fact as

much as $427 million of the yearly decline resulted from the decline in Inflated Profit.

       177.    Desheh Finally Out, $6.1 Billion Charge Announced Weeks Later: on June 8,

2017, Teva announced the nomination of four new directors to its Board, in an attempt to assure

investors that the Company was attempting to redeem itself and regain lost credibility. By June

21, 2017, Desheh was also out, leaving Teva for another job.

       M.      August 3-7, 2017 – Teva Announces Massive $6.1 Billion Charge for U.S.
               Generics Business

       178.    On August 3, 2017, with Desheh, Vigodman, and Olafsson – the principal

architects of Teva’s Price-Hike Strategy – finally gone, and with new Board members in place,

Teva took a $6.1 billion charge against its U.S. generics business, a permanent reduction in the

entire business’s valuation and a dollar-for-dollar hit to the Company’s bottom line. In addition,

after at least thirty years of maintaining its shareholder dividend, Teva announced a 75%

reduction in its payout. In reporting a dismal loss of $5.94 per share, Teva also drastically

revised the guidance issued in January (which already revised the July 2016 guidance); this

guidance reduction was a direct result of the complete collapse of the Price-Hike Strategy, and

evaporation of the Inflated Profits, which by this point amounted to just $53 million per quarter,

with no reason to believe that the erosion would abate.

       179.    As a result of this new negative information, Teva’s ADS price fell $7.50 per

share, or 24%, from a close of $31.25 on August 2, 2017 to a close of $23.75 on August 3, 2017,

on high trading volume. The ordinary share price also declined ILS 1,980, or 17.79%, from a




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close of ILS 11,130 on August 2, 2017 to a close of ILS 9,150 on August 3, 2017. Teva’s market

capitalization was reduced by approximately $8 billion.

          180.   Further, as the multiple government investigations and State AG lawsuits

intensified, Teva repeatedly made false and misleading statements and/or failed to disclose

material adverse facts regarding Teva’s anticompetitive practices and involvement in the

collusive scheme. For example, on August 3, 2017, Teva described the various antitrust matters

it faced, including the Connecticut AG and DOJ subpoenas and the December 2016 State AG

lawsuit referenced above, and fraudulently stated that “Teva denies having engaged in any

conduct that would give rise to liability with respect to the above-mentioned subpoenas and civil

suits.”

          181.   On Friday, August 4, 2017, Fitch Ratings also downgraded Teva to BBB- (one

step above junk), with a negative outlook. As a result of the news on August 3 and 4, Teva’s

ADS price continued to fall by an additional $3.15 per share, or 13.26%, from a close of $23.75

on August 3, 2017 to a close of $20.60 on August 4, 2017, on high trading volume. Teva’s

market capitalization was reduced by approximately $3.3 billion.

          182.   The next trading day on the TASE, the ordinary share price continued to fall by

ILS 2,022, or 22.10%, from a close of ILS 9,150 on Thursday, August 3, 2017 to a close of ILS

7,128 on Sunday, August 6, 2017.

          183.   The next trading day, Monday, August 7, 2017, as the prices of Teva securities

continued to drop, Morgan Stanley analysts downgraded Teva’s ADS to “Underweight,” noting

specifically that they had “underappreciated the risk of generics pricing pressure to Teva’s

earnings and dividend, and we expect Teva to continue to underperform given overhangs.” In




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other words, the analysts had been led to believe through Defendants’ repeated and adamant

denials that Teva was not vulnerable to the pricing pressure.

       184.    As a result of the news on August 3 and 4, 2017, Teva’s ADS price continued to

fall by an additional $2.01 per share, or 9.76%, from a close of $20.60 on August 4, 2017 to a

close of $18.59 on August 7, 2017, on high trading volume. Teva’s market capitalization was

reduced by approximately $2.2 billion.

       185.    The ordinary share price also continued to fall by ILS 18, or 0.25%, from a close

of ILS 7,128 on Sunday, August 6, 2017 to a close of ILS 7,110 on Monday, August 7, 2017.

       186.    In total, over these three trading days, Teva’s ADS price fell $12.66 per share, or

40.6%, and the ordinary share price fell ILS 4,020, or 36.2%. Teva’s market capitalization was

reduced by approximately $13 billion.

       N.      November 2, 2017

       187.    Teva announced its third quarter 2017 financial results on November 2, 2017,

when it filed the Q3 2017 Form 6-K with the SEC. The Q3 2017 Form 6-K disclosed a 9%

decline in U.S. Generic Medicine quarterly revenues compared to the third quarter of 2016.

       188.    The decline in U.S. Generic Medicine revenue was misleadingly attributed to

“pricing declines resulting from customer consolidation into larger buying groups and

accelerated FDA approvals for additional generic versions of competing off-patent medicines as

well as volume decline of methylphenidate extended-release tablets (Concerta® authorized

generic) due to the launch of a competing product.”

       189.    Investors and analysts reacted negatively to this news. Analysts at Cowen and

Company called the Company’s full year guidance “unfavorable” and stated that, with a

“difficult generic pricing environment and competitive pressures – which are not being properly

offset by new product launches – the Teva business model is now upside down.” Analysts at


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RBC Capital Markets stated that the results were even “below our cautious expectations,” and

that the “magnitude of weakness in the US generics business in both revenue and margins was

surprising.” Wells Fargo Securities analysts found Teva’s results to be “especially

disappointing.”

       190.    As a result of this new negative information, the prices for Teva securities

declined. The ADS price fell $2.79 per share, or nearly 20%, from a close of $14.02 on

November 1, 2017 to a close of $11.23 on November 2, 2017, on high trading volume. Teva’s

market capitalization was reduced by approximately $3 billion.

       191.    The next trading day on the TASE, Teva’s ordinary shares fell ILS 670, or

13.65%, from a close of ILS 4,908 on Wednesday, November 1, 2017 to a close of ILS 4,238 on

Thursday, November 2, 2017.

       O.      February 8, 2018

       192.    On February 8, 2018, Teva issued a press release announcing its fourth quarter

and full year financial results, including a staggering $17.1 billion goodwill impairment mainly

related to its generics business for 2017. On the conference call with investors held later that day,

Teva explained that $11 billion of the impairment “related to our U.S. generics business as well

as additional impairments of other long-lived assets of $3.2 billion, mainly related to a

revaluation of generic products acquired from Actavis.”

       193.    Investors and analysts reacted negatively to this news. Analysts at Wells Fargo

Securities stated that the Company missed consensus expectations “by a significant margin,” but

noted that:

       [W]e believe it will be the lower than consensus 2018 outlook that investors will
       be focused on, especially the commentary about generic pricing worsening in 4Q
       and the overall environment worsening for the value of future launches. Teva took
       a $17.1 billion goodwill impairment, which investors should see as reflective of
       how challenging the situation is.


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BTIG analysts noted “another major write-down following last year’s $6B goodwill

impairment.” Similarly, IBI Brokerage stated that the $11 billion “impairment charge [was]

almost entirely for the generics business in the US” and that guidance for fiscal year 2018 was

“way below market expectations.”

       194.   As a result of this new negative information, the prices for Teva securities

declined. Teva’s ADS price fell $2.21 per share, or over 10.5%, from a close of $20.85 on

February 7, 2018 to a close of $18.64 on February 8, 2018, on high trading volume. Teva’s

market capitalization was reduced by approximately $2.3 billion.

       195.   The next trading day on the TASE, the ordinary share price fell ILS 500, or 6.9%,

from a close of ILS 7,200 on February 7, 2018 to a close of ILS 6,700 on February 8, 2018.

       P.     December 9, 2018 – State AGs Investigation Escalates

       196.   On December 9, 2018, the Washington Post published an interview with Joseph

Nielsen, an assistant attorney general and antitrust investigator in Connecticut who has been a

leading the State AGs investigation. Mr. Nielson disclosed that the price-fixing investigation

had expended to at least 16 companies and 300 drugs.

       197.   Mr. Nielson noted that the State AGs’ investigation “is most likely the largest

cartel in the history of the United States, citing the volume of drugs in the schemes, that they

took place on American soil and the “total number of companies involved, and individuals.”

       198.   Following the news of the expanded scope of the criminal investigation, Teva’s

ADS price fell $0.97 per share, or approximately 5%, to close at $18.44 on December 10, 2018.

Likewise on the TASE, the price of Teva’s ordinary shares fell ILS 390, or 5.34%, to close at

ILS 6,910 per ordinary share on December 10, 2018.




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       Q.      May 10, 2019 – State AGs File a Second Complaint

       199.    On May 10, 2019, more than 40 State AGs, led by the Connecticut AG, filed suit

in U.S. District Court in Connecticut, alleging that Teva USA, Cavanaugh, Patel, along with 19

of Teva’s purported competitors, violated antitrust laws by “systematically” dividing up the

market for generic drugs in order to avoid competing with one another (the “Second State AGs

Complaint”).

       200.    The Second State AGs Complaint greatly expanded the extent of liability Teva

faces, alleging that Teva illegally colluded with its competitors to fix the price of at least thirty-

two drugs previously unnamed in the First State AGs Complaint. In total, the State AGs allege

that “Teva, during a l9-month period beginning in July 2013 and continuing through January

20l5,… significantly raised prices on approximately 112 different generic drugs.” Moreover,

“[t]he size of the price increase varied, but a number of them were well over 1,000%.”

       201.    Building on their investigation detailed in the First State AGs Complaint, the

Second Complaint details text messages, phone calls, industry meetings and private dinners

establishing an illegal price fixing conspiracy in the generic pharmaceutical industry. Notably,

the Second State AGs Complaint stated that the State AGs’ investigation is still ongoing and they

“will likely bring additional actions” based on drugs not identified in the current complaint.

       202.    The action details Teva’s role as a “consistent participant” and a central player in

the conspiracy. Further, the civil enforcement action names four Teva employees personally as

defendants: Cavanaugh, Patel, Kevin Green (Teva’s former Director of National Accounts), and

David Rekenthaler (Teva’s former Vice President, Sales U.S. Generics).

       203.    Following this news, Teva’s ADS price fell $2.13 per share, or approximately

15%, to close at $12.23 on May 13, 2019. Likewise, on the TASE, Teva’s ordinary shares fell

ILS 714, or 13.6%, to close at ILS 4,511 per ordinary share on May 13, 2019.


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        R.     Teva Engaged in Illegal Promotion Scheme to Increase Opioid Sales

        204.   Opioids are highly addictive, narcotics, which is why historically medical

professionals prescribed such narcotics with caution and only prescribed them in limited

circumstances to patients with cancer, terminal illnesses, or acute short-term pain.

        205.   Manufactures and distributors of pharmaceutical opioids are limited by FDA

guidelines and approvals in the manners in which it could market the drug—simply, they are

prohibited from marketing the drugs for uses not approved by the FDA.

        206.   However, in order to increase sales of opioids and grow their bottom lines, opioid

manufactures and distributors purposefully expanded the market for opioids beyond a niche for

cancer patients, the terminally ill, and acute short-term pain and persuaded medical professionals

to prescribe the potentially lethal narcotic to a broader range of patients with chronic non-cancer

related pain. They accomplished this by convincing medical professionals to prescribe more

opioids to a broader range of patients and falsely downplay the risk of opioid addiction and

overstate the efficacy of opioids for more wide-ranging conditions, including chronic non-cancer

pain.

        207.   Consequently, more than 115 Americans die each day as a result of opioid

overdoses and thousands more struggle with opioid addiction. The epidemic has besieged all

demographics, and with more than half a million related deaths recorded in the U.S. between

2000 and 2015, the crisis has officially been declared a public health emergency.

               1.      Teva Expands its Opioid Business

        208.   From 2005 to 2009, Teva USA was in the business of selling generic opioids,

including a generic form of OxyContin. In May of 2011, Teva expanded its opioid business with

Teva USA’s acquisition of the biopharmaceutical company Cephalon for $6.8 billion, in an

effort to expand its presence in branded products.


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       209.    Among the branded products Cephalon sold were opioids, including Actiq, a

fentanyl4 lollipop, and Fentora, a dissolving fentanyl pill.

       210.    Teva manufactures, promotes, sells, and distributes branded opioids Actiq, a

fentanyl lollipop, and Fentora, a dissolving fentanyl pill. Actiq and Fentora have been approved

by the FDA only for the “management of breakthrough cancer pain in patients 16 years of age

and older who are already receiving and who are tolerant to opioid therapy for their underlying

persistent cancer pain.”

       211.    Cephalon, however, has a history of marketing its opioids for off-label purposes.

In 2008, Cephalon pleaded guilty to a criminal violation of the Federal Food, Drug and Cosmetic

Act for its misleading off-label promotion of Actiq and two other drugs and agreed to pay $425

million. In particular, the DOJ alleged that between 2001 and 2006, Cephalon promoted the drug

for non-cancer patients to use for such maladies as migraines, sickle-cell pain crises, injuries, and

in anticipation of changing wound dressings or radiation therapy. Additionally, Cephalon

promoted Actiq for use with patients who were not opioid tolerant. Cephalon implemented a

variety of techniques to promote off-label uses of its potentially lethal drugs, including training

its sales force to disregard restrictions of the FDA-approved label, and to actively promote the

drugs for off-label uses. For example, the DOJ alleged that Cephalon instructed its Actiq sales

representatives to focus on physicians other than oncologists, and to promote this drug for many

uses other than breakthrough cancer pain, even though the FDA-approved label for Actiq stated

that the drug was only for “opioid tolerant cancer patients with breakthrough cancer pain, to be

prescribed by oncologist or pain specialists familiar with opioids.”




4
 Fentanyl is a synthetic opioid that is 100 times more potent than morphine and 50 times more
potent than heroin as an analgesic.

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       212.    In addition to selling branded opioids, in August of 2016, Teva began to sell

generic opioids, including oxymorphone and hydrocodone, following its acquisition of Actavis

Pharma, Inc. and Actavis LLC from Allergan plc.

               2.      Teva Deceptively and Illegally Marketed Opioids

       213.    Despite the extreme dangers associated with opioids, Teva engaged in various

promotional campaigns to increase its sales of the product. Given the narrowly FDA-approved

list of uses for opioids, Teva would only be able to increase its sales by promoting off-label (i.e.,

non-FDA approved) uses, including chronic pain and other non-cancer conditions.              Teva’s

efforts to push opioid sales included Teva paying experts in a given field of medicine (referred to

as “key opinion leaders” or “KOLs”) to deliver talks and continuing medical education programs

(“CMEs”) that provided favorable information about treating pain with opioids.

       214.    For example, in 2009. Teva paid to have a CME it sponsored, “Opioid-Based

Management of Persistent and Breakthrough Pain,” published in a supplement of Pain Medicine

News. Notably, the CME explicitly recommended Actiq and Fentora for patients with chronic

pain, regardless of any cancer- related diagnosis.

       215.    Again in December 2011, Teva issued a journal supplement entitled “Special

Report: An Integrated Risk Evaluation and Mitigation Strategy for Fentanyl Buccal Tablet

(FENTORA) and Oral Transmucosal Fentanyl Citrate (ACTIQ)” to Anesthesiology News,

Clinical Oncology News, and Pain Medicine News-three publications that are sent to thousands

of anesthesiologists and other medical professionals. The journal supplement promoted Fentora

for “multiple causes of pain,” rather than solely the FDA-approved use in connection with cancer

treatment.

       216.    Teva also sponsored the American Pain Foundation’s (“APF”) materials and

programs which were available nationally and reached many New Yorkers, as intended. For


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example, Teva sponsored a consumer guide distributed by APF entitled: Treatment Options: A

Guide for People Living with Pain. The guide downplays the risk of addiction from opioids,

stating that physical dependence “does NOT mean you are addicted,” rather it merely suggests

that only persons who already have “addictive disease” have misused opioids. The guide also

deceptively states that “[d]espite the great benefits of opioids, they are often under-used.”

       217.    In addition to providing doctors the false impression that opioids are safe,

effective, and appropriate for treating non-cancer pain, Teva sales representatives incentivized

doctors who prescribed its opioids.       For example, Teva sales representatives were able to

nominate doctors for lucrative paid speaking engagements, with the expectation that the speakers

would increase their prescribing of Actiq and Fentora and identify patients in their practice who

could receive free trials for opioids.

       218.    Moreover, Teva sales representatives were given sales targets which were not

achievable without expanding into non-oncological practices. When pushing opioids to non-

cancer related practices, one Actiq sales representative would state that the FDA’s labeling of the

drug as for breakthrough cancer pain was just a “formality.”               Indeed, one Teva sales

representative who marketed Fentora between 2012 and 2013 stated that it was Teva’s

management that instructed sales representatives to target pain clinics, notwithstanding the fact

that such clinics do not treat cancer patients. The sales representative stated that at least 99% of

the doctors who wrote prescriptions for Fentora in her territory were pain specialists who wrote

the prescriptions for off-label use. Critically, the sales representative stated that the doctors told

her that they did not treat cancer patients.




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        219.    In approximately fifteen years, Teva’s annual promotional spending on opioids

steadily climbed from under $4 million in 2000 to more than $13 million in 2014, reaching a

peak budget of $27 million in 2007.

                3.      Teva is Investigated and Sued for Illegal Marketing of Opioids

        220.    Teva’s illegal and dangerous promotion of opioids reached a turning point on

May 21, 2014, when two California counties sued Teva and Cephalon, along with several other

pharmaceutical companies, accusing the companies of causing the nation's prescription drug

epidemic by waging a "campaign of deception" aimed at boosting sales of potent painkillers such

as OxyContin, Actiq, and Fentora. Shortly thereafter, on June 2, 2014, the City of Chicago filed a

similar complaint against Teva and Cephalon.

        221.    Many states, counties, and cities throughout the United States would soon follow

the lead of California and Chicago, including, inter alia, Alabama, Connecticut, Georgia,

Illinois, Kentucky, Louisiana, Michigan, New Hampshire, New Jersey, New Mexico, New York,

Ohio, Oregon, Pennsylvania, Tennessee, Texas and Washington, and filed their own complaints

against Teva and/or its affiliates.

        222.    Since the first complaint was filed in May of 2014, approximately 1,500

complaints have been filed against Teva by a number of cities, counties, states, other

governmental agencies and private plaintiffs in both state and federal courts, over its sales of

opioids. Concurrently with numerous individual actions throughout the United States, there is a

massive multi-district litigation, comprised of approximately 1,000 cases, proceeding in the U.S.

District Court for the Northern District of Ohio, in which Teva and certain of its affiliates are

defendants.5


5
 The case is styled: In re: National Prescription Opiate Litigation, C.A. 1:17-md-02804 (N.D.
Ohio).

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       223.    Teva’s potentially liability increased greatly, beyond monetary consequences,

when on April 27, 2018, it received subpoena requests from the DOJ seeking documents relating

to the manufacture, marketing and sale of opioids. In addition to the DOJ’s criminal

investigation, a number of state AGs, including a coordinated multistate effort, have initiated

investigations into sales and marketing practices of Teva and its affiliates with respect to

opioids.

               4.      Teva Pays Oklahoma $85 Million for Opioid Sales

       224.    On Sunday, May 26, 2019, less than 48 hours before the first major trial against

Teva for its opioid liability was set to begin, Teva announced that it has agreed to pay the State

of Oklahoma $85 million in order to settle claims that it fueled the opioid crisis in the State.

       225.    As a result of this new negative information, the prices for Teva securities

declined. The ADS price fell $1.35 per share, or approximately 12.4%, from a close of $10.87 on

May 24, 2019 to a close of $9.52 on May 28, 2019, on high trading volume.

       S.      End of Relevant Period – Teva’s Liability Greater than Expected; Analyst
               Downgrades

       226.    Following the filing of the Second State AGs Complaint and Teva’s $85 million

settlement for its marketing of opioids to Oklahoma, the true extent of the Company’s liabilities

was exposed.

       227.    On May 28, 2019, UBS analyst Navin Jacob estimated that Teva’s liability in

opioid litigation and price-fixing litigation could reach $4.1 billion, noting that the Company

faced “larger potential litigation expense (for both opioids and drug price fixing) than we had

built into our previous valuation.” Mr. Jacob estimated that Teva faced $1.9 billion in damages

related to its generic drug pricing strategy, and $2.2 billion related to the opioid litigation, which




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would result in a loss of $3.75 per share. The analyst stated that the “lack of clarity and larger-

than-expected opioid settlement” were the causes for the downgrade. Moreover, Mr. Jacobs

stated that he was surprised that Teva settled the claims against it given its prior indications

suggesting that a settlement was unlikely.

        228.    Likewise, on May 30, 2019, an analyst at Bank of America Merrill Lynch, Jason

Gerberry, downgraded Teva’s securities, citing, inter alia, Teva’s current legal exposure.

        229.    Indeed, Teva’s potential liability from opioids alone can, and likely will, have a

material impact on its financial health. By way of comparison, on March 4, 2019, Purdue

Pharma, the maker of the opioid OxyContin, announced that it is “exploring” a bankruptcy filing

as a result of its opioid-related liability.

        230.    As a result of this new negative information, the prices for Teva securities

declined. The ADS price fell $0.86 per share, or approximately 8.9%, from a close of $9.70 on

May 29, 2019 to a close of $8.84 on May 30, 2019, on high trading volume and to a near 19-year

low.

V.      FALSE AND MISLEADING STATEMENTS AND OMISSIONS

        231.    During the Relevant Period, the Defendants made seven types of false and

misleading statements or omissions concerning its generic drug business and opioid business on

conference calls with investors and in SEC filings and press releases:

        •        False Statements Regarding Competition These statements falsely
        indicated that Teva was participating in competitive and functioning markets for
        generic drugs. To the contrary, Teva made dozens of price increases in tandem
        with its competitors. Teva and these companies deliberately did not compete on
        price.

        •        False and Misleading Financial and Pricing Statements These statements
        concealed Teva’s Price-Hike Strategy and the profits it generated. Later, the
        statements concealed that the Price-Hike Strategy fell apart as Teva was unable to
        make more price increases or sustain Inflated Profits. These statements were
        particularly misleading as the Defendants touted, and investors were highly


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       attuned to, the sources of the generic segment’s purported success. In turn, the
       Company’s false and misleading statements and practices related to its pricing
       strategy resulted in the material overstatement of, inter alia, the value of Teva’s
       goodwill on its balance sheet and reported operating income and net earnings by
       billions of dollars.

       •       Concealed Receipt of Subpoenas The Defendants failed to disclose in the
       Notes Offering Materials Teva’s receipt of subpoenas from the DOJ and the State
       AGs in connection with their antitrust investigations into the generics industry.

       •        False and Misleading Statement Concerning Opioid Sales and Litigation
       These statements misleadingly omitted information concerning Teva’s illegal
       promotion of opioids for non-FDA approved uses, and the Company’s liablity
       resulting therefrom.

       •        Item 5 The Defendants violated their statutory duty to disclose material
       trends under Item 5 of Form 20-F. Defendants failed to disclose the material trend
       of generating profit as part of the concealed Price-Hike Strategy. They also
       concealed the trend of declining Inflated Profits, and that they could no longer
       make price increases as the strategy unraveled.

       •         False Denials Of Teva’s Participation in Collusive Conduct These
       statements falsely denied that Teva had participated in collusive conduct, while in
       reality Teva was the central actor in an industry-wide scheme to fix prices and
       allocate customers, and four Teva executives were so extensively involved in the
       unlawful conspiracy that they were named personally as defendants in the State
       AGs’ May 2019 complaint.

       •         False Statements Regarding Actavis Acquisition These statements failed
       to disclose and actively concealed the negative impact resulting from the
       acquisition and integration of Actavis on Teva’s financial results and business
       prospects.

       232.   The alleged false and misleading statements and omissions below were made in

Teva’s financial disclosures filed with the SEC, and were attributable to the Defendants as

follows. Altman was responsible for and signed the Form 6-K filed on February 6, 2014, and the

Form 20-F for February 10, 2014, when serving as Acting Chief Financial Officer. Olafsson was

responsible for the reporting for Teva’s generics segment in each Form 20-F and 6-K from the

third quarter of 2014 through the third quarter of 2016. Peterburg was responsible for and signed

the Form 20-F for the period ended December 31, 2016 as Interim President and CEO. Desheh



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was responsible for and signed each Form 20-F, and each 6-K from February 13, 2014 through

June 29, 2017. Vigodman was responsible for each Form 20-F and 6-K filed during his tenure as

Teva’s CEO. Schultz was responsible for and signed Teva’s Form 10-K.              McClellan was

responsible for and signed the Form 10-K, each Form 8-K starting from January 2, 2018 through

the end of the Relevant Period, and each Form 6-K starting from July 11, 2017 through the end

of the Relevant Period.

       A.      Defendants’ False and Misleading Statements Concerning Teva’s Operation
               in a Competitive Market

       233.    On February 10, 2014, Teva filed an Annual Report on Form 20-F with the SEC,

announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2013 (the “2013 20-F”). The 2013 20-F contained representations that Teva faced

“intense” competition in the U.S. generic drug market, how competition typically forced the

price of generic drugs down, and how Teva’s competitive advantage lay in its “competitive

pricing strategy” and capability to launch new generics:

       Our generic drugs face intense competition. Prices of generic drugs typically
       decline, often dramatically, especially as additional generic pharmaceutical
       companies (including low-cost generic producers based in China and India)
       receive approvals and enter the market for a given product and competition
       intensifies. Consequently, our ability to sustain our sales and profitability on any
       given product over time is affected by the number of new companies selling such
       product and the timing of their approvals.

                                              ***
       In the United States, we are subject to intense competition in the generic drug
       market from other domestic and foreign generic drug manufacturers, brand-name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product
       typically results in margin pressures. We believe that our primary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality and cost-
       effective production, our customer service and the breadth of our product line. We
       believe we have a focused and competitive pricing strategy.


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       234.       On February 9, 2015, Teva filed an Annual Report on Form 20-F with the SEC,

announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2014 (the “2014 20-F”). The 2014 20-F contained representations that Teva faced

“intense” competition in the U.S. generic drug market, how competition typically forced the

price of generic drugs down, and how Teva’s competitive advantage lay in its “competitive

pricing strategy” and capability to launch new generics:

       Our generic drugs face intense competition. Prices of generic drugs typically
       decline, often dramatically, especially as additional generic pharmaceutical
       companies (including low-cost generic producers based in China and India)
       receive approvals and enter the market for a given product and competition
       intensifies. Consequently, our ability to sustain our sales and profitability on any
       given product over time is affected by the number of new companies selling such
       product and the timing of their approvals.

                                                 ***
       In the United States, we are subject to intense competition in the generic drug
       market from domestic and international generic drug manufacturers, brand-name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product
       typically results in margin pressures. We believe that our primary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality, our
       customer service and the breadth of our product portfolio. We believe we have a
       focused and competitive pricing strategy.

       235.       On July 27, 2015, Teva held a conference call with analysts and investors to

discuss Teva’s acquisition of Actavis. During that call, in response to a question regarding

competitiveness in the generic drug market, Defendant Olafsson stated that “the U.S. generic

market is very competitive[,]” noting “fierce competition on most of the portfolio, if not all of

the portfolio.”

       236.       On the same call, Defendant Vigodman touted Teva’s commitment to a

competitive market, stating, in relevant part:




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        [W]e promise to do everything in our power to basically take the company to be
        able to continue the improvement that we have been witnessing here. We believe
        in competition, and we’ll do what is needed in order to win in all the markets we
        operate.

        237.    On October 29, 2015, Teva held a conference call with analysts and investors to

discuss Teva’s Q3 2015 financial and operating results. During that call, Olafsson stated the

following with respect to Teva’s drug pricing: “I think pricing is obviously based on the

competition. We have talked about that the overall pricing trend is down.”

        238.    On November 19, 2015, during another conference with analysts and investors,

Defendant Desheh touted the competitive nature of the generics market and Teva’s role as a fair-

playing participant, stating, in relevant part:

        Generic prices. There is – there are no – I don’t believe that there are many examples
        for competitive environment, real competition, like we see in generic market in the
        United States . . . . So it is a highly competitive environment with players coming
        from all over the world with a very fierce price competition. The price of generic
        went down 50% over the past 10 years . . . . So we’re playing a competitive game.
        We’re playing it fairly. We of course play by the book and by the rule ... And we are
        in short playing in a very competitive market.

        239.    On February 11, 2016, Teva filed an Annual Report on Form 20-F with the SEC,

announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2015 (the “2015 20-F”). The 2015 20-F contained representations that Teva faced

“intense” competition in the U.S. generic drug market, how competition typically forced the

price of generic drugs down, and how Teva’s competitive advantage lay in its “competitive

pricing strategy” and capability to launch new generics:

        Our generic drugs face intense competition. Prices of generic drugs typically
        decline, often dramatically, especially as additional generic pharmaceutical
        companies (including low-cost generic producers based in China and India)
        receive approvals and enter the market for a given product and competition
        intensifies. Consequently, our ability to sustain our sales and profitability on any
        given product over time is affected by the number of new companies selling such
        product and the timing of their approvals.



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                                              ***
       In the United States, we are subject to intense competition in the generic drug
       market from domestic and international generic drug manufacturers, brand-name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product
       typically results in margin pressures. We believe that our primary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality, our
       customer service and the breadth of our product portfolio. We believe we have a
       focused and competitive pricing strategy.

       240.   On February 15, 2017, Teva filed an Annual Report on Form 20-F with the SEC,

announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2016 (the “2016 20-F”). The 2016 20-F contained representations that Teva faced

“intense” competition in the U.S. generic drug market, how competition typically forced the

price of generic drugs down, and how Teva’s competitive advantage lay in its capability to

launch new generics:

       Our generic drugs face intense competition. Prices of generic drugs typically
       decline, often dramatically, especially as additional generic pharmaceutical
       companies (including low-cost generic producers based in China and India)
       receive approvals and enter the market for a given product and competition
       intensifies. Consequently, our ability to sustain our sales and profitability on any
       given product over time is affected by the number of companies selling such
       product, including new market entrants, and the timing of their approvals.

                                              ***
       In the United States, we are subject to intense competition in the generic drug
       market from domestic and international generic drug manufacturers, brand-name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product
       typically results in margin pressures. We believe that our primary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality, our
       customer service and the breadth of our product portfolio.

       241.   On February 12, 2018, Teva filed an Annual Report on Form 10-K with the SEC,

announcing the Company’s financial and operating results for the quarter and year ended


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December 31, 2017 (the “2017 10-K”). The 2017 10-K contained similar representations to

Teva’s Forms 20-F, containing boiler-plate representations concerning the Company’s

competition in the U.S. generic drug market:

       Our generic drugs face intense competition. Prices of generic drugs may, and
       often do, decline, sometimes dramatically, especially as additional generic
       pharmaceutical companies (including low-cost generic producers based in China
       and India) receive approvals and enter the market for a given product and
       competition intensifies. Consequently, our ability to sustain our sales and
       profitability on any given product over time is affected by the number of
       companies selling such product, including new market entrants, and the timing of
       their approvals.

                                               ***
       In the United States, we are subject to competition in the generic drug market
       from domestic and international generic drug manufacturers, brand-name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs.

       242.   On February 19, 2019, Teva filed an Annual Report on Form 10-K with the SEC,

announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2018 (the “2018 10-K”). The 2018 10-K contained similar representations to

Teva’s Forms 20-F and 2017 10-K, containing boiler-plate representations concerning the

Company’s competition in the U.S. generic drug market:

       Our generic drugs face intense competition. Prices of generic drugs may, and
       often do, decline, sometimes dramatically, especially as additional generic
       pharmaceutical companies (including low-cost generic producers based in China
       and India) receive approvals and enter the market for a given product and
       competition intensifies. Consequently, our ability to sustain our sales and
       profitability on any given product over time is affected by the number of
       companies selling such product, including new market entrants, and the timing of
       their approvals.

                                               ***
       In the United States, we are subject to competition in the generic drug market
       from domestic and international generic drug manufacturers and brand-name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar


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       drugs. An increase in FDA approvals for generic products is increasing the
       competition on our base generic products. Price competition from additional
       generic versions of the same product typically results in margin pressures, which
       is causing some generics companies to refocus their portfolio.

       243.    The statements referenced in ¶¶233-242 were materially false and misleading

because Defendants made false and/or misleading statements, as well as failed to disclose

material adverse facts about the Company’s business, operational and compliance policies.

Specifically, Defendants made false and/or misleading statements and/or failed to disclose that:

(i) since July 2013, rather than competing on price, Teva had made, via the Price-Hike Strategy,

76 price increases without competition on price from competitors; (ii) on at least 48 of these

occasions, Teva had made price increases in tandem with its competitors; (iii) Teva’s increasing

profitability was the result of lacking, not “intense,” competition; (iv) the generic drug market

was not operating competitively because Teva and its competitors refused to compete fairly, i.e.,

not at all; (v) Teva had concealed how these price increases had driven its purported turn-around

and success; (vi) Teva had concealed that in 2013, 2014, 2015, Teva implemented the Price-

Hike Strategy and undertook, respectively, at least 18, 31, and 18 systematic increases of generic

drug prices to generate billions in Inflated Profits, by deliberately taking advantage of markets

that lacked competition; and (vii) as a result, the Company’s public statements were materially

false and misleading at all relevant times.

       B.      Defendants’ False and Misleading Statements Concerning Financial
               Reporting and Generic Drug Pricing

       244.    On February 6, 2014, Teva issued a press release announcing the Company’s

financial and operating results for the fourth quarter 2013 (the “Q4 2013 Press Release”). The

Q4 2013 Press Release stated U.S. generics revenues of $1.2 billion dollars for the fourth

quarter, which represented a YOY increase of $144 million, or 14%, compared to the fourth

quarter of 2012. According to the Q4 2013 Press Release, these increases “resulted mainly from


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the exclusive launches of niacin ER . . . and temozolomide . . . in the third quarter of 2013, and

launches of duloxetine . . . and tobramycin . . . in the fourth quarter of 2013, as well as higher

sales of budesonide inhalation[.]”

       245.    On February 10, 2014, Teva filed the 2013 20-F, which announced a YOY

decline in generic profit of $400 million, or 19%. The 2013 20-F stated that the decrease was

“primarily” due to “lower revenues and lower gross profit, which were partially offset by a

reduction in selling and marketing expenses” as well as “sales of higher profitability products in

the United States.”

       246.    The statements referenced in ¶¶244-245 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

via the Price-Hike Strategy, Teva made a minimum of 18 systematic price hikes in July and

August 2013, which contributed materially to the Company’s announced results; (ii) for the

fourth quarter 2013, up to $147 million in Inflated Profit resulted from these price increases,

which made up the entirety of Teva’s YOY U.S. generic revenue increases; and (iii) in 2013,

these price increases generated up to $250 million in Inflated Profit without which Teva would

have reported a $650 million, or a 31%, YOY decline rather than the 19% the 2013 20-F

reported. Such Inflated Profit was a significant contributor to the Company’s results when

compared to Teva’s S&M expenses, which had a YOY decline of merely $26 million compared

to 2012.

       247.    On March 10, 2014, Teva issued a press release from its North Wales,

Pennsylvania US headquarters, announcing its “2014 National Partnership” with Volunteers in

Medicine (“VIM”), a national nonprofit organization dedicated to helping communities provide

free primary healthcare clinics, “to make healthcare services more readily available to the




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uninsured.” In the press release, Defendant Oberman touted the Company’s purported

commitment to “make quality healthcare accessible to patients around the world”, stating in

relevant part that its partnership with VIM “is not only a business objective, but also a

philanthropic commitment.” Moreover, the press release asserted that “Teva provides access to

healthcare not only through its business model of developing, manufacturing and marketing high

quality generic and specialty medicines, but also through significant philanthropic programs,

complemented by key alliances with partners – such as VIM – that advance a common

commitment to address unmet medical needs.”

       248.    The statements referenced in ¶247 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Teva had

implemented a Price-Hike Strategy, which artificially inflated the cost of generic

pharmaceuticals for consumers; and (ii) consequently, patients in the United States, including the

millions of uninsured, would suffer and struggle to afford the rising costs of the generic

pharmaceuticals sold by Teva.

       249.    On May 1, 2014, Teva held an earnings call with analysts and investors. On the

call, Defendant Desheh noted Teva’s growth in its U.S. generic revenues was due to the

Company’s new product launches. According to Desheh, Teva’s generics division “experienced

significant growth in the United States market, with 17% YOY growth, to a total of $1 billion

with a number of new product launches.”

       250.    On May 2, 2014, Teva filed a Report on Form 6-K with the SEC, announcing the

Company’s financial and operating results for the first quarter 2014 (the “Q1 2014 6-K”). The

Q1 2014 6-K reported a YOY increase of $117 million in generic profit, or 31%. According to

the Q1 2014 6-K, the increase was “primarily” attributable to “higher revenues, higher gross




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profit and a reduction in selling and marketing expenses.” The Q1 2014 6-K attributed higher

gross profit to “the change in the composition of revenues in the United States and Europe,

mainly products launched during the first quarter of 2014 and in the United States in the second

half of 2013.”

       251.      The statements referenced in ¶¶249-250 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

via the Price-Hike Strategy, Teva made a minimum of 18 systematic price hikes in July and

August 2013, which contributed materially to the Company’s announced results; and (ii) for the

first quarter 2014, up to $120 million in Inflated Profit resulted from these price increases, which

made up almost the entirety of Teva’s YOY increase in U.S. generic revenue growth, which was

almost three times that of the $42 million YOY reduction in S&M expenses.

       252.      On July 31, 2014, Teva filed a Report on Form 6-K with the SEC, announcing the

Company’s financial and operating results for the second quarter 2014 (the “Q2 2014 6-K”).

The Q2 2014 6-K reported a YOY increase of $156 million in generic segment profit, or 41%.

According to the Q2 2014 6-K, the increase was “primarily” attributable to “a significant

reduction in selling and marketing expenses, higher revenues and higher gross profit.” The Q2

2014 6-K attributed higher gross profit to “higher revenues in the United States, specifically of

products launched during the first half of 2014 and in the second half of 2013, and higher

revenues in Canada as well as the higher gross profit due to the change in the composition of

revenues in Europe.”

       253.      On the same day, Teva held an earnings call with analysts and investors. During

the call, Defendant Desheh stated that the “better results” of Teva’s generic segment resulted




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from launches of “generic Xeloda in March and generic LOVAZA this quarter in the U.S.

market.”

       254.    The statements referenced in ¶¶252-253 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

via the Price-Hike Strategy, Teva made a minimum of 30 systematic price hikes since July 2013,

including 12 price hikes in April 2014, which contributed materially to the Company’s

announced results; and (ii) for the second quarter 2014, up to $160 million in Inflated Profit

resulted from these price increases, which made up all of Teva’s YOY increase in U.S. generic

profit, and which was over one-and-a-half times the $101 million YOY reduction in S&M

expenses attributed to the generic profit increase.

       255.    On October 30, 2014, Teva filed a Report on Form 6-K with the SEC, announcing

the Company’s financial and operating results for the third quarter 2014 (the “Q3 2014 6-K”).

The Q3 2014 6-K reported a YOY increase of $160 million in generic profit, or 40%. According

to the Q3 2014 6-K, the increase was “primarily” attributable to “higher gross profit and a

significant reduction in selling and marketing expenses.” The Q3 2014 6-K attributed higher

gross profit to “lower expenses related to production, higher revenues from our API business as

well as higher gross profit due to the change in the composition of revenues.”

       256.    On the same day, Teva held an earnings call with analysts and investors. By this

time, Congress had sent a letter to Vigodman asking for information related to drug price

increases. Additionally, these increases were gaining more attention in the public eye; Lannett

and Impax had revealed subpoenas from the Connecticut AG, and articles were released

discussing drug price increases on some drugs Teva did not sell. Nevertheless, during the call,

Defendant Vigodman attributed Teva’s results to new product launches, stating, in relevant part:




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“I think overall, we have a good revenue of the new launches this year – capecitabine, the

generic Lovaza, Omega-3 and entecavir. Entecavir was a new launch for us in the quarter. I think

all these three products have been very significant contributors to the year.” A UBS analyst

asked to “talk about Generics a little bit in the U.S. . . . . whether there were price increases in

some of your base business and whether that impacted” Teva’s financial performance.

Vigodman rejected the notion that Teva was utilizing price increases. stressing that the any

increases were the result of normal market conditions such as shortages or market dynamics:

       I think that pricing – I’ve said it before, there’s never a price increase on the base
       business as a whole. Like any other business, if there’s a pricing opportunity that
       comes in the market, we look for that. But the base business itself has been
       eroding overall because of the consolidation of the customers.

Vigodman instead stressed that any increases were the result of normal market conditions such as

shortages or market dynamics:

       When there’s an opportunity, when there is a shortage in the market, we
       obviously look for pricing like any other business. But overall, as I’ve said many
       times before, the base business itself is slowly eroding, the overall of the base
       business. Vigodman’s statements were false and misleading because, far from
       price increases only occurring when there are shortages or market dynamics so
       dictate, Teva had adopted the Price-Hike Strategy. Vigodman concealed that Teva
       had increased prices on 50 drugs and that those concealed increases—the very
       subject of the UBS analyst’s question—resulted in as much as $720 million in
       Inflated Profit reported since the start of the Relevant Period, and as much as
       $193 million in Q3 2014 alone, on drugs for which there were no shortages.

       257.    The statements referenced in ¶¶255-256 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

via the Price-Hike Strategy, Teva made a minimum of 50 systematic price hikes since July 2013,

including 20 price hikes in in the third quarter 2014, which contributed materially to the

Company’s announced results; and (ii) for the third quarter 2014, up to $193 million in Inflated

Profit resulted from these price increases, representing a total YOY increase of $90 million; (iii)

the $90 million YOY increase made up over 50% of Teva’s YOY increase in U.S. generic profit,


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which was larger than the entire $81 million YOY reduction in S&M expenses attributed to

generic profit increases.

       258.    On December 11, 2014, Teva held a guidance call to discuss the Company’s 2015

business outlook. During the call, a Morgan Stanley analyst asked:

       [W]ith respect to generic inventory in the channel, both for Teva and for other
       generic manufacturers, I’m assuming that wholesalers have been seeing
       extraordinary price increases in recent years and has been buying inventory ahead
       of tremendous price increases?

Defendant Olafsson repelled the notion of any large price increases, noting any press to the

contrary concerned “few” products on “individual” molecules:

       So first let me correct. I have to disagree that they have experienced tremendous
       price increase. I think, overall, the pricing in the U.S. of generics has been flat to a
       slight down. There has been a lot of press about price increases on individual
       molecules and this has been a hot political issue selecting a few products.

       259.    The statements referenced in ¶258 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) via the

Price-Hike Strategy, Teva made a minimum of 50 systematic price hikes since July 2013,

including 32 price hikes in 2014, which contributed materially to the Company’s announced

results; (ii) Teva’s price increases generated up to $720 million in pure profit, which rose up to

$943 million before the year’s end; and (iii) Teva had generated 30% of its overall profit from

generic drug price increases since 2013.

       260.    On February 5, 2015, Teva issued a press release filed with the SEC announcing

the Company’s financial and operating results for the fourth quarter 2014 and full year 2014 (the

“Q4 2014 Press Release”). The Q4 2014 Press Release stated a generic profit YOY increase of

$47 million, or 9%, which the Company attributed “primarily” to Teva’s “lower S&M expenses

and lower R&D expenses.”




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        261.    Teva filed the 2014 20-F on the same day. The 2014 20-F reported a generic

profit YOY increase of $480 million, or 29%, which Teva attributed to “lower S&M expenses

and higher gross profit.” The 2014 20-F stated that the higher gross profit was “mainly a result of

higher revenues in the United States, specifically of products launched during 2014 and in the

second half of 2013, and higher revenues in Canada, which led to higher gross profits, as well as

higher gross profit from API sales to third parties.”

        262.    The statements referenced in ¶¶260-261 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

via the Price-Hike Strategy, Teva made a minimum of 50 systematic price hikes since July 2013,

including 32 price hikes in 2014, which contributed materially to the Company’s announced

results; (ii) for the fourth quarter 2014, up to $219 million in Inflated Profit resulted from these

price increases, representing a YOY increase of up to $72 million, which made up the entirety of

Teva’s YOY increase in generic profit, in contrast to the $113 million YOY reduction in S&M

expenses and $8 million YOY reduction in R&D expenses Defendants attributed the increased

generic profit to; and (iii) increased prices accounted for up to $693 million in Inflated Profit in

2014, representing a YOY increase of up to $443 million, accounting for nearly all YOY

increase in generic profit, which was more than the total $337 million S&M expense reduction

Defendants attributed to the generic profit increase.

        263.    Teva’s ADS/Preferred Registration Statement signed by Vigodman, Desheh, and

Griffin, as well as two prospectus supplements Teva filed with the SEC on December 3, 2015

(referred to hereafter as the “ADS Final Prospectus” and the “Preferred Final Prospectus,”

respectively), all incorporate by reference the false and misleading statements contained in the

2014 20-F.




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       264.    The below table shows Teva’s improved profits as reported in 2014 and YOY

change in Inflated Profits for the same period:


    2014 ($ millions)         Q1          Q2           Q3        Q4        Full Year

    Reported YOY
    Change in Generic         $117       $156          $160     $47          $480
    Profit
    (Unreported) YOY
    Change in Inflated        $120       $160          $90      $72          $443
    Profit

       265.    On April 30, 2015, Teva filed a Report on Form 6-K with the SEC, announcing

the Company’s financial and operating results for the first quarter 2015 (the “Q1 2015 6-K”).

The Q1 2015 6-K reported a YOY increase of $296 million in generic profit, or 59%. According

to the Q1 2015 6-K, the increase was “primarily” attributable to “higher gross profit and lower

selling and marketing expenses as well as lower research and development expenses.” The Q1

2015 6-K attributed higher gross profit to “mainly a result of the launch of esomeprazole in the

United States during the quarter and improved profitability of our European business.” The false

statements in the Q1 2015 6-K are also incorporated by reference into the ADS/Preferred

Registration Statement that Vigodman, Desheh, and Griffin signed, the ADS Final Prospectus and

the Preferred Final Prospectus.

       266.    On the same day, Teva held an earnings call with analysts and investors. During

the call, a Bank of America analyst asked, “how much more potential exists to increase generic

segment margins purely from organic gains and operational efficiency?” Olafsson responded by

stating that the “1,000 basis points improvement over a two years period” in “operating profit in

the generic segment” was a product of the following:

       [P]robably three or four things. First of all . . . significant improvement in our cost
       of goods . . . the next thing is the portfolio offering . . . [including] exclusive


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       complex generics of offering . . . [as] when we have more of the launches, it will
       drive up the market. The third thing is the cost infrastructure.

Olafsson thus touted a number of factors that purportedly accounted for recent generic

profitability increases that started in 2014, which were actually attributable to the Price-Hike

Strategy.

       267.    The statements referenced in ¶¶263-266 were false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) via the

Price-Hike Strategy, Teva made a minimum of 64 systematic price hikes since July 2013,

including 14 price hikes in January 2015, which contributed materially to the Company’s

announced results; (ii) for the first quarter 2015, up to $228 million in Inflated Profit resulted from

these price increases, representing a YOY increase of up to $108 million, which made up over a

third of Teva’s YOY increase in generic profit; (iii) the Inflated Profit increase amounted to more

than double the $43 million YOY reduction in S&M expenses, and nine times the $12 million

YOY reduction in R&D expenses, to which the Defendants attributed the increased generic

profit; (iv) Olafsson’s statements on the call concealed that the Price-Hike Strategy was a

fundamental part of Teva’s improvement; and (v) by the end of Q1 2015, Teva had generated as

much as $1.1 billion in Inflated Profit on the price increases since July 2013.

       268.    Teva’s ADS/Preferred Registration Statement signed by Vigodman, Desheh, and

Griffin, ADS Final Prospectus, and Preferred Final Prospectus all incorporate by reference the

false and misleading statements contained in the Q1 2015 6-K.

       269.    During a June 11, 2015 Goldman Sachs conference, Vigodman touted “the

profound change in the generic business,” since 2014, stating:

       These “are things that are not confined to numbers, but maybe numbers tell the
       story: 16.7% operating profit, 2013; 21.9% operating profit, 2014,” and
       attributing this success solely to “[t]he execution of the cost reduction program:
       $600 million net savings, 2014; $500 million, 2015,” and a “[f]ull transformation


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       of our operational network,” claiming that “[w]e closed or divested 11 plants
       during the last 12 months[;] [w]e centralized procurement.... So everything that
       was done during 2014 was based on organic . . . moves only.”

       270.    The statements referenced in ¶¶268-269 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

via the Price-Hike Strategy, Teva made at least 64 systematic price hikes since July 2013, which

generated over $1.1 billion in Inflated Profit by the close of Q1 2015, contributing materially to

the results; and (ii) the excess profit of as much as $1.1 billion generated by the price increases

accounted for all of the improved operating profit that Vigodman touted.

       271.    On July 30, 2015, Teva filed its second quarter 2015 financial statements on a

Form 6-K with the SEC (the “Q2 2015 6-K”). The Q2 2015 6-K disclosed a YOY increase in

generic profit of $193 million, or 36%, attributed “primarily” to “higher gross profit as well as

lower selling and marketing expenses,” while claiming that higher gross profit was “mainly a

result of higher gross profit in the United States, due to the launches of aripiprazole in the second

quarter of 2015 and of esomeprazole during the first quarter of 2015, and lower production

expenses.”

       272.    The statements referenced in ¶271 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) via the

Price-Hike Strategy, Teva made at least 64 systematic price hikes since July 2013, contributing

materially to the results; and (ii) these price increases generated $236 million in Inflated Profit in

Q2 2015, a YOY increase of $76 million, which increase accounted for 39% of the YOY increase

in generic profit, and amounted to over one and a half times the $53 million YOY reduction in

S&M expenses to which Defendants attributed the increased generic profit.




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       273.    Teva’s ADS/Preferred Registration Statement signed by Vigodman, Desheh, and

Griffin, ADS Final Prospectus, and Preferred Final Prospectus all incorporate by reference the

false and misleading statements contained in the Q2 2015 6-K.

       274.    On October 29, 2015, Teva filed its third quarter 2015 financial statements on a

Form 6-K with the SEC (the “Q3 2015 6-K”). The Q3 2015 6-K disclosed a YOY increase in

generic profit of $20 million, or 4%, attributed “primarily” to “lower selling and marketing

expenses, partially offset by lower gross profit,” which in turn was partially offset “by higher

gross profit of our API business.”

       275.    During an earnings call on the same day, Vigodman disavowed that any of the

improvement in Teva’s results over the previous years were driven by generic pricing:

       We’re very – and are very responsible in everything that portends to prices on the
       Generics side and on the Specialty side. And I would even put it another way, all
       the improvement you see in our – in margins is not driven by price. It is driven by
       quantities and by mix and by efficiency measures. Not by price, 2014, 2015, and
       that’s a very important message.

       276.    In light of recent legislative proposals that would penalize generic manufacturers

for raising prices above the rate of inflation, an analyst from Barclays asked for management’s

thoughts on “the potential limit to generic drug price increases.” Olafsson minimized the extent

and effect of Teva’s practice of increasing prices and implied that Teva was not dependent on

such profit and, thus, was immune to the effects of the proposed legislation:

       In terms of the proposed legislation on pricing control on generics, first of all we
       don’t really know what it’s going to be. But let me give you an example. So Teva
       has the largest portfolio on the U.S. market. We are offering approximately 275
       products. And we have told you that overall on our whole portfolio, we have a
       decline in price. The talk about the inflation in generics when you have a big
       portfolio is really not there. 95% of our portfolio is declining due to the
       consolidation of the customers I talked about. There might be 5% of the portfolio
       that is either flat or increasing in pricing due to some abnormalities in the market.




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       277.    The statements referenced in ¶¶273-276 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

via the Price-Hike Strategy, Teva made at least 71 systematic price hikes since July 2013, often

by well over 100%, generating over $1.6 billion in Inflated Profit over that time, including as

much as $690 million in 2014 and as much as $680 million in the first three quarter of 2015

alone, and seven of which had been implemented in July 2015, contributing materially to the

results; (ii) these price increases generated as much as $218 million in Inflated Profit in Q3 2015,

a YOY increase of $25 million, which accounted for all the YOY increase in generic profit; (iii)

the Inflated Profit contributed significantly to improving Teva’s generic profit margin, as that

Inflated Profit was devoid of any material corresponding costs, directly contradicting Vigodman’s

statements; (iv) the 60 drugs subject to these price increases made up 22% of Teva’s generic drug

portfolio, and none of these price increases were due to “some abnormalities in the market” like

a shortage or an increase in demand; and (v) by the end of Q3 2015, Defendants’ Price-Hike

Strategy had generated over $1.6 billion in Inflated Profit.

       278.    Teva’s ADS/Preferred Registration Statement signed by Vigodman, Desheh, and

Griffin, ADS Final Prospectus, and Preferred Final Prospectus all incorporate by reference the

false and misleading statements contained in the Q3 2015 6-K.

       279.    On November 19, 2015, Jefferies held a conference, at which Desheh was pressed

by the Jefferies analyst, who asked, “let’s talk about everyone’s favorite topic the last 2 months,

pricing and specialty pharmacy. Could you just give us your 20,000 foot view on pricing, is it an

issue? Your particular products, where do you go on pricing?” Desheh minimized the extent of

Teva’s policy and practice of making price increases and its financial dependence on profit

therefrom:




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       Now there’s a lot of noise around pricing issues. Some of it’s coming from
       politicians who are driving agenda, which is very, very legitimate. Our exposure to
       all these things is very minimal. . . . And Teva was not associated with any of that.
       So we’re playing a competitive game. We’re playing it fairly. We of course play
       by the book and by the rule. And we believe that our exposure to any initiative on
       price reduction in the United States is as a small as anybody can have.

       280.    The statements referenced in ¶¶278-279 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that:        (i)

Teva was critically dependent on Inflated Profit from price increases, and the ability to make

additional price increases to increase profits, to fill any holes in its financial projections; (ii)

Defendants’ Price-Hike Strategy was greatly exposed to any initiative that addressed generic

drug pricing, such as those which would grant Medicare the ability to negotiate prices, which

could lead to price deflation; (iii) without the benefit of the Price-Hike Strategy, Teva could not

generate additional Inflated Profit or fill financial holes, while Teva’s past practice of generating

massive profits through inflated prices left it very exposed to any efforts that would cause price

deflation of those already-increased drugs; and (iv) these statements implied to investors that

Teva had not and was not engaging in any practice of increasing prices.

       281.    On November 30, 2015, Teva filed the ADS/Preferred Registration Statement, as

well as two preliminary prospectus supplements, filed pursuant to Rule 424(b)(5), which

disclosed certain details regarding Teva’s intention to offer additional ADS and newly created

Mandatory Convertible Preferred Shares (“Preferred Shares”) to the public. On December 3,

2015, Teva filed the ADS Final Prospectus and the Preferred Final Prospectus.

       282.    The ADS/Preferred Registration Statement, the ADS Final Prospectus, and the

Preferred Final Prospectus each incorporated by reference the 2014 20-F, Q1 2015 6-K, Q2 2015

6-K, and Q3 2015 6-K. The incorporated 2014 20-F and Q1, Q2, and Q3 2015 6-Ks contained

false and misleading financial disclosures, as discussed above.



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       283.    At a January 11, 2016, J.P. Morgan conference, a J.P. Morgan analyst asked

Olafsson, “McKesson this morning announced some maybe challenging pricing on the generics

side or an expectation of that going forward. Could you just comment a little bit on how you see

generic pricing as we look out not just this year but in the future and how Teva is able to

navigate the current environment?” In answer to this question, Olafsson responded:

       The generic pricing – we need to keep in mind there’s a lot of talk about inflations
       in generic pricing. But what we see is there’s – overall on our total portfolio of
       270 products, there is a slight decrease in pricing. It’s low single digit, but year
       on year we see a low single-digit decrease because on 95% of our portfolio, we
       experience price decline. And then on 5%, we might be flat or a slight increase.
       So, overall, we see that in the business. There’s a lot of headlines of examples of
       big price increases in generics. But when you are a company of the size of Teva
       and you have the portfolio that we have today – as I said, 270 products for the
       whole of the portfolio – there is a decline.

       284.    The statements referenced in ¶¶281-283 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

they minimized the impact of price increases—which by the end of Q3 2015 had generated as

much as $1.7 billion in Inflated Profit—on Teva’s bottom line since July 2013, and, thus, Teva’s

potential exposure to price deflation that its competitors and wholesalers were already reporting;

(ii) by this time, Teva had increased the prices of 60 of its generic drugs, three of which Teva

had recently increased the prices on July 29, 2015, and many of which were increased by more

than 100%; and (iii) these drugs made up 22% of Teva’s generic drug portfolio, flatly

contradicting Olafsson’s claim that 5% of Teva’s generic portfolio “might be flat or a slight

increase.”

       285.    On February 11, 2016, Teva filed with the SEC a press release reporting the

Company’s fourth quarter 2015 and full year 2015 financial results (“Q4 2015 Press Release”).

The Q4 2015 Press Release disclosed a YOY increase in generic profit of $7 million, or 1%,




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attributed “primarily” to “the reduction in S&M expenses, partially offset” by, in part, “lower

sales of budesonide (Pulmicort®) in the United States.”

       286.    The same day, Teva filed its Form 20-F for the fiscal year ended December 31,

2015 with the SEC (the “2015 20-F”) reporting the Company’s full year 2015 financial results.

The 2015 20-F disclosed a YOY increase in generic profit of $500 million, or 24%, attributed

“primarily” to “lower S&M expenses and higher gross profit,” which was purportedly “mainly a

result of higher revenues from new products launched in the United States during 2015, lower

other production expenses and higher gross profit from API sales to third parties.”

       287.    The statements referenced in ¶¶285-286 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

Inflated Profit had declined from as much as $219 million in Q4 2014 to $166 million in Q4

2015, a decline of $53 million or 24%; (ii) this decline occurred because the Price-Hike Strategy

was unsustainable and under increasing investigation by governmental agents and, thus, Teva’s

ability to make further increases was reduced; (iii) having attributed the source of the profit

increase, the Defendants had a duty to disclose but concealed the full truth that the Price-Hike

Strategy, whereby Teva made at least 71 systematic price hikes since July 2013, contributed

materially to the results; and (iv) the price increases generated as much as $848 million in

Inflated Profits in 2015, a YOY increase of $155 million that amounted to 31% of the YOY

increase in generic profit.

       288.    Teva’s Post-Effective Amendment No. 1 to Form F-3 that it filed with the SEC on

July 13, 2016, which was signed by Vigodman, Desheh, and Griffin (the “Notes Registration

Statement”), and Teva’s final prospectus for the Notes Offering that it filed with the SEC on July




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19, 2016 pursuant to Rule 424(b)(5) (the “Notes Final Prospectus”), both incorporate by

reference the false and misleading statements contained in the 2015 20-F.

       289.    On the same day, Teva held an investor earnings conference call. In his opening

statements, Olafsson touted “2015 was a very good year for Teva Generics,” while explicitly

denying that pricing had played any role in that supposed success, stating:

       We continued improving the operating profit of the generic business, coming from
       $1.68 billion operating profit in 2013, or 17% of revenue, to $2.68 billion
       operating profit in 2015, or 28% of revenue. This is $1 billion improvement in
       operating profit over 24 months period. So how did we do this? Not by pricing but
       by portfolio mix, new products, and efficiency measures.

       290.    Later in the call, and repeated in his slide presentation, Olafsson minimized

Teva’s participation in price increases, and thus their impact on the Company’s bottom line:

       Briefly, on pricing. As I’ve previously stated, we and the generic industry overall
       don’t see price inflation of generics as it sometimes is portrayed in the media. On
       the contrary, for 2015, we saw a mid-single-digit price decline for the overall
       business.

       291.    Olafsson denied that Teva was seeing any change in its pricing environment,

stating: “In the US, our largest market, we saw approximately 4% price erosion . . . . We expect

to see the same in 2016. Nothing today points to a significant change in the generic pricing

environment.” A Guggenheim Securities analyst asked: “[S]ome of your competitors have

talked about pricing pressure in the generics business during the quarter. Curious if you saw that,

and if so what might be driving that.” Olafsson responded: “As I mentioned in the beginning,

we didn’t see anything change in fourth quarter. We saw approximately 4% pricing pressure or

price decline in the US business over 2015 flat over the year.”

       292.    The slides Olafsson presented during the call echoed these statements: “Also do

not see the sharp drop in prices other competitors have seen recently[;] Mid-single digit decrease

in 2015[.]”



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       293.    The statements referenced in ¶¶288-292 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

they are directly contradicted by the empirical data showing that Teva had, in 2014 and 2015,

made as much as over $1.5 billion in Inflated Profit from price increases—more than the $1

billion improvement touted by Olafsson; (ii) Teva had made at least 71 price increases since July

2013, many for over 100% or more; (iii) the Inflated Profit from the increases implemented as

part of Defendants’ Price-Hike Strategy was a necessary foundation of Teva’s purported

financial success over that time; and (iv) while Defendants claimed not to have seen any changes

in the pricing environment, (a) internally, Teva’s profits from price increases had decreased

precipitously, from as much as $236 million in Q2 2015, to $218 million in Q3 2015, to $166

million in Q4 2015, a decline of $70 million, or 30%, in two quarters, and (b) Teva was

increasingly unable to implement further price increases, as it had in the past.

       294.    The table below reflects Teva’s improved profits as reported by the Company in

2015, as well as the YOY change in Inflated Profits for the same period:


     2015 ($ millions)         Q1         Q2           Q3        Q4         Full Year

     Reported YOY
     Change in Generic         $296       $193        $20       $7           $516
     Profit
     (Unreported) YOY
     Change in Inflated        $108       $76         $25       -$53         $155
     Profit

       295.    During a March 8, 2016 Cowen conference, Olafsson touted the increased

profitability of Teva’s generics segment, attributing it to sources other than price increases:

       In terms of growing the profitability, from 2013 to 2015, we grew the operating
       profit of the generic business from 17% in 2013, and we exited for the full year of
       2015 we were at 28.1%. So it’s about 1,100 basis points we improved the
       profitability on approximately $10 billion in revenue. So it was a significant


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       improvement over a 24-month period. Part of that was due to the improvement in
       our cost of goods sold, very important in consolidation of plants and looking for
       the money there. But also part of it was due to portfolio selection and the cost
       infrastructure.

       296.    Later on the call, a Cowen analyst asked Olafsson: “Can you discuss what you’re

seeing,” in generics pricing, “what you’re observing, and then maybe in the context of what

you’re hearing from others, both US and ex-US?” In response, Olafsson declared:

       So we came out in our fourth quarter results, and told the market that we had seen
       approximately 4% price decline in the US market in 2015.... I think overall the
       pricing hasn’t changed that much. There was a lot of talk about inflation in generic
       pricing. But we never saw that.... [I]nflation never really happened in the generic
       business.... I don’t see any big changes in the pricing environment. It’s relatively
       stable. 4% is worse than maybe two years ago. But it’s similar to what we saw in
       2014.

       297.    The statements referenced in ¶¶294-296 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

Teva had by then generated over $1.7 billion in profit from price increases on dozens of generic

drugs from 2013 through 2015, pursuant to the Price-Hike Strategy, which was far more than the

$1.1 billion in improved generic profit touted by Olafsson; (ii) via the Price-Hike Strategy, Teva

had inflated the prices on 60 base-business generic drugs from July 2013 through Q1 2016, and

had generated well over $1.7 billion in Inflated Profit from the beginning of the Relevant Period

through the end of 2015; (iii) the Inflated Profit generated by the Price-Hike Strategy had

drastically fallen and “the pricing” had changed and was not like it had been in 2014; and (iv)

Teva implemented at least 32 price increases that year alone, while, in 2016, it would make only

five, all of which were on prices of drugs that had been previously increased.

       298.    On May 9, 2016, Teva filed its first quarter 2016 financial statements on Form 6-

K with the SEC (the “Q1 2016 6-K”). The Q1 2016 6-K disclosed a YOY decline in generic

profit of $215 million, or 27%, attributed “primarily” to “lower gross profit, as well as higher



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R&D expenses,” while lower gross profit was purportedly “mainly a result of lower sales of high

gross profit products in the United States, higher production expenses and lower gross profit in our

European markets.”

       299.    The statements referenced in ¶298 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Teva’s

Inflated Profit declined from as much as $228 million in Q1 2015 to $124 million in Q1 2016, a

decline of $104 million or 46%; (ii) that YOY decline in Inflated Profit comprised as much as 48%

of the YOY decline in generic segment profit, and was more than four times the $25 million YOY

increase in R&D expenses to which the Defendants attributed the results; and (iii) the Price-Hike

Strategy was unsustainable, as the Inflated Profits were drastically declining, and Teva was

increasingly unable to make more hikes.

       300.    Teva’s Notes Registration Statement signed by Vigodman, Desheh, and Griffin,

and the Notes Final Prospectus both incorporate by reference the false and misleading statements

contained in the Q1 2016 6-K.

       301.    On the same day, Teva held an investor earnings call. In his opening remarks,

Olafsson explained away the decline in generic profit margin by blaming it on issues other than

pricing:

       When compared to first quarter 2015, the operating profit declined by 360 basis
       points, fully explained by the exclusive launch of generic Nexium, esomeprazole,
       in the first quarter 201[5]. Excluding the exclusivity period of esomeprazole in
       first quarter, the profit margin of the generic segment was 24.4%.

       302.    Also on that call, Olafsson, while asserting he would “do my best to provide you

with as much color as possible,” claimed that Teva was immune from downward pricing trends:

       Teva has not seen any fundamental change or worsening in the pricing
       environment – something we have been consistent about telling investors all year.
       Teva experienced approximately 4% price erosion in the United States last year,
       and our guidance for this year is that it will remain the same.... From where I sit


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       today, there is nothing that changes my mind about that. Nothing has happened in
       the last two quarters that has changed the pricing environment. What this boils
       down to is each individual company’s business model[.]

       303.   The slides presented by Olafsson during the conference call echoed Olafsson’s

statements:

       What has changed in the US pricing environment since Q4 2015? The short
       answer is . . . nothing . . . . There is no change in the pricing environment . . . . It
       all comes down to each company’s business model . . . . Why is Teva generics
       performance better than most Gx companies? Portfolio optimization . . . [and]
       [n]ew products[.]

       304.   During the May 9, 2016 earnings call, Olafsson also offered the supposed reasons

why Teva’s generics division had achieved success over several years, and thus was differently

positioned compared to its competitors who were reporting increased pricing pressure:

       We have taken a significant step to transform our generic business, solidify our
       foundation, increase our profitability, and to better position us to generate
       sustainable long-term growth. These many steps have included portfolio
       optimization, strengthening our capabilities in R&D, and manufacturing of
       complex products, regaining a leading position in submission on first-to-files,
       enhancing our go-to-market, and sales force effectiveness capabilities, and much,
       much more. These are the very capabilities that companies must possess in order
       to thrive at the global level. We have created a unique and differentiated platform,
       positioned to extract significant value in the global growing generic space.

       305.   The statements referenced in ¶¶300-304 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

they excluded entirely the decline in Teva’s Inflated Profits from the unsustainable Price-Hike

Strategy, including the steep decline of $42 million in Inflated Profit from Q4 2015 to Q1 2016,

and the $104 million YOY decline compared to Q1 2015; (ii) that YOY decline comprised 48%

of the decline in YOY generic profit that Olafsson attributed to a decline in sales of generic

Nexium, reflecting that Defendants could no longer maintain the Inflated Profits generated by the

increases implemented since July 2013, nor could they make further price increases; (iii) far

from not seeing “any fundamental change or worsening in the pricing environment,” Teva’s


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Price-Hike Strategy of generating billions in profits from price increases was collapsing; (iv) in

Q3 2015, Teva earned as much as $218 million in Inflated Profits from price increases, while in

Q1 2016 it earned $124 million; (v) while, in 2015, Teva made 21 price increases on generic

drugs, in 2016 it would implement only five, all of which were on prices of drugs which had

previously been increased; (vi) while attributing Teva’s supposed past success to other factors,

Olafsson had a duty to disclose but concealed the full truth that Teva had generated as much as

$1.9 billion in Inflated Profits from price hikes reported since the start of the Relevant Period; and

(vii) Teva’s Inflated Profits had begun to dry up due to the unsustainability of the Price-Hike

Strategy, and the materialization of the risks concealed by Defendants (recently reported by

Teva’s competitors, namely the risk of increased pricing pressure due to increased public,

Congressional, and regulatory scrutiny of generic drug price increases), which would result in

increased competition and the inability to take further price increases.

       306.    On May 10, 2016, Olafsson participated in a Bank of America conference, and

claimed that Teva was immune from pricing pressure:

       [T]here’s nothing I have seen which shows a worsening pricing environment. We
       saw a price erosion in the US last year of approximately 4%[.]

       I know many of the competitors in the generic space, and in the specialty space,
       are talking about a lot of pricing pressure, but it shouldn’t be. There is nothing
       that has happened over the last two quarters which has changed fundamental the
       market. And I feel that we are blaming the environment on individual company’s
       business model more than anything else because as long as you have the right
       portfolio, you have had the right investment in R&D, you really have a strong
       opportunity.

       307.    During a June 3, 2016 Sanford C. Bernstein conference, in response to an analyst

question regarding pricing pressure, Vigodman stated Teva was not facing increased pricing

pressure:

       So we are very consistent. Our message was conveyed, and we will continue to
       convey. What we see is a 4% to 5% erosion. That’s what we see. That’s not


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       something which is different from what we said during 2015. By the way, we
       continue saying it in 2016. I think our results in Q1 demonstrated that.

       308.    During a June 8, 2016 Goldman Sachs Global Healthcare Conference, Olafsson

conveyed a similar response to a question from a Goldman Sachs analyst regarding pricing

pressure:

       But really, the environment hasn’t changed. When we signed that deal in July, we
       talked about 4% price erosion in the US generic business. And we are still talking
       about the same number, what we see in the base business.

       309.    The statements referenced in ¶¶306-308 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

Teva was experiencing a drastic decline in Inflated Profits from price increases, the inability to

make additional price increases, and, in the past two quarters, the acceleration of the deterioration

of the pricing environment; (ii) Teva’s Price-Hike Strategy was proving to be unsustainable, with

Inflated Profits declining by $104 million in Q1 2016 as compared to Q1 2015, as the risks

concealed by Defendants’ strategy began to materialize; and (iii) these risks including increased

pricing pressure and the inability to take further price increases due to increased public,

legislative, and regulatory scrutiny of generic drug price increases, which resulted in increased

competition.

       310.    In a July 13, 2016 call held by the Defendants to announce the acceleration of

Teva’s debt offering, including the Notes Offering, to the end of July, which, on the May 9, 2016

investor call, had been scheduled to occur in September 2016 or in Q4 2016, a Citigroup analyst

asked about pricing: “[C]an you comment on the generics pricing assumptions that you have

baked into your forecast? Following on that, Siggi, maybe you could just comment on the

generics pricing environment, more broadly, that you are currently seeing in the marketplace.”

In response Olafsson indicated that Teva had still not seen any change in the pricing



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environment, and that this stable pricing was baked into the assumptions underlying Teva’s

guidance and projections:

       Our assumption and what we assume is basically approximately 5% organic growth
       that we see year on year.... In terms of generic pricing in the second quarter, we saw
       no change in the pricing. We saw a stable environment, as we talked about, from
       first quarter into second quarter. Obviously, in second quarter, as we have
       highlighted to investors, there was no significant new launches that we saw in Teva,
       which obviously impacts the overall generic numbers. The pricing has remained
       stable. . . . Our assumption for the rest of the year is basically assuming the same
       pricing erosion. It is difficult to say; but as I’m sitting here today, with the
       information I have in hand, we are assuming and now forecasting for the guidance
       for the remainder of the year same pricing assumption as we have had for the first
       half of the year.

       311.    The statements referenced in ¶310 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Teva’s

price erosion assumption was not based on “stable” pricing in which there was “no change” in the

second quarter or the “first half of the year”; (ii) Teva was at that time experiencing a drastic

decline in Inflated Profit from price increases, the inability to make additional price increases, and,

over the past year, the acceleration of the deterioration of the pricing environment; (iii) Teva

generated $10 million less in Inflated Profits from the first quarter of 2016 to the second quarter of

2016, which was part of a trend of steep decline; (iv) Teva generated $122 million less Inflated

Profits in the second quarter 2016 than it had in the second quarter of 2015; (v) in the first two

quarters of 2015, Teva made as much as $464 million in Inflated Profits; (vi) in the first two

quarters of 2016, Teva made $238 million; (vii) in the first half of 2015, Teva had made 14 price

increases; and (viii) in the first half of 2016, Teva only made five price increases, generating less

than $12 million by the end of the Relevant Period.

       312.    On July 13, 2016, Teva filed the Notes Registration Statement, signed by

Vigodman, Desheh, and Griffin. On July 19, 2016, Teva filed the Notes Final Prospectus. The

Notes Registration Statement and the Notes Final Prospectus incorporated by reference the 2015


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20-F and the Q1 2016 6-K. The incorporated 2015 20-F and Q1 2016 6-K contained false and

misleading financial disclosures, as described above.

       313.    On August 4, 2016, Teva filed its second quarter 2016 financial statements on

Form 6-K with the SEC (the “Q2 2016 6-K”). The Q2 2016 6-K disclosed a YOY decline in

generic profit of $115 million, or 16%, attributed “primarily” to “lower gross profit,” which in

turn was purportedly “mainly a result of loss of exclusivity on certain products as well as

increased competition on other products in the United States . . . and higher production

expenses[.]”

       314.    On the same day, Teva held an investor earnings conference call. During the call,

Desheh attributed the poor performance of the Company’s generic segment to factors other than

a decrease in Inflated Profits:    “Revenues of our US generics business was impacted by

competition to our Aripiprazole, Esomeprazole, and Budesonide which were the major drivers of

our generic business in the US in the second quarter last year.”

       315.    Also during that call, and in response to a Citigroup analyst’s inquiry regarding

pricing stability, Olafsson denied seeing any change in the pricing environment:

       [T]he pricing is stable to the same degree as before. We saw approximately in the
       US, 4% price erosion in the business, in a way very stable from the first quarter.
       And the global pricing impact we saw in the business, in the generic business was
       approximately 5%. So we are pleased with the environment.

       316.    Olafsson then reiterated the same false and misleading sentiment later in the call:

“So overall, the business itself is fairly stable. As I mentioned in the beginning, we are seeing

exactly the 4% price erosion . . . 4% price erosion in the US.”

       317.    In response to a question from a J.P. Morgan analyst regarding whether Teva

could implement price hikes following the Actavis acquisition, Olafsson stated:

       I think the pricing comes with shortages in the market. If you have an exclusive
       product, if there’s some kind of dysfunction in the market, there might be a small


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       pricing opportunity that usually comes in and comes out. But overall, the size, and
       being a combined company doesn’t play into that.

       318.    The statements referenced in ¶¶312-317 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

Inflated Profits declined from as much as $236 million in Q2 2015 to $114 million in Q2 2016, a

decline of $122 million or 52%; (ii) that YOY decline in Inflated Profits comprised nearly all of

the YOY decline in generic profit; (iii) the statements further concealed that the Price-Hike

Strategy was unsustainable, as the Inflated Profits were drastically declining, and Teva was

increasingly unable to implement further hikes; (iv) in Q2 2016, Teva suffered a $122 million

YOY reduction in Inflated Profits from price increases compared to Q2 2015, and Teva was

increasingly unable to implement further price hikes, implementing only five, immaterial

increases during 2016, compared to 21 in 2015, and 32 in 2014, during the height of the strategy;

(v) the statements minimized Teva’s Price-Hike Strategy when, in reality, Teva took 76 price

increases on 60 drugs, most of which were for 100% or more, that were not associated with any

such shortage or dysfunction; and (vi) this left Teva very exposed to the pricing pressure facing

the industry at the time.

       319.    On September 7, 2016, Desheh participated in a Wells Fargo conference where he

was asked by a Wells Fargo analyst, “Teva has said during this whole, the last couple years, that

you’re not really seeing the same generic erosion, pricing erosion that some of the other

companies have mentioned or blamed. Is that still the case?” Desheh responded by claiming that

Teva was not experiencing increased pricing pressure:

       Now, with talking about prices of the base business, product that we’ve been
       selling more than two years already, the prices are very stable there.... [Y]ou don’t
       see -- there you don’t see the erosion. Where we see erosion is ... [when] you have
       six months exclusivity, you start with the high price, and then obviously more
       competitors go into the market and the price goes down. But when we look at the
       base, there’s no – there’s no pressure on prices.


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       320.    On Teva’s September 9, 2016 Generic Medicines Business Overview call with

analysts, the slides presented echoed that Teva was not experiencing a change in pricing

pressure: “Price erosion is nothing new . . . . Diverse portfolio and competitive cost structure

allows for long-term value creation.”

       321.    The statements referenced in ¶¶319-320 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

while Desheh claimed that Teva’s base business was experiencing “no pressure on prices,” and

the slides claimed that “price erosion is nothing new,” Teva was suffering massive declines in

Inflated Profits and the inability to implement further hikes due to increased pricing pressure that

was itself the materialization of the risks concealed by the Defendants; and (ii) in Q2 2016, Teva

suffered a massive $122 million YOY reduction in Inflated Profits from price increases

compared to Q2 2015, and Teva implemented only five immaterial hikes in 2016, compared to

21 in 2015, and 32 in 2014, demonstrating the unsustainability of the Price-Hike Strategy.

       322.    During the same call, Olafsson categorically denied Teva had increased prices on

its generic drugs: “There is no inflation in the generic pricing, which I will talk about.” Later

during that same call, in response to a Bank of America analyst’s question regarding the impact

of specialty drug pricing on generics, Olafsson responded:         “[S]o first of all, we need to

differentiate generics from branded pricing. And people that say that the generic – there’s a big

generic price inflation, are simply wrong.” Olafsson even claimed that Teva had a “secret sauce”

that immunized the Company from price fluctuations.

       323.    The statements referenced in ¶322 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that each of these

statements minimized: (i) Teva’s practice of making price increases pursuant to the Price-Hike




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Strategy, often by raising the price over 100% above the pre-inflation price, on 60 drugs or 22%

of its portfolio; (ii) the importance of the Inflated Profits from those price increases to the

Company; (iii) the unnatural price inflation in Teva’s book of generic drugs caused by those

increases and the attendant risks associated with such inflation; and (iv) that Teva was at the time

experiencing a dramatic drop in Inflated Profits from those price increases and an inability to

implement further increases as a result of the materialization of the risks concealed by the

Defendants.

       324.    During the September 9, 2016 call, Olafsson also responded to a question as to

whether Teva would be taking price increases following the Actavis acquisition, stating:

       So first of all, it doesn’t work like we wake up when we are one Company, and
       we can take price increases. Simply, it doesn’t work like that in generics. When
       price increases are taken, there’s some kind of abnormality in the business. There
       are shortages.

       325.    The statements referenced in ¶324 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) they

implied that because Teva only increased prices in limited circumstances, it was not exposed to

price deflation; and (ii) actually, Teva had raised the prices of 60 drugs, or 22% of its portfolio,

via 76 price increases frequently by more than 100% of the original price, and thus had

enormous price inflation in its portfolio; none of the price increases related to shortages.

       326.    On November 15, 2016, Teva filed its third quarter 2016 financial statements on

Form 6-K with the SEC (the “Q3 2016 6-K”). The Q3 2016 6-K disclosed a YOY increase in

U.S. generic revenue of $261 million, or 25%, attributed to increased revenues from Actavis.

But, after removing Actavis’ $538 million in U.S. generic revenues that quarter, Teva’s U.S.

generic revenues from its legacy business suffered a YOY decline of $277 million, or 27%. In

discussing the increased revenues that were due to Actavis, Teva disclosed that those revenues



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were “partially offset by loss of revenues following our divestment of certain products in

connection with the acquisition, a decline in sales of budesonide . . . due to increased competition

and the loss of exclusivity on esomeprazole.”

       327.    On the same day, Teva held an investor earnings conference call. During the call,

a Credit Suisse analyst asked

       You mentioned that 7% erosion this quarter, but you said you’re confident it will
       still remain in the mid single-digits going forward . . . . [W]hat’s going to happen
       in the coming quarters [that] will be different than what you saw this quarter?”

Olafsson responded:

       Let me start on the drug pricing, so overall, like previous quarters, there hasn’t
       been any fundamental change in the US drug pricing. And what we saw in the
       difference between the 5% or mid single-digit we guided for going into it, versus
       exiting at 7%, was the impact of the pricing impact on the divested product.

Olafsson doubled down on this explanation when pressed by an incredulous analyst from J.P.

Morgan, who asked how Teva was sure that the decline was not the same pricing pressure seen

throughout the market. Olafsson reiterated “where I sit here today, experiencing the market,

there hasn’t again been any fundamental change.”

       328.    On the same call, a Wells Fargo analyst asked whether the stated 7% price erosion

experienced that quarter was a “result of having to tame previous price increases, or give back

some of those?” Olafsson denied the existence of a pricing trend beyond that caused by Actavis-

acquisition related divestitures:

       No, basically, the main reason . . . was that we had to divest a very good portfolio
       of products that had limited competition, so we had to divest it. What our
       customers did, as they do, is that there is a new player in the market that took over
       those products, and that became a pricing pressure on roughly about 60 molecules
       of -- and these were one of our top -- the top molecules we had in our portfolio.
       So there was an instability that happened in the market during the month of
       August, when the new owners were taking market share. It didn’t change the
       fundamental of the market. It didn’t change the structure of the market, or the
       chemistry of the market, but we saw the impact on the divested molecule



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       significantly more than we saw for on the rest of the portfolio which gave us a 7%
       versus 5%, which we assumed going into the quarter.

       329.    The statements referenced in ¶¶326-328 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

Inflated Profit declined from as much as $218 million in Q3 2015 to $97 million in Q3 2016, a

decline of $121 million or 56%; (ii) that YOY decline in Inflated Profit comprised as much as

44% of the YOY decline in U.S. generic revenue from Teva’s legacy business, excluding the

impact of Actavis; (iii) the Price-Hike Strategy was unsustainable, as the Inflated Profit was

drastically declining, and Teva was increasingly unable to implement further hikes; (iv) Teva

was in fact experiencing a sustained and material decline in the pricing environment, particularly

with regard to the drugs whose price Teva had previously raised pursuant to the Price-Hike

Strategy, in direct contradiction to Olafsson’s specific denials; (v) Teva had inflated prices on 60

drugs, profited by as much as over $2.1 billion since the start of the Relevant Period, and was

now suffering from drastic YOY reductions in Inflated Profits generated from those price hikes

and an inability to implement more; (vi) Teva’s Inflated Profits from price hikes had declined

drastically, contributing just $97 million in Q3 2016, a YOY reduction of $121 million, or 56%;

(vii) the sharp decline in Inflated Profits was a result of the materialization of the risks that the

Defendants concealed as they implemented their Price-Hike Strategy, namely increased pricing

pressure resulting from increased public, legislative, and regulatory scrutiny of generic drug

pricing, which in turn resulted in increased competition and the inability to implement further

price hikes; and (viii) these were not single-quarter issues related to divested products, as

suggested by Olafsson, but rather a long-term trend.

       330.    On September 15, 2016, Teva issued a press release from its North Wales,

Pennsylvania US headquarters, announcing that “the National Business Group on Health



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(NBGH), a non-profit association of 425 large U.S. employers, honored Teva for having one of

the best workforce well-being programs in the nation.” Teva included in the press release a

statement of Lesley Billow, SVP HR, Americas, Teva, in which she claims that Teva maintains a

“culture of well-being… rooted in [its] purpose of ‘improving health, making people feel better,’

[which] is demonstrated within Teva by promoting healthy work environments and developing

outstanding programs for our employees that encourage good overall health.”

       331.    The statements referenced in ¶330 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that Teva’s

“culture” had encouraged executives and employees to implement the Price-Hike Strategy,

which artificially inflated the cost of generic pharmaceuticals for consumers, and caused

substantial harm to be borne by millions of patients in the United States.

       332.    During a December 8, 2016 Citi Global Healthcare Conference, Vigodman

announced that Teva would provide 2017 guidance early in January 2017. During the call,

Vigodman claimed Teva’s past success was not due to Inflated Profits from price hikes, stating:

       Since the start of 2014, one of our greatest priorities has been to increase the
       profitability of our generics business. In the first three years of this great effort,
       we have been able to improve significantly the margins of Teva’s standalone
       generics business. This has been accomplished with a strong emphasis on the cost
       of goods sold, product mix, and the overall cost structure.

       333.    The statements referenced in ¶332 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that via Price-Hike

Strategy, Teva made at least 76 systematic price hikes since July 2013, many of which were in

excess of 100% of the prior price, contributing over $2.2 billion to Teva’s profit from the start of

the Relevant Period through, at least, the end of 2016. Critically, Defendants’ failure to disclose

the Price-Hike Strategy precluded investors from learning that the Company’s growth and




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financial results were unsustainable, at risk of significant decline, and expose the Company to

substantial criminal and civil liability.

        334.    On February 13, 2017, Teva filed with the SEC a press release (“Q4 2016 Press

Release”) reporting the Company’s fourth quarter 2016 and full year 2016 financial results. Two

days later, on February 15, 2017, Teva filed its Form 20-F for the fiscal year ended December

31, 2016 with the SEC (the “2016 20-F”) reporting the Company’s FY 2016 financial results

(collectively, the “Q4 and FY 2016 Statements”). The 2016 20-F disclosed a YOY decline in

U.S. generic revenues of $200 million, or 5%. When removing the impact of Actavis’ $1.168

billion in U.S. generic revenues, Teva’s U.S. generic revenues from its legacy business suffered

a YOY decline of $1.4 billion, or 29%. Per the 2016 20-F this decline purportedly:

        [R]esulted mainly from the loss of exclusivity on esomeprazole . . . and
        aripiprazole . . . a decline in the sales of budesonide . . . due to increased
        competition, loss of revenues following our divestment of certain products in
        connection with the Actavis Generics acquisition and the decline in sales of
        capecitabine.

        335.    The statements referenced in ¶334 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Teva’s

Inflated Profits declined from as much as $848 million in 2015 to $421 million in 2016, a decline

of $427 million or 50%; (ii) that YOY decline in Inflated Profit comprised 31% of the YOY

decline in U.S. generic revenue from Teva’s legacy business, excluding the impact of Actavis;

(iii) even giving Teva the benefit of Actavis’ 2016 revenues, the YOY decline in Inflated Profit

was more than double the $200 million YOY decline in U.S. generic revenues; and (iv) Teva’s

Price-Hike Strategy was unsustainable, as Inflated Profits were drastically declining, and Teva

was unable to implement more hikes.

        336.    On May 11, 2017, Teva filed with the SEC a press release (“Q1 2017 Press

Release”) reporting the Company’s first quarter 2017 (“Q1 2017”) financial results, and held an


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investor earnings conference call (the “May 10, 2017 Earnings Call”). That same day, Teva filed

its Form 6-K for the fiscal quarter ended March 31, 2017 with the SEC (the “Q1 2017 6-K”)

reporting the Company’s Q1 2017 financial results.

       337.    The Q1 2017 6-K disclosed total revenues from generic medicines in the United

States, of $1.4 billion in the first quarter of 2017, an increase of 41% compared to the first

quarter of 2016. The Company primarily attributed the increase in revenue to “the inclusion of

Actavis Generics revenues and products sold in the first quarter of 2017 that were not sold in the

first quarter of 2016,” which were also “partially offset by a decline in sales due to increased

competition, mainly to aripiprazole (the generic equivalent of Abilify) and budesonide (the

generic equivalent of Pulmicort) and loss of revenues following our divestment of certain

products in connection with the acquisition.”

       338.    The statements referenced in ¶¶336-337 were materially false and misleading

because, having attributed the sources offsetting the increased revenues from Actavis, the

Defendants had a duty to disclose but concealed the full truth that its generic drug revenue and

Inflated Profits declined YOY.      Further, Defendants failed to disclose that via Price-Hike

Strategy, Teva made at least 76 systematic price hikes since July 2013, many of which were in

excess of 100% of the prior price, contributing over $2.2 billion to Teva’s profit from the start of

the Relevant Period through, at least, the end of 2016. Critically, Defendants’ failure to disclose

the Price-Hike Strategy and the impact of increased scrutiny on its Strategy precluded investors

from learning that the Company’s growth and financial results were unsustainable, at risk of

significant decline, and expose the Company to substantial criminal and civil liability.




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       339.    On the May 10, 2017 Earnings Call, Jami Rubin, Goldman Sachs & Co., pressed

the Company’s executives as “to what extent has pricing pressure in the business paid or had an

impact on [Teva’s] gross margins?”

       340.    Desheh failed to acknowledge increased legal scrutiny on Teva’s Price-Hike

Strategy following the DOJ and State AGs investigations, which would result in material price-

erosion for the Company’s generic drug portfolio. Rather, Desheh simply responded that “pricing

pressure . . . did not have an impact on our gross margin. I think we said in the prepared remarks,

the gross profit margin of our U.S. business or U.S. Generic business remains exactly the same,

it’s around 55% or a bit higher and did not suffer – was not impacted by pricing pressure in

generics in Q1.”

       341.    The statements referenced in ¶¶339-340 were false and misleading because,

having concealed that Teva was in fact experiencing a sustained and material decline in the

pricing environment, was disproportionately reliant upon its Actavis acquisition for revenue, and

was now suffering from drastic reductions in Inflated Profits generated from those price hikes

and an inability to implement more, were particularly misleading.

       342.    On August 3, 2017, Teva filed with the SEC a press release (“Q2 2017 Press

Release”) reporting the Company’s second quarter 2017 (“Q2 2017”) financial results. That

same day, Teva filed its Form 6-K for Q2 2017 with the SEC (the “Q2 2017 6-K”) reporting the

Company’s Q2 2017 financial results.

       343.    The Q2 2017 6-K disclosed that Teva’s revenues from generic medicines in the

United States during the second quarter of 2017 were $1.3 billion, an increase of 45%, compared

to the second quarter of 2016. However, it was further stated that “[t]he increase resulted mainly

from the inclusion of Actavis Generics revenues and products sold in the second quarter of 2017




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that were not sold in the second quarter of 2016, partially offset by a decline in sales due to

increased competition, mainly to budesonide (the generic equivalent of Pulmicort®) and

aripiprazole (the generic equivalent of Abilify®) and loss of revenues following our divestment

of certain products in connection with the Actavis Generics acquisition.”

       344.    The statements referenced in ¶¶342-343 were materially false and misleading

because, having attributed the sources offsetting the increased revenues from Actavis, the

Defendants had a duty to disclose but concealed the full truth that its generic drug revenue and

Inflated Profit declined YOY.      Further, Defendants failed to disclose that via Price-Hike

Strategy, Teva made at least 76 systematic price hikes since July 2013, many of which were in

excess of 100% of the prior price, contributing over $2.2 billion to Teva’s profit from the start of

the Relevant Period through, at least, the end of 2016. Critically, Defendants’ failure to disclose

the Price-Hike Strategy and the impact of increased scrutiny on its Strategy precluded investors

from learning that the Company’s growth and financial results were unsustainable, at risk of

significant decline, and expose the Company to substantial criminal and civil liability.

       345.    The Q2 2017 6-K further disclosed that “Teva recorded a goodwill impairment

charge of $6.1 billion related to its U.S. generics reporting unit in the second quarter of 2017.

The remaining goodwill allocated to this reporting unit amounts to $15.5 billion as of June 30,

2017.” The Q2 2017 6-K stated in relevant part:

       During the second quarter of 2017, Teva identified certain developments in the
       U.S. market, which negatively impacted Teva’s outlook for its U.S. generics
       business. These developments included: (i) additional pricing pressure in the
       U.S. market as a result of customer consolidation into larger buying groups to
       extract further price reductions; (ii) accelerated FDA approval of additional
       generic versions of off-patent medicines, resulting in increased competition for
       these products; and (iii) delays in new launches of certain of Teva’s generic
       products. These developments caused Teva to revisit its assumptions supporting
       the cash flow projections for its U.S. generics reporting unit, including: (i)
       expected price erosion and certain revenue growth assumptions; (ii) the associated



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       operating profit margins; and (iii) the terminal growth rate of its U.S. generics
       reporting unit.

       Teva determined the fair value of the reporting units using a weighting of fair
       values derived from the income approach. The income approach is a forward-
       looking approach to estimating fair value and utilizes the 2017 remaining year
       forecast, projections for growth off that base with an associated price erosion as
       well as terminal growth rate. Within the income approach, the method that was
       used is the discounted cash flow method. Teva started with a forecast of all the
       expected net cash flows associated with the reporting unit, which includes the
       application of a terminal value, and then applied a discount rate to arrive at a net
       present value amount. Cash flow projections are based on Teva’s estimates of
       revenue growth rates and operating margins, taking into consideration industry
       and market conditions. The discount rate used is based on the weighted-average
       cost of capital adjusted for the relevant risk associated with country-specific
       characteristics.

       Based on the revised discounted cash flows analysis, Teva recorded a goodwill
       impairment charge of $6.1 billion related to its U.S. generics reporting unit in
       the second quarter of 2017. The remaining goodwill allocated to this reporting
       unit amounts to $15.5 billion as of June 30, 2017.

       346.    The above-statements were also false and misleading because, as a result of its

illegal Price-Hike Strategy, Teva overstated the value of its goodwill on its balance sheet and

understated the Company’s goodwill impairment charge. Consequently, the Company’s reported

operating income and net earnings were inflated by billions of dollars.

       347.    On November 2, 2017, Teva filed with the SEC a press release (“Q3 2017 Press

Release”) reporting the Company’s second quarter 2017 (“Q3 2017”) financial results, and held

an investor earnings conference call (the “November 2, 2017 Earnings Call”). That same day,

Teva filed its Form 6-K for Q3 2017 with the SEC (the “Q3 2017 6-K”) reporting the

Company’s Q3 2017 financial results.

       348.    Teva reported revenues from generic medicines in the United States during the

third quarter of 2017 of $1.2 billion, a decrease of 9%, compared to the third quarter of 2016.

The Company attributed decline in revenue “to pricing declines resulting from customer

consolidation into larger buying groups and accelerated FDA approvals for additional generic


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versions of competing off-patent medicines as well as volume decline of methylphenidate

extended-release tablets (Concerta authorized generic) due to the launch of a competing product,

partially offset by the inclusion of three months of Actavis Generics revenues in this quarter,

compared to two months in the third quarter of 2016.”

       349.    Teva also stated in the Q3 2017 6-K, that “[g]iven certain developments in its

businesses and especially the significant decline of its share price during the third quarter of

2017, Teva reassessed its cash flow projections for its reporting units as of September 30, 2017,

focusing on its specialty reporting unit and its U.S. generics reporting unit.” The Company added

that “[a]s part of this assessment, Teva considered the sensitivity of estimates and assumptions

used in the latest projections and the sensitivity of changes to the prior projections on its June 30,

2017 impairment testing.”

       350.    Teva elaborated on the various “developments in the U.S. [generics] market”

which it claimed to identify as effecting its operations, stating in relevant part:

       U.S. generics reporting unit

       During the second quarter of 2017, Teva identified certain developments in the
       U.S. market, which negatively impacted Teva’s outlook for its U.S. generics
       business. These developments included: (i) additional pricing pressure in the U.S.
       market as a result of customer consolidation into larger buying groups to extract
       further price reductions; (ii) accelerated FDA approval of additional generic
       versions of off-patent medicines, resulting in increased competition for these
       products; and (iii) delays in new launches of certain of Teva’s generic products.
       These developments caused Teva to revisit its assumptions supporting the cash
       flow projections for its U.S. generics reporting unit, including: (i) expected price
       erosion and certain revenue growth assumptions; (ii) the associated operating
       profit margins; and (iii) the terminal growth rate of its U.S. generics reporting
       unit.

       In determining the discounted cash flow of Teva’s U.S. generics reporting unit,
       Teva used the following key assumptions: Teva expects revenue and operating
       profits to continue to decline in the next two years, as its ability to successfully
       launch new generic products is not expected to offset or exceed the price and
       volume erosion for its existing portfolio prior to 2020, following which time, in
       2020 and 2021, Teva expects to return to moderate growth. Teva assumes a


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       terminal growth rate of 2% for the coming years, in line with recent general
       outlook for the U.S. generics market. The resulting cash flow amounts were
       discounted using a WACC of 6.8%, which Teva uses for most of its worldwide
       operations, except for the specialty reporting unit, as described above. If Teva
       holds all other assumptions constant, a reduction in the terminal growth rate by
       0.1% or an increase in discount rate by 0.1% would each result in an additional
       impairment of approximately $450 million.

       Based on the revised discounted cash flows analysis, Teva recorded a goodwill
       impairment charge of $6.1 billion related to its U.S. generics reporting unit in the
       second quarter of 2017. The remaining goodwill allocated to this reporting unit
       amounted to $15.5 billion as of June 30, 2017, and remained unchanged as of
       September 30, 2017.

       As of September 30, 2017, Teva adjusted the projections for its U.S. generics
       reporting unit to reflect favorable events, partially offset by further increased
       pressure in the U.S. generics market. Teva believes that risks are appropriately
       reflected in the cash flow projections and therefore no risk premium is required to
       the discount rate of 6.8%. The adjustments to the projections resulted in a slight
       increase of the fair value over carrying value with a percentage difference of 1%.
       Goodwill allocated to this reporting unit remained unchanged as of September 30,
       2017.

       351.   On the November 2, 2017 Earnings Call, Teva’s executives were again

questioned on “the pricing trends in the Generic’s base business” and the “pricing declines of –

or pressures in the high single digit range.” Dipankar Bhattacharjee answered on behalf of Teva,

and failed to attribute the increased pricing erosion on the increased scrutiny of its Price-Hike

Strategy:

       I will take the question on price erosion. As you may recall, last quarter we
       explained the methodology that we adopt for our price erosion for the base
       business, which excludes our new products, which are products that have been
       launched in the past 12 months, and transition products, which are products,
       which for one reason or another, had either enjoyed exclusivity or are enjoying
       some kind of a market exclusivity, for which they have had higher prices and
       volumes and are now going through a transition of lower prices and volumes.

       So in the second quarter we reported a price erosion of a little over 6% for our
       base business, compared to the comparable quarter of the prior year. Since then in
       our third quarter we have seen an increase in price erosion. And as Mike
       explained that we have now seen in the third quarter the price erosion to be 10%.




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        This is primarily driven by two factors. The first is that the increasing FDA
        approvals that are happening for products, for which already generics players
        exist in the market. So the new players try and drive some gains in market share
        based on volumes – based on lower prices.

        And the second is that the consolidation of the three – of the customers into
        three GPOs, which now account for more than 85% of Generics purchases in
        the U.S. market, has also via their RFP, have created additional pricing
        pressure.

        352.    The statements referenced in ¶¶345-351 were materially false and misleading

because, having attributed the decline to “larger buying groups and accelerated FDA approvals”,

and the sources of offsetting increased revenues from Actavis, the Defendants concealed the full

truth that Teva’s generic drug revenue and Inflated Profits declined YOY. Further, Defendants

failed to disclose that via Price-Hike Strategy, Teva made at least 76 systematic price hikes since

July 2013, many of which were in excess of 100% of the prior price, contributing over $2.2

billion to Teva’s profit from the start of the Relevant Period through, at least, the end of 2016.

Critically, Defendants’ failure to disclose the Price-Hike Strategy and the impact of increased

scrutiny on its Strategy precluded investors from learning that the Company’s growth and

financial results were unsustainable, at risk of significant decline, and expose the Company to

substantial criminal and civil liability.   Additionally, the above-statements were false and

misleading because, as a result of its illegal Price-Hike Strategy, Teva overstated the value of its

goodwill on its balance sheet and understated the Company’s goodwill impairment charge.

Consequently, the Company’s reported operating income and net earnings were inflated by

billions of dollars.

        353.    On November 15, 2017, Teva issued a press release from its North Wales,

Pennsylvania US headquarters, announcing “the launch of a prescription copay assistance

program in the U.S. for the Company's generic equivalent to Gleevec®1 (imatinib mesylate)

tablets.” The press release included a statement by Andy Boyer, Teva’s President & CEO,


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Global Generic Medicines, North America, where he claimed that “[t]his effort further reinforces

Teva’s long-standing commitment to providing access to our medicines… Given today's

economic climate, programs that help alleviate the high copay costs that many patients face are

increasingly important.”

       354.    The press release concluded:

       Teva remains committed to strengthening its generics business with continued
       investment in new and diverse, high quality products. With nearly 600 generic
       medicines available, Teva has the largest portfolio of FDA-approved generic
       products on the market and holds the leading position in first-to-file opportunities,
       with over 100 pending first-to-files in the U.S. Currently, one in seven generic
       prescriptions dispensed in the U.S. is filled with a Teva generic product.

       355.    The statements referenced in ¶¶353-354 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

Teva had implemented a Price-Hike Strategy, which artificially inflated the cost of generic

pharmaceuticals for consumers; (ii) consequently, patients in the United States would suffer and

struggle to afford the rising costs of the generic pharmaceuticals sold by Teva; and (iii) Teva

maintained its market leading position in generic pharmaceutical prescriptions through an illegal

Price-Hike Strategy.

       356.    On February 2, 2018, the Company filed its annual report on Form 10-K with the

SEC (the “2017 10-K”), announcing reporting the Company’s fourth quarter 2017 (“Q4 2017”)

and full year 2017 (“FY 2017”) financial results.

       357.    The 2017 10-K touted its generic drug portfolio:

       In 2017, we led the U.S. generic market in total prescriptions and new
       prescriptions, with approximately 583 million total prescriptions, representing
       15.2% of total U.S. generic prescriptions, according to IQVIA data. 6 We will
       continue to focus our efforts in the United States on maintaining our position as
       an industry leader in introducing new generic equivalents for brand-name
6
  IQVIA (formerly IMS Health Inc.) is a provider of market research to the pharmaceutical
industry,

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       products on a timely basis, with a focus on complex generics and other high-
       barrier products that will create value for our patients. We will conduct a
       substantial optimization of the generics portfolio globally, and most specifically
       in the United States, through a more tailored approach to the portfolio with
       increased focus on profitability. These efforts will be supported by our strong
       emphasis on customer service, the breadth of our product pipeline and our
       commitment to quality and regulatory compliance.

       358.    The Company disclosed that it generated $5 billion in revenues from generic

medicines in the United States in FY 2017:

       Revenues from generic medicines in the United States in 2017 were $5.0 billion,
       an increase of 11% compared to $4.6 billion in 2016. The increase resulted
       mainly from the inclusion of Actavis Generics revenues for the full year of 2017
       compared to five months in 2016 and products sold in 2017 that were not sold in
       2016, partially offset by:

           •   decline in sales of budesonide (the generic equivalent of Pulmicort®) and
               methylphenidate extended-release tablets (Concerta® authorized generic)
               due to increased competition;

           •   price erosion resulting from the following factors:

           •   customer consolidation into larger buying groups; and

           •   accelerated FDA approvals for additional generic versions of competing
               off-patent medicines; and

           •   loss of revenues following our divestment of certain products in
               connection with the Actavis Generics acquisition.

       359.    The 2017 10-K also revealed that the Company incurred a $10.4 billion

impairment charged related to its U.S. generics reporting unit in the fourth quarter of 2017:

       U.S. generics reporting unit

       During the second quarter of 2017, Teva identified certain developments in the
       U.S. market, which negatively impacted Teva’s outlook for its U.S. generics
       business. These developments included: (i) additional pricing pressure in the
       U.S. generics market as a result of customer consolidation into larger buying
       groups to extract further price reductions; (ii) accelerated FDA approval of
       additional generic versions of off-patent medicines, resulting in increased
       competition for these products; and (iii) delays in launches of certain of Teva’s
       new generic products. These developments caused Teva to revisit its
       assumptions supporting the cash flow projections for its U.S. generics reporting


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 unit, including: (i) the expected duration and depth of price erosion and certain
 revenue growth assumptions; (ii) the associated operating profit margins; and
 (iii) the long term growth rate.

 In estimating the discounted cash flow value of Teva’s U.S. generics reporting
 unit as of the second quarter of 2017, Teva used the following key assumptions:
 Teva expected revenue and operating profits to continue to decline in 2018 and
 2019, as its ability to successfully launch new generic products was not expected
 to offset or exceed the price and volume erosion for its existing portfolio prior to
 2020, following which time, in 2020 and 2021, Teva expected to return to
 moderate growth. Teva assumed a terminal growth rate of 2% for the coming
 years, in line with recent general outlook, at the time, for the U.S. generics
 market. The resulting cash flow amounts were discounted using a weighted
 average cost of capital (“WACC”) of 6.8%.

 Based on the second quarter revised discounted cash flows analysis, Teva
 recorded a goodwill impairment of $6.1 billion related to its U.S. generics
 reporting unit.

 During the third quarter of 2017, Teva adjusted the projections for its U.S.
 generics reporting unit to reflect a potentially beneficial event, offset by further
 pricing pressure in the U.S. generics market, and concluded that no additional
 impairment was required.

 During the fourth quarter of 2017, Teva noted further deterioration in the U.S.
 generics market and economic environment and further limitations on Teva’s
 ability to influence generic medicines pricing in the long term and a decrease in
 value from future launches:

         •      Pricing challenges due to customer consolidation. In prior
 periods, it appeared to be reasonable that as price erosion in the generics market
 continued, other manufacturers would exit particular generic markets, resulting in
 opportunities to eventually reduce overall erosion with price increases for certain
 products with decreasing competition after the exit of other manufacturers.
 However, increasing consolidation among purchasers of generic medicines,
 particularly Group Purchasing Organizations (“GPOs”), has led to three such
 GPOs representing approximately 80% of generics purchases in the United States.
 This led to a continuation and increase in the trend of “lowest price” tenders.
 Therefore, it now appears likely that there will be few, if any, opportunities to
 increase prices even when other generics manufacturers exit a market.

         •      Pricing challenges due to government regulation. There is an
 increasing trend of enacting and proposing state-level legislation in the United
 States imposing penalties and/or restricting price increases, making pricing more
 challenging. The inconsistent rules across states add to the complexity of how to
 make decisions about the best economic outcome to maximize profit on a given
 generic product and the most restrictive law will likely restrict Teva’s business


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 practices nationwide, as marketing, sales and pricing are typically not
 administered on a state-by-state basis. Restrictive bills have passed in at least
 seven states, including high-population states such as California and New York,
 and bills are in the process of being re-submitted in ten additional states where
 they were previously rejected, with approximately half of them already passed
 and/or submitted for vote by January 2018.

         •      Increasing generic approvals. The FDA is approving more
 generic formulations than they have in the past, which is affecting the value of
 already launched products. On January 3, 2018, the FDA commissioner
 announced new steps to facilitate efficient generic drug review to enhance
 competition, promote access and lower drug prices. The commissioner also stated
 that the FDA had several record-breaking months for the number of generic
 medicines approved, including November 2017, when it approved the highest
 number of generic medicines in the FDA’s history.

 Being the first to market a generic version of a product, and particularly as the
 only company authorized to sell during the 180-day period of exclusivity in the
 U.S. market, can substantially increase sales, profits and profitability in the period
 following the introduction of such a product and prior to a competitor’s
 introduction of an equivalent product. Even after the exclusivity period ends,
 there is often continuing benefit from having the first generic product in the
 market. Pricing is generally higher during periods of limited competition. The
 FDA has also limited the availability of exclusive or semi-exclusive periods for
 new products with an increase in shared first to file awards, which reduces the
 economic benefit from being first-to-file for generic approvals

 In contrast to the FDA’s accelerated approval of additional generic versions of
 off-patent medicines, the rate of FDA approval for a generic version of originator
 drugs without generic competition has not significantly increased. Thus, Teva’s
 ability to launch profitable new products has not benefited from the FDA’s
 increased focus on approving generic applications. Additionally, much of Teva’s
 future pipeline is concentrated in complex or unique products coupled with
 devices, which take longer time for FDA approval.

        •     Originator strategies to maintain market share. Originator
 companies increasingly engage in strategies beyond authorized generics, to
 maintain market share of their originator drugs, reducing the value of newly
 launched complex or novel generics.

         •       Changes to traditional distribution model. The traditional model
 for distribution of pharmaceutical products is also undergoing disruption as a
 result of the entry or potential entry of new competitors and significant mergers
 among key industry participants, which Teva believes will limit its future growth
 in the U.S. generics market. For example: (i) in January 2018, several major
 hospital groups announced a plan to form a non-profit company that will provide
 U.S. hospitals with a number of generic drugs; (ii) in January 2018, Amazon Inc.,


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 Berkshire Hathaway Inc. and JPMorgan Chase & Co. announced that they plan to
 join forces by forming an independent health care company for their combined
 one million U.S. employees; and (iii) the consolidation resulting from the merger
 announced in December 2017 between CVS Health and Aetna, if consummated,
 is expected to create a vertically integrated organization with increased control
 over the physician and pharmacy networks and, ultimately, over which medicines
 are sold to patients. Each of these events has the potential to drive further price
 erosion and limit the growth opportunities for Teva’s U.S. generics unit.

         •      U.S. tax reform. Recently-enacted U.S. tax reform legislation is
 expected to limit Teva’s ability to achieve targeted tax efficiencies compared to
 prior estimates. See note 15.

 In response to these developments, Teva’s recently appointed President and Chief
 Executive Officer, Kåre Schultz, and the management team that was reorganized
 under him, announced a comprehensive restructuring plan in December 2017,
 aimed to increase the profitability of Teva’s U.S. generics business, among other
 things. This plan focuses on discontinuation of loss generating products and
 reductions of infrastructure costs, by closing facilities and executing divestments,
 as well as a reduction in R&D expenditures, focusing on fewer, more profitable
 opportunities to launch new generic medicines. In addition, Teva further
 evaluated its assumptions and approach to valuing its pipeline and related
 projections. Due to the increased risks and variables now impacting generics
 launches, Teva, with the assistance of a global consulting firm, used a “Monte
 Carlo” model to simulate the different outcomes for launch value to better predict
 the estimated value to be derived.

 As a result of the factors discussed above, Teva adjusted certain of its
 assumptions used in its cash flow projections in the fourth quarter of 2017 to
 determine the fair value of its U.S. generics reporting unit. In comparison to
 previous periods, Teva expects less revenues and profitability from newly
 launched products as well as larger pricing declines. As a result, Teva estimates a
 longer period will pass before it returns to revenue and profitability growth in its
 U.S. generics reporting unit.

 The resulting cash flow amounts were discounted using a slightly increased rate
 of 7.3% compared to prior quarters, reflecting market participants’ assumptions
 regarding increased uncertainties in the U.S. generics market. Teva still
 assumes a terminal growth rate of 2%.

 Based on the new estimates incorporating all of the above factors, Teva
 recorded a goodwill impairment of $10.4 billion related to its U.S. generics
 reporting unit in the fourth quarter of 2017. The aggregate goodwill
 impairment related to Teva’s U.S. generics reporting unit in 2017 was $16.5
 billion.




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       360.    The statements referenced in ¶¶356-359 were materially false and misleading

because, having attributed the decline to “larger buying groups” and “accelerated FDA

approvals”, and the sources of offsetting increased revenues from Actavis, the Defendants

concealed the full truth that Teva’s generic drug revenue and Inflated Profit declined YOY.

Further, Defendants failed to disclose that via Price-Hike Strategy, Teva made at least 76

systematic price hikes since July 2013, many of which were in excess of 100% of the prior price,

contributing over $2.2 billion to Teva’s profit from the start of the Relevant Period through, at

least, the end of 2016. Critically, Defendants’ failure to disclose the Price-Hike Strategy and the

impact of increased scrutiny on its Strategy precluded investors from learning that the

Company’s growth and financial results were unsustainable, at risk of significant decline, and

expose the Company to substantial criminal and civil liability.         Additionally, the above-

statements were false and misleading because, as a result of its illegal Price-Hike Strategy, Teva

overstated the value of its goodwill on its balance sheet and understated the Company’s goodwill

impairment charge. Consequently, the Company’s reported operating income and net earnings

were inflated by billions of dollars.

       361.    On May 3, 2018, Teva filed a Form 10-Q with the SEC (the “Q1 2018 10-Q”)

reporting the Company’s financial results for first quarter 2018 (“Q1 2018”). The Company

touted in the filing that “[i]n the first quarter of 2018, we led the U.S. generics market in total

prescriptions and new prescriptions, with approximately 584 million total prescriptions,

representing 15% of total U.S. generic prescriptions according to IQVIA data.”’

       362.    However, the significant market share was unable to stem the loss of the Price-

Hike Strategy, and the Company reported that “revenues in [Teva’s] North America segment in




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the first quarter of 2018 decreased by 23% to $1.1 billion, compared to the first quarter of 2017,

mainly due to lower volumes and continued price erosion.”

        363.    The statements referenced in ¶¶361-362 were materially false and misleading

because, the Defendants concealed the full truth that Teva’s generic drug revenue and Inflated

Profit declined YOY due to its inability to continue its illegal Price-Hike Strategy. Further,

Defendants failed to disclose that via Price-Hike Strategy, Teva made at least 76 systematic price

hikes since July 2013, many of which were in excess of 100% of the prior price, contributing

over $2.2 billion to Teva’s profit from the start of the Relevant Period through, at least, the end

of 2016. Critically, Defendants’ failure to disclose the Price-Hike Strategy and the impact of

increased scrutiny on its Strategy precluded investors from learning that the Company’s growth

and financial results were unsustainable, at risk of significant decline, and expose the Company

to substantial criminal and civil liability.

        364.    On May 29, 2018, Teva issued a press release from its North Wales, Pennsylvania

US headquarters, announcing “the launch of Life Effects[], a new patient-centric website

developed in collaboration with patients for people living with one or more chronic conditions,

focusing on the impact that a chronic condition has on a patient's day-to-day life.” Brendan

O'Grady, Teva's Executive Vice President and Head of North America Commercial, touted the

Company’s recent efforts to “align[]” itself “to meet the evolving needs and expectations of

chronically ill patients around the country.” The press release continued:

        Earlier this year, Teva announced a new brand positioning--Teva is committed to
        providing innovative and high-quality medicines to enable people around the
        world to live better days--and a visual identity, including a new logo. The brand
        unifies Teva's businesses around the world after decades of acquisitions and
        incorporates the company's untold story on how it impacts the lives of millions
        of people globally every day. In addition to the U.S., Teva has rolled out the new
        brand in Canada, France, Russia and Argentina over the past year. Launches in
        additional markets are planned throughout 2018.



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       365.    Iris Beck-Codner, Teva's Executive Vice President for Global Brand and

Corporate Communications, added that that “[t]he new brand is integral to making our mission

of bringing valuable medicines to patients easier to execute… Life Effects underscores our

fresh, updated approach to being more than the world's largest medicine cabinet. It also

demonstrates, in a tangible way, how we are evolving our proposition based on consumer and

patient insights and putting patients at the heart of what we do each and every day."

       366.    The statements referenced in ¶¶364-365 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

Teva had implemented a Price-Hike Strategy, which artificially inflated the cost of generic

pharmaceuticals for consumers; and (ii) consequently, patients in the United States would suffer

and struggle to afford the rising costs of the generic pharmaceuticals sold by Teva.

       367.    On August 2, 2018, Teva filed a Form 10-Q with the SEC (the “Q2 2018 10-Q”)

reporting the Company’s second quarter 2018 (“Q2 2018”). Therein, the Company reported that

in “the second quarter of 2018, [Teva] led the U.S. generics market in total prescriptions and new

prescriptions, with approximately 576 million total prescriptions, representing 14.8% of total

U.S. generic prescriptions according to IQVIA data.”

       368.    However, the Company also reported a continued deterioration of its U.S.

generics business:

       Revenues from our North America segment in the second quarter of 2018 were
       $2.3 billion, a decrease of $906 million, or 29%, compared to the second quarter
       of 2017, mainly due to a decline in revenues of COPAXONE® as well as an
       equally significant decline in revenues in our U.S. generics business and the loss
       of revenues from the sale of our women’s health business, partially offset by
       higher revenues from AUSTEDO® and our distribution business.

       369.    The statements referenced in ¶¶367-368 were materially false and misleading

because, the Defendants concealed the full truth that Teva’s generic drug revenue and Inflated



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Profit declined YOY due to its inability to continue its illegal Price-Hike Strategy. Further,

Defendants failed to disclose that via Price-Hike Strategy, Teva made at least 76 systematic price

hikes since July 2013, many of which were in excess of 100% of the prior price, contributing

over $2.2 billion to Teva’s profit from the start of the Relevant Period through, at least, the end

of 2016. Critically, Defendants’ failure to disclose the Price-Hike Strategy and the impact of

increased scrutiny on its Strategy precluded investors from learning that the Company’s growth

and financial results were unsustainable, at risk of significant decline, and expose the Company

to substantial criminal and civil liability.

        370.    On November 1, 2018, Teva filed a Form 10-Q with the SEC (the “Q3 2018 10-

Q”) reporting the Company’s third quarter 2018 (“Q3 2018”). Therein, the Company reported

that “in the third quarter of 2018, we led the U.S. generics market in total prescriptions and new

prescriptions, with approximately 547 million total prescriptions, representing 14.1% of total

U.S. generic prescriptions according to IQVIA data.”

        371.    However, the Company also reported a continued deterioration of its U.S.

generics business, with revenues from its North America segment in the third quarter of 2018 of

$2.265 billion, a decrease of $778 million, or 26%, compared to the third quarter of 2017. The

Company attributed the decline in revenues in its U.S. generics business to, among other things,

“a decline in revenues in our U.S. generics business.”

        372.    The statements referenced in ¶¶370-371 were materially false and misleading

because, the Defendants concealed the full truth that Teva’s generic drug revenue and Inflated

Profit declined YOY due to its inability to continue its illegal Price-Hike Strategy. Further,

Defendants failed to disclose that via Price-Hike Strategy, Teva made at least 76 systematic price

hikes since July 2013, many of which were in excess of 100% of the prior price, contributing




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over $2.2 billion to Teva’s profit from the start of the Relevant Period through, at least, the end

of 2016. Critically, Defendants’ failure to disclose the Price-Hike Strategy and the impact of

increased scrutiny on its Strategy precluded investors from learning that the Company’s growth

and financial results were unsustainable, at risk of significant decline, and expose the Company

to substantial criminal and civil liability.

        373.    In the 2018 10-K, the Company reported that “[i]n 2018, we led the U.S. generics

market in total prescriptions and new prescriptions, with approximately 504 million total

prescriptions (based on trailing twelve months), representing 13% of total U.S. generic

prescriptions according to IQVIA data.”

        374.    However, the Company also reported a continued deterioration of its U.S.

generics business, with revenues from its North America segment in 2018 of $9.297 billion, a

decrease of 23%, compared to 2018. The Company attributed the decline in revenues in its U.S.

generics business to, among other things, “U .S. generics business” and “a decline in sales of

generic” products.

        375.    The statements referenced in ¶¶373-374 were materially false and misleading

because, the Defendants concealed the full truth that Teva’s generic drug revenue and Inflated

Profit declined YOY due to its inability to continue its illegal Price-Hike Strategy. Further,

Defendants failed to disclose that via Price-Hike Strategy, Teva made at least 76 systematic price

hikes since July 2013, many of which were in excess of 100% of the prior price, contributing

over $2.2 billion to Teva’s profit from the start of the Relevant Period through, at least, the end

of 2016. Critically, Defendants’ failure to disclose the Price-Hike Strategy and the impact of

increased scrutiny on its Strategy precluded investors from learning that the Company’s growth




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and financial results were unsustainable, at risk of significant decline, and expose the Company

to substantial criminal and civil liability.

        376.    On May 2, 2019, Teva filed a Form 10-Q with the SEC (the “Q1 2019 10-Q”)

reporting the Company’s first quarter 2019 (“Q1 2019”). Therein, the Company reported that “in

the first quarter of 2019, we led the U.S. generics market in total prescriptions and new

prescriptions, with approximately 436 million total prescriptions (based on trailing twelve

months), representing 12% of total U.S. generic prescriptions according to IQVIA data.”

        377.    However, the Company also reported a continued deterioration of its U.S.

generics business, with revenues from its North America segment in the first quarter of 2019 of

$2.047 billion, a decrease of $484 million, or 19%, compared to the first quarter of 2018. The

Company attributed the decline in revenues in its U.S. generics business to, among other things,

“a decline in revenues in… our U.S. generics business.”

        378.    The statements referenced in ¶¶376-377 were materially false and misleading

because, the Defendants concealed the full truth that Teva’s generic drug revenue and Inflated

Profit declined YOY due to its inability to continue its illegal Price-Hike Strategy. Further,

Defendants failed to disclose that via Price-Hike Strategy, Teva made at least 76 systematic price

hikes since July 2013, many of which were in excess of 100% of the prior price, contributing

over $2.2 billion to Teva’s profit from the start of the Relevant Period through, at least, the end

of 2016. Critically, Defendants’ failure to disclose the Price-Hike Strategy and the impact of

increased scrutiny on its Strategy precluded investors from learning that the Company’s growth

and financial results were unsustainable, at risk of significant decline, and expose the Company

to substantial criminal and civil liability.




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       C.      Defendants’ False and Misleading Statements Concerning Teva’s Receipt of
               The DOJ and State AGs’ Subpoenas

       379.    The Defendants concealed Teva’s receipt of a subpoena from the DOJ on June 21,

2016, and a subpoena from the State AGs on July 12, 2016, each pursuant to their respective

investigations into potential antitrust violations regarding pricing practices by generics

manufacturers (collectively, the “Subpoenas”). Specifically, the Defendants failed to disclose

these subpoenas in the Notes Offering Materials. This was actionably false and misleading

because the subpoenas called into question Teva’s future earnings potential. They rendered

uncertain the Company’s ability to maintain its earnings from the undisclosed Price-Hike

Strategy. Indeed, after Teva received the DOJ subpoena, it was unable to make any additional

price increase pursuant to the Price-Hike Strategy. Consistent with this, the Note Issuance

Documents listed “governmental investigations into sales and marketing practices” as among the

“[i]mportant factors” that could cause Teva’s future financial performance to “differ significantly

from [anticipated] results, performance or achievements.”

       380.    Additionally, the Notes Offering Materials incorporated by reference the 2015

20-F and the Q1 2016 6-K, which included extensive risk disclosures but did not disclose the

subpoenas. Among these is a section titled “Government Investigations and Litigation Relating

to Pricing and Marketing,” that include an extensive description of litigation related to

“marketing and promotion of [Teva’s] specialty pharmaceutical products,” and to litigation by

“[a] number of state attorneys general ... relating to reimbursements or drug price reporting under

Medicaid or other programs.” The detailed and extensive nature of this section falsely and

misleadingly indicated that the disclosures were complete, while omitting the highly material

DOJ and State AGs subpoenas.




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       381.    Teva only disclosed that it received the Subpoenas on August 4, 2016, when it

filed the Q2 2016 6-K, which stated that:

       On June 21, 2015, Teva USA received a subpoena from the Antitrust Division of
       the United States Department of Justice seeking documents and other information
       relating to the marketing and pricing of certain of Teva USA’s generic products
       and communications with competitors about such products. On July 12, 2016,
       Teva USA received a subpoena from the Connecticut Attorney General seeking
       documents and other information relating to potential state antitrust law
       violations.

       382.    When the Company filed its next quarterly report on November 15, 2016, the Q3

2016 6-K, it revealed that “Actavis has also received a similar subpoena from the Connecticut

Attorney General. Teva and Actavis are cooperating fully with these subpoenas.” Moreover, it

tried to ease its investors’ worries by stating that “Teva is not aware of any facts that would give

rise to an exposure to the Company with respect to these subpoenas.”

       383.    Also on November 15, 2016, the Company held an earnings call for the quarter,

during which Defendants further denied any wrongdoing. First, Vigodman claimed that legal

compliance has been a “top priority” since at least 2014:

       Since becoming Teva CEO in 2014, I have made compliance a top priority in
       everything we do. The compliance [sic] foregone that Teva has in place is
       serious, rigorous and comprehensive, and is designed to protect the Company
       and its subsidiaries against future violation. Today, Teva is a compliance culture
       that begins with a strong tone at the top, including our executive regional and
       local management, a culture of compliance that underpins every single business
       decision that Teva makes.

       384.    Vigodman finished his prepared remarks on the call by specifically addressing the

Subpoenas, stating in relevant part:

       Finally, I cannot conclude this part of my remarks without briefly addressing the
       U.S. Department of Justice investigation into price collusion in the generics drug
       industry, which has been in the news this month. I would like to emphasize that
       based on all of our efforts to-date, internal and external, we disclosed and I am
       reiterating it here today that we are not aware of any fact that will give rise to
       an exposure to Teva with respect to the investigation.



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          385.   Teva continued to categorically deny all of the reported collusive practices.

Specifically, in each of the Q1 2017 6-K, Q2 2017 6-K, Q3 2017 6-K, 2017 10-K, Q1 2018 10-

Q, Q2 2018 10-Q,Q3 2018 10-Q, 2018 10-K, and Q1 2019 10-Q filings, “Teva denie[d] having

engaged in any conduct that would give rise to liability with respect to the above-mentioned

subpoenas and civil suits.”

          386.   On January, 18, 2019, after United HealthCare Services Inc. sued Teva and other

generic drug manufactures for conspiring to fix and raise the price of their drugs, the Company

publicly denied any wrongdoing. 7 Specifically, Teva stated that it “is committed to complying

with all applicable competition laws and regulations…, fosters a culture of compliance with

these laws and regulations, and is dedicated to conducting business with integrity and fairness.”

Critically, Teva iterated that the “[l]itigation surrounding U.S. generic pricing of several

companies, including Teva continues to be the subject of inaccurate media stories.”

          387.   The statements identified in ¶¶379-386 concerning Teva’s receipt of the DOJ and

State AGs’ Subpoenas were materially false and misleading when made by, inter alia,

“den[ying] having engaged in any conduct” when it had purposefully engaged in an illegal

pricing cartel since at least 2013, in knowing violation of applicable civil and criminal antitrust

laws, and, consequently, exposing the Company to significant undisclosed legal and financial

risks.




7
 Adam Lidgett, Law360, UnitedHealth Sues Generic-Drug Makers For Price-Fixing, Jan. 18,
2019, available at https://www.law360.com/articles/1120269/unitedhealth-sues-generic-drug-
makers-for-price-fixing?copied=1(Last accessed May 28, 2019).

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       D.      Defendants’ False and Misleading Statements Concerning Opioid Sales and
               Litigation

       388.    From the start of the Relevant Period, Defendants concealed Teva’s illegal

marketing of opioids for off-label uses, and subsequently, materially understated the material

impact their marketing practices would have on the Company.

       389.    First, Defendants touted Teva’s acquisition of Cephalon in the 2013 20-F, stating

that “[t]his acquisition helped to diversify our specialty portfolio and enhance our innovative

pipeline.” Among the products acquired by Teva in its acquisition were Fentora (fentanyl buccal

tablet) and Actiq (fentanyl oral transmucosal lozenge); both of which Teva acknowledged in

each of 2013 20-F, 2014 20-F, and 2015 20-F were to be used “for the treatment of breakthrough

pain in opioid-tolerant adult patients with cancer[.]” The 2016 20-F include the same statement

with respect to Actiq.

       390.    Despite Teva’s deliberate corporate policies designed to increase the sales of its

opioid products through the promotion of off-label uses, in each of the Company’s annual filings

during the Relevant Period (2013 20-F, 2014 20-F, 2015 20-F, 2016 20-F, 2017 10-K, and 2018

10-K) included substantively identical boilerplate language concerning risks associated with the

sale of its products for non-approved purposes:

       Governmental investigations into sales and marketing practices, particularly for
       our specialty pharmaceutical products, may result in substantial penalties.

       We operate around the world in complex legal and regulatory environments, and
       any failure to comply with applicable laws, rules and regulations may result in
       civil and/or criminal legal proceedings. As those rules and regulations change or
       as interpretations of those rules and regulations evolve, our prior conduct or that
       of companies we have acquired may be called into question. In the United States,
       we are currently responding to federal investigations into our marketing practices
       with regard to several of our specialty pharmaceutical products, which could
       result in civil litigation brought on behalf of the federal government. Responding
       to such investigations is costly and involves a significant diversion of
       management’s attention. Such proceedings are unpredictable and may develop
       over lengthy periods of time. Future settlements may involve large cash penalties.


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        In addition, government authorities have significant leverage to persuade
        pharmaceutical companies to enter into corporate integrity agreements, which can
        be expensive and disruptive to operations.

(Emphasis in original.)

        391.    The statements referenced in ¶¶388-390 were materially false and misleading

because Defendants made false and/or misleading statements, as well as failed to disclose

material adverse facts about the Company’s business, operational and compliance policies.

Specifically, Defendants made false and/or misleading statements and/or failed to disclose that:

(i) Teva and its affiliates purposefully promoted non-FDA approved uses of its opioid products,

including Fentora and Actiq; (ii) Teva and its affiliates paid lucrative speaking engagement fees

to KOLs,sponsored medical events and journals to provide favorable information about treating

chronic pain with the use of opioids; (iii) Teva targeted non-cancer related medical practices to

increase sales of opioids designed for the treatment of breakthrough pain in opioid-tolerant adult

patients with cancer; (iv) consequently, Teva faced potentially billions of dollars in monetary

liability, as well as criminal liability; and (v) as a result, the Company’s public statements were

materially false and misleading at all relevant times.

        392.    The 2013 20-F also discussed the numerous complaints filed against Cephalon for

its off-label promotion of, inter alia, Fentora and Actiq, and rejected any notion of liability,

stating: “Cephalon continues to defend against putative class action and other complaints relating

to allegations of off-label promotion of Actiq [and] Fentora[.]”

        393.    On July 31, 2014, Teva revealed in its Q2 2014 6-K that two counties in

California and the City of Chicago filed complaints against it for its off-label marketing of

opioids, stating in relevant part:

        On May 21, 2014, counsel for Santa Clara County and Orange County,
        purportedly on behalf of the People of California, filed a complaint in the
        Superior Court for Orange County, California against Teva and Cephalon, along


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       with several other pharmaceutical companies, contending that defendants
       allegedly engaged in off-label promotion in the sale of opioids, including Actiq®
       and Fentora®. On July 11, 2014, the case was removed to the Central District of
       California. On June 2, 2014, the City of Chicago filed a similar complaint against
       Teva and Cephalon in the Circuit Court of Cook County, Illinois, which has been
       removed to the Northern District of Illinois. The time to file a motion to remand
       in California has not yet expired, and the Illinois plaintiffs have withdrawn their
       remand motion. Both complaints assert claims under state law based upon alleged
       off-label promotion in the sale of opioids, and both seek a variety of damages,
       including restitution, civil penalties, disgorgement of profits, treble damages,
       attorneys’ fees and injunctive relief. Neither complaint specifies the exact amount
       of damages at issue. Teva and Cephalon have not yet responded to the complaint
       in either action.

       394.   In the 2015 20-F the Company disclosed that the Mississippi AG filed its own

complaint against Teva USA and Cephalon, stating in relevant part:

       In December 2015, the Mississippi Attorney General filed a lawsuit against Teva
       Pharmaceuticals USA, Inc. and Cephalon along with the same defendants named
       in the California and Chicago actions described above. The Mississippi complaint
       is similar to the California and Chicago complaints, asserts claims under
       Mississippi state law based upon alleged improper marketing of opioids,
       including Actiq® and Fentora®, and seeks a variety of damages including
       restitution, civil penalties, disgorgement of profits, treble damages, attorneys’ fees
       and injunctive relief. The complaint does not specify the exact amount of
       damages at issue. Teva Pharmaceuticals USA, Inc. and Cephalon, along with the
       co-defendants named in the action, filed joint and individual motions to dismiss
       on March 8, 2016.

       395.   Next, in the Q3 2016 6-K the Company disclosed a complaint filed by Suffolk

County, New York:

       On August 31, 2016, Suffolk County, New York filed a complaint in the Supreme
       Court of New York against Teva USA and Cephalon along with the most of the
       same defendants named in the California, Chicago and Mississippi actions
       described above. The Suffolk County complaint, which is similar to the
       complaints filed in California, Chicago and Mississippi, asserts claims under New
       York state law for improper marketing of opioids, including Actiq® and Fentora®,
       and seeks a variety of damages including compensatory damages, civil penalties,
       disgorgement of profits, treble damages, and attorneys’ fees.




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       396.    By November 2017, the number of complaints filed against Teva increased

dramatically. The Q3 2017 6-K disclosed pending cases brought by “a number of cities, counties

and states across the country[,]” stating in relevant part:

       Beginning in May 2014 various complaints have been filed against various Teva
       affiliates, along with several other pharmaceutical companies, by a number of
       cities, counties and states across the country. Actions currently pending against
       Teva and its affiliates have been brought by the states of Ohio, Mississippi, New
       Mexico and Oklahoma. Additional actions brought by various subdivisions and
       state agencies are pending in both State and Federal Court in the following
       jurisdictions: Alabama, California, Connecticut, Georgia, Illinois, Kentucky,
       Louisiana, Michigan, New Hampshire, New Jersey, New Mexico, New York,
       Ohio, Oregon, Pennsylvania, Tennessee, Texas and Washington. In addition to
       the complaints filed by states, state agencies, and other political subdivisions,
       private class action lawsuits have been filed in Arkansas and Ohio. The
       complaints, asserting claims under similar provisions of different state law,
       generally contend that the defendants allegedly engaged in improper marketing of
       opioids, including Actiq® and Fentora® and seek a variety of remedies, including
       restitution, civil penalties, disgorgement of profits, treble damages, attorneys’ fees
       and injunctive relief. None of the complaints specifies the exact amount of
       damages at issue. Teva and its affiliates that are defendants in the various lawsuits
       deny all allegations asserted in these complaints and have filed or will be filing
       motions to dismiss where possible.

       397.    Moreover, the Q3 2017 6-K revealed that “[i]n addition [to the numerous

lawsuits], a number of State Attorneys General, including a coordinated multistate effort, have

initiated investigations into sales and marketing practices of Teva and its affiliates with respect to

opioids.” Teva claimed that it “is cooperating with these investigations, which are ongoing, and

[it] cannot predict at this time the outcome.”

       398.    Teva has continuously denied liability with respect to its sales and distribution of

opioids. Specifically, in each of Q2 2017 6-K, Q3 2017 6-K, 2017 10-K, Q1 2018 10-Q, Q2

2018 10-Q,Q3 2018 10-Q, 2018 10-K, and Q1 2019 10-Q filings Teva and its affiliates “den[ied]

all allegations asserted in these complaints[.]”




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       399.    On the Company’s May 2, 2019 earnings call with investors Defendant Schultz

addressed the Company’s potential liability related to its opioids sales, again rejecting any notion

of wrongdoing by Teva:

       And we have always lead to -- all the requirements both of the grants and on the
       restriction and how we sell the products, reporting everything to FDA and
       relevant authorities. So really, from my point of view, I can't see anything which
       we've done, which is wrong, given the law and the rules of pharmaceutical
       manufacturing sales in the U.S.

       400.    The statements identified in ¶¶392-399 concerning the multitude of lawsuits and

investigations into Teva’s sales and distribution of opioids were materially false and misleading

when made by, inter alia, “den[ying] all allegations asserted in th[o]ese complaints” when it had

purposefully put in place corporate policies designed to promote off-label uses of opioids, and,

consequently, exposed the Company to significant undisclosed legal and financial risks. In fact,

Teva and Defendant Schultz iterated denials of liability less than a month before it announced

that it entered into an $85 million settlement with the State of Oklahoma.

       E.      Defendants Violated Their Statutory Duty to Disclose Pricing Trends

       401.    During the Relevant Period, Defendants were under a statutory duty of disclosure

pursuant to Item 5 of Form 20-F (“Item 5”), interpreted by the SEC and courts to require the

same disclosures as Item 303 of Regulation S-K (“Item 303”). Item 303 (and Item 5) require that

a foreign issuer like Teva must, in the Management Discussion and Analysis (“MD&A”) section

of its Forms 20-F, describe any known trends or uncertainties that have had or that the registrant

reasonably expects will have a material favorable or, unfavorable impact on net sales or revenues

or income from continuing operations. The failure to disclose a material trend or uncertainty in

violation of Item 303 is an omission that is actionable under the securities laws.

       402.    According to the SEC’s interpretive release regarding Item 303, disclosure is

necessary where a trend, demand, commitment, event or uncertainty is both presently known to


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management and reasonably likely to have material effects on the registrant’s financial

conditions or results of operations. Even if Defendants were not certain about the likely effect of

the event or trend on their future revenues, Defendants were still required under Item 303 to

disclose the manner in which that then-known trend, event, or uncertainty might reasonably be

expected to materially impact Teva’s future revenues.

       403.    SEC Staff Accounting Bulletin No. 104 explains this disclosure duty further,

requiring that management disclose in the MD&A section the impact of artificial or collusive

price increases, demanding that: “Changes in revenue should not be evaluated solely in terms of

volume and price changes, but should also include an analysis of the reasons and factors

contributing to the increase or decrease.”

       404.    During the Relevant Period, under Item 303, Defendants failed to disclose at least

two trends related to the pricing of Teva’s generic drugs. First, Defendants failed to disclose the

trend that Teva’s financial success was driven in a material way by the Price-Hike Strategy.

These price increases, as discussed, generated as much as $2.3 billion in Inflated Profit for Teva

over the Relevant Period. Yet, the Price-Hike Strategy and the Inflated Profits it generated were

risky and unsustainable as the Price-Hike Strategy was susceptible to actual competition, as well

as public scrutiny, and scrutiny by legislatures, regulators and criminal investigators.

       405.    Second, starting no later than the beginning of 2016, Defendants failed to disclose

the by-then known trend that the Price-Hike Strategy was beginning to fail. Teva could not

maintain the Inflated Profits as industry-wide pricing pressure, which Defendants consistently

denied, was reducing the inflated prices on Teva’s generic drug portfolio. Teva was also finding

it increasingly difficult, if not impossible, to make additional price increases because of the

scrutiny from the public, Congress, and the DOJ and State AGs investigations; and indeed, Teva




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effectively could not make any price increases after the DOJ subpoena was served on June 21,

2016.

         406.   Likewise, during the Relevant Period, under Item 303, Defendants failed to

disclose that its opioid sales were propped up by the illegal non-FDA approved promoting

scheme it engaged in, and therefore, such results were untenable and would likely result in

significant monetary and criminal liability.

         407.   SEC Release No. 33-8350 provides MD&A disclosure guidance that is a nearly

perfect analogy to the facts here, requiring that:

         if a company’s financial statements reflect materially lower revenues resulting
         from a decline in the volume of products sold when compared to a prior period,
         MD&A should not only identify the decline in sales volume, but also should
         analyze the reasons underlying the decline in sales when the reasons are also
         material and determinable. The analysis should reveal underlying material causes
         of the matters described, including for example, if applicable, difficulties in the
         manufacturing process, a decline in the quality of a product, loss in competitive
         position and market share, or a combination of conditions.

Instead, in violation of its duties under Item 303, Teva only disclosed trends that did not bear on

the issue of price inflation (through price increases), or price erosion. Teva’s failure to disclose

the pricing trends was particularly misleading given that (i) price increases in its generic business

and off-label marketing of opioids were a core but concealed business strategy; (ii) management

concurrently denied that pricing and off-label marketing of opioids had impacted Teva’s bottom

line and that the Company made price increases simply for profit; (iii) management consistently

minimized the positive impact of price increases and off-label marketing of opioids on Teva’s

profits; (iv) management consistently denied that price increases had resulted in price inflation,

and that it engaged in off-label marketing of opioids; and (v) management denied that price

deflation was materially affecting Teva, even as its revenues from the former price increases

cratered.



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       F.      False And Misleading Denials of Teva’s Participation in Collusive Conduct

       408.    Teva repeatedly, and falsely, denied its participation in collusive conduct.

       409.    In Teva’s August 3, 2017 Form 6-K filed with the SEC, Teva described the

various antitrust matters it faced, including the Connecticut AG and DOJ subpoenas and the

December 2016 State AG lawsuit referenced above, and fraudulently stated that “Teva denies

having engaged in any conduct that would give rise to liability with respect to the above-

mentioned subpoenas and civil suits.” Teva made materially identical false and misleading

statements in each of its periodic reports filed with the SEC between August 3, 2017, and May

10, 2019, including Teva’s Form 6-K filed on November 2, 2017; Teva’s Form 10-K for the year

ended December 31, 2017, filed on February 12, 2018; Teva’s Form 10-Q for the period ended

March 31, 2018, filed on May 3, 2018; Teva’s Form 10-Q for the period ended June 30, 2018,

filed on August 2, 2018; Teva’s Form 10-Q for the period ended September 30, 2018, filed on

November 1, 2018; and Teva’s Form 10-K for the year ended December 31, 2018, filed on

February 19, 2019.

       410.    Further, on October 31, 2017, in response to media reports issued after the State

AGs filed a proposed amendment expanding their first antitrust complaint, a Teva spokeswoman

stated to Courthouse News that “Teva denies these allegations and will continue to defend itself

vigorously in court.” The Company further stated that “[i]n accordance with our values, Teva is

committed to complying with all applicable competition laws and regulations. To this end, we

have a robust compliance program designed to ensure that our employees are aware of

competition laws, regulations and internal policies, and their obligations to abide by them.”

       411.    Teva issued further denials in a December 19, 2018 statement to Business Insider,

in which Teva denied the State AGs’ allegations and said it “will continue to vigorously defend

itself.” On January 18, 2019, Teva stated to Law360: “Overall, we establish prices to enable


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patient access, maintain our commitment to innovative and generic medicines and fulfill

obligations to shareholders.” Teva added that it is “committed to complying with all applicable

laws and regulations and is dedicated to conducting business with integrity and fairness.

Litigation surrounding U.S. generic pricing of several companies, including Teva, continues to

be the subject of inaccurate media stories.” On February 19, 2019, in response to media reports

discussing an unredacted version of the first State AG complaint that had recently been made

public, Teva stated to Bloomberg that it would “vigorously defend itself against these unfounded

allegations.”

       412.     In addition, each of the reports Teva filed with the SEC on Forms 10-Q and 10-K

throughout the Class Period contained certifications pursuant to Section 302 of the Sarbanes-

Oxley Act of 2002 (“SOX Certifications”) signed by Defendants Schultz and McClellan, stating

that the “report does not contain any untrue statement of a material fact or omit to state a material

fact necessary to make the statements made, in light of the circumstances under which such

statements were made, not misleading with respect to the period covered by this report.”

       413.     These statements were false and misleading because, as alleged specifically and

independently herein and at Section III.E (Teva Engaged In Collusion, Rendering The

Statements False And Misleading And Further Supporting A Strong Inference Of Scienter), Teva

had in fact engaged in the collusive conduct the State AGs alleged; Teva was not merely a

participant, but the central actor in an industry-wide scheme to fix prices and allocate customers;

and four Teva executives were so extensively involved in the unlawful conspiracy that they were

named personally as defendants in the State AGs’ May 2019 complaint.




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          G.     False And Misleading Statements Regarding Actavis Acquisition

          414.   Teva’s Q3 2016 6-K asserted that the Actavis acquisition “had a significant

impact on our generic medicines segment, expanding our product portfolio, R&D capabilities,

product pipeline, and global operational network.”

          415.   In the press release announcing the Q3 2016 results, Defendant Vigodman stated:

          This has been a year of transition for Teva, underscored this quarter by the close
          of our strategic acquisition of Actavis Generics, which had significant
          contribution to our results. Actavis will continue to contribute in a meaningful
          way to the future growth of our generics business through the strengthened R&D
          capabilities and complementary pipeline and portfolio, and enhance our
          leadership in an increasingly evolving industry.

          416.   During the Nov. 15, 2016, earnings call the same day, Teva made the following

false and misleading statements concerning the financial impact of the Actavis acquisition and

integration on the Company’s business prospects and reported financials:

          [Vigodman:] The completion of the Actavis acquisition strengthens and broadens
          our R&D capabilities, and highly complements our product pipeline, product
          portfolio, geographical footprint and operational network. It enhances Teva’s
          leadership in an evolving competitive landscape and massive consolidation across
          our customer base. In addition, our integration plans with the Actavis generics
          business are on track.

                                *       *       *

          [Olafsson:] On August 2, we completed the strategic acquisition of Actavis
          generics. The result is a much stronger, more competitive Teva that is best
          positioned to thrive in an evolving global generics marketplace.

          417.   In response to a question about the Actavis transaction, Defendant Olafsson

stated:

          The closing of the Actavis transaction has gone very smoothly since day one with
          no operational disrupter. While we were disappointed at the delays with antitrust
          review, the time allows the integration teams at Teva and Actavis Generics to
          work diligently to plan for integration of the two companies in order to ensure that
          combined company would be fully operational immediately as on closing of the
          transaction. As a result, Teva was able to begin capitalizing immediately on the
          benefits offered by the acquisition of Actavis Generics. This included optimizing


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       our R&D activities, harmonizing our customer contracts and relationships, and
       realizing economies of scale with our purchase.

       418.   On December 5, 2016, Teva filed a report on Form 6-K with the SEC, which

included the following false and misleading statements concerning the financial impact of the

Actavis acquisition and integration on the Company’s business prospects and reported financials:

       Erez Vigodman, Teva’s President and [CEO stated:] ... “As we continue to focus
       on integrating and realizing the value of the Actavis Generics transaction, which
       is progressing according to plan, Dipankar and his team will focus on generating
       organic growth through new launches and replenishing the pipe line through our
       industry-leading R&D, and drive efficiencies across the generics organization . . .
       .”

       . . . [Dipankar] Bhattacharjee[, Teva’s President and CEO, Global Generic
       Medicines Group stated:] “With the integration of Actavis proceeding on schedule
       and the complementary U.S. distribution capabilities provided by our recent
       acquisition of Anda, we have a matchless opportunity to add value in the U.S.
       healthcare system, and in the fast-changing global generics marketplace.”

       419.   On February 13, 2017, Teva filed with the SEC the Q4 2016 Press Release. In the

Feb. 13, 2017 earnings call the same day, Defendants Peterburg and Desheh made the following

false and misleading statements concerning the financial impact of the Actavis acquisition and

integration on the Company’s business prospects and reported financials:

       [Peterburg:] The Company’s priorities continue to be extracting all synergies
       related to the Actavis generic acquisition, successfully launching the key generic
       and specialty products we have planned for 2017, and generating significant cash
       flow to rapidly pay down our existing debt to maintain a strong balance sheet.

       We are reiterating our guidance for 2017, including our earnings per share of
       $4.90 to $5.30. We are very committed to this EPS range, and the management
       team and I will do what it takes to protect it, including additional cost reduction if
       necessary.

                              *       *       *

       [Desheh :] The increase in our operating profit was driven mainly by our generic
       business, following the closing of the Actavis transaction.

                              *       *       *



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       Total sales were $93 billion, with significant growth in goodwill and intangible
       assets, resulting from the progress made on the Actavis acquisition versus price
       allocation.

       420.    On February 15, 2017, Teva filed the 2016 20-F. In the 2016 20-F, Teva made the

following false and misleading statements concerning the financial impact of the Actavis

acquisition and integration on the Company’s business prospects and reported financials:

       In August 2016, we completed the Actavis Generics acquisition. Our strong
       legacy generics business, combined with the Actavis Generics business, has a
       world-leading product portfolio, comprehensive R&D capabilities, robust product
       pipeline and an efficient global operational network. The combined generic
       business has a wide-reaching commercial presence, as the market leader in the
       United States and a top three leadership position in over 40 countries, including
       some of our key European markets. The combined business benefits from a
       leading and diverse pipeline of products, which will help us continue executing
       key generic launches and further expand our product pipeline, focusing on both
       large and small opportunities. We expect that a larger number of smaller but more
       durable launches will help offset expected price erosion while diversifying our
       revenue stream.
                             *       *      *

       In August 2016, we completed our acquisition of Allergan plc’s worldwide
       generic pharmaceuticals business (“Actavis Generics”). At closing, we paid
       Allergan consideration of approximately $33.4 billion in cash and approximately
       100.3 million Teva shares. The acquisition significantly expanded our generics
       product portfolio and pipeline, R&D capabilities and global operational network.

                             *       *      *

       Significant highlights of 2016 included:

           •   In August 2016, we completed our acquisition of Actavis Generics. The
               acquisition had a significant impact on our generic medicines segment,
               expanding our product portfolio and pipeline, R&D capabilities and global
               operational network.

       421.    The 2016 20-F contained signed certifications pursuant to the Sarbanes-Oxley Act

of 2002 by Defendants Peterburg and Desheh, stating that the financial information contained in




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the 2016 20-F was accurate and disclosed any material changes to the Company’s internal

control over financial reporting.

         422.   On May 11, 2017, Teva filed a report on Form 6-K with the SEC reporting the

Company’s financial and operating results for the quarter ended March 31, 2017 (the “Q1 2017

6-K”).

         423.   In the Q1 2017 6-K, Teva made the following false and misleading statements

concerning the financial impact of the Actavis acquisition and integration on the Company’s

business prospects and reported financials:

         On August 2, 2016, Teva consummated its acquisition of Allergan plc’s
         (“Allergan”) worldwide generic pharmaceuticals business (“Actavis Generics”).
         At closing, Teva transferred to Allergan consideration of approximately $33.4
         billion in cash and approximately 100.3 million Teva shares. The acquisition
         significantly expanded Teva’s generics product portfolio and pipeline, R&D
         capabilities and global operational network.

         424.   In a conference call the same day, Defendants Peterburg and Desheh made the

following false and misleading statements concerning the financial impact of the Actavis

acquisition and integration on the Company’s business prospects and reported financials:

         [Peterburg:] As it relates to our first priority, I’m pleased to report the synergies
         related to the Actavis Generics acquisition and additional cost reduction, which
         the company has identified, is now on track to realize cumulative net synergies
         and cost reduction of approximately $1.5 billion by the end of 2017.

                                *      *       *

         Turning to generics. It has been 2 full quarters since the completion of our
         acquisition of Actavis Generics. The acquisition has provided us with many
         benefits, especially much stronger and broader R&D capabilities, which we
         believe are the engine for any substantial generic business. This is essential in
         today’s world when we are operating across such an evolving competitive
         landscape and ongoing consolidation across our customer base. We are very
         confident that the global business we have built will allow Teva to thrive in the
         long-term future as a leader in the generics industry.




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       [Desheh:] The increase in our operating profit was driven mainly by our generic
       business, following the closing of the Actavis transaction.

       425.    The statements referenced above were materially false and misleading.

Considered as a whole, Defendants’ representations misled investors by presenting a materially

false and misleading picture of Teva’s business, financial results and operations by, in addition to

the reasons set forth in Sections III.C.1-3 (Defendants Violated Their Statutory Duty To Disclose

Pricing Trends; The 34 Act Defendants’ False And Misleading Statements That Teva Operated

In A Competitive Market With Respect To Price; False And Misleading Statements And

Omissions Regarding Pricing) and III.E (Teva Engaged In Collusion, Rendering The Statements

False And Misleading And Further Supporting A Strong Inference Of Scienter), failing to

disclose and actively concealing the negative impact resulting from the acquisition and

integration of Actavis on the Company’s financial results and business prospects, which (among

other things) exacerbated the risky and unsustainable nature of the Price-Hike Strategy, which

collapsed shortly after the closing of the Actavis acquisition in August 2016.

VI.    ADDITIONAL ALLEGATIONS OF SCIENTER

       426.    Together with the above-alleged facts, the Defendants each acted with scienter in

that each knew or recklessly disregarded the true facts in making the materially false and

misleading statements identified herein.

       A.      Former Employee Allegations

       427.    As alleged in the Class Action, several former Teva employees provided

information on a confidential basis supporting the strong inference that the Defendants acted

with scienter in making the alleged material false and misleading statements and omissions. The

former employees’ accounts corroborate one another and the additional facts alleged herein.




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       428.   Senior Product Operations Manager [or FE-1] started at Teva in 2005 and, until

2011, FE-1 worked in new generic drug forecasting. From 2011 to July 2014, FE-1 was a

manager, responsible for forecasting and analysis of a product group, and from July 2014

through April 2016 was a Product Manager and then Senior Product Manager responsible for

supply chain and inventory management of Teva’s base-line generics business. In FE-1’s most

recent role, FE-1 reported to Bryan Bart who, in turn, reported to Galownia, Senior Director of

Marketing. According to FE-1, based on personal knowledge:

       (i) Teva stored drug-by-drug pricing, sales, and revenue data on the Company’s
       Oracle ERP System; (ii) the Company’s long-range “Work Plan” forecasting 3-5
       years of revenue on a granular level, and prepared annually following a
       predetermined scheduled, was reviewed and approved by Teva’s U.S and Israeli
       executives; (iii) daily or weekly “Scorecards” that tracked generic drug revenues and
       informed Teva executives of any “holes” or “red flags” were distributed to Teva’s
       top U.S. executives, including Griffin, Cavanaugh, Olafsson, and Oberman; (iv)
       quarterly Latest Best Estimates (“LBEs”) comparing results to Work Plan forecasts
       were sent to U.S. and Israeli executives; (v) Teva increased prices when other
       companies did, when it had a monopoly, and when there was a shortage; (vi)
       Olafsson claimed that every company he joined acquired his previous employer;
       (vii) Nisha Patel (“Patel”) was Teva’s Director of Strategic Customer Marketing
       from April 2013 to August 2014 and Director of National Accounts from September
       2014 to December 2016, and Patel was on maternity leave on or about August to
       December 2013; and (viii) that compensation structure for Teva’s national account
       managers was not tied to individual performance.

       429.   Senior Director of Trade Relations [or FE-2] worked at Teva from 2006 until

August 2012. During his tenure, FE-2 was in charge of sales for the branded, generics, and

injectables groups. FE-2 later, and until leaving Teva, oversaw the branded drug national account

managers, reporting to the Head of U.S. Brands. FE-2 also remained involved and

knowledgeable about Teva’s U.S. generics. According to FE-2, based on personal knowledge:

       (i) Teva aligned its generic and branded segments under the “One Teva” motto; (ii)
       Galownia evaluated Teva’s generics drug portfolio on a “constant and ongoing”
       basis to find opportunities to increase prices; (iii) Galownia was “just the guy doing
       the evaluation,” as the decision to increase prices was made by senior executives,
       including Cavanaugh and Griffin, who would conduct their own evaluations of the
       costs and financial benefits of each price increase on a drug-by-drug basis, a process


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       in which Christine Baeder, VP Commercial Operations, was also involved; (iv)
       Cavanaugh and Griffin reported directly to Oberman, and would later report to
       Olafsson; (iv) the process for increasing price could take up to 60 days, required
       formal notice to customers, and was done in batches; (v) it was critical to ensure
       that price increases would “stick,” i.e., competitors would not undercut Teva’s price
       increases; (vi) “everyone would have known,” including, Oberman, and later
       Olafsson, if a large price increase generated significant profit, something which
       Cavanaugh, Griffin, Oberman, and later Olafsson, would track closely, if not
       daily; (vii) executives used price increases to “fill the hole,” when actual revenue
       did not meet forecasts; (viii) each year the finance and operations teams created a
       budget that included revenue forecasts; and (ix) the senior managers including
       Griffin, Cavanaugh, and Oberman, received reports on whether revenues were
       meeting forecasts up to four times per quarter;

       430.   Associate Manager of Customer Marketing [or FE-3] worked at Teva from

September 2014 until May 2016 and was a member of the pricing team. FE-3 reported to a

person who reported to Galownia, who reported to Baeder and, for a time, to Cavanaugh. FE-3

was responsible for evaluating requests for proposals and assessing market pricing for generic

drugs. According to FE-3, based on personal knowledge:

       (i) members of the Pricing Group could only lower prices of generic drugs after
       undertaking an extensively researched and documented analysis; (ii) when prices
       were increased, the Pricing Group was “told” to increase the price in a meeting or
       via email, often from Galownia; (iii) Galownia did not have the authority to raise
       prices, decisions to raise prices came from higher-level management; (iii)
       customers were informed of price increases; (iv) even a small change in price (e.g.,
       $0.25) could have a “huge impact” on revenues; (v) a shared Excel file, kept on a
       shared electronic drive, contained pricing information and was readily accessible
       to the Pricing Group and top Teva executives; (vi) the Company stored pricing and
       revenue data “down to the NDC code” on the Oracle system; and (vii) executives,
       including Cavanaugh, Oberman, and Olafsson, had access to the Oracle ERP
       System, and were routinely filled in on sales numbers.

       431.   Manager of Customer Operations [or FE-4] was employed at Teva from April

2008 to April 2014 and was responsible for metrics for the phone system and managing the

process for customer calls to Teva regarding generic drugs. FE-4 reported directly to Baeder

until 2012, and later to Michelle Osmian. According to FE-4, based on personal knowledge:

       (i) in the early part of 2013, at a quarterly marketing group “all-hands” meeting
       that FE-4 attended, along with additional pricing, sales, finance, and customer


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       service employees at Teva’s North Wales U.S. headquarters, Galownia informed
       the attendees that Teva was implementing a strategy to increase the prices of
       generic drugs; (ii) Galownia could not approve price increases, as Cavanaugh, or
       an executive above her made these decisions; (iii) after a price increase, Teva
       would send letters to customers informing them of the increase; the letters were
       also emailed to Teva employees whose work was impacted by price increases; (iv)
       Teva regularly raised prices on generics from 2013 onward and was “getting more
       aggressive with pricing” by raising prices more frequently up until the time of FE-
       4’s departure in April 2014; and (v) consumer complaints would rise following
       price increases, and the complaints were logged and sent to Baeder on a monthly
       basis.

       B.     The Defendants Were Motivated to Use Teva’s ADS as “Currency” for a
              “Transformational” Acquisition

       432.   The Defendants were motivated to make false statements to inflate the price of

Teva Securities in order to complete a “transformational” acquisition. By January 2014, once the

Price-Hike Strategy was fully implemented and had generated material profits toward fourth

quarter 2013 results, Desheh announced this motivation in setting out that “the stock price will

go up and we’ll be able to use our share as a currency . . . to fund transactions.” Upon his

hiring in February 2014, Vigodman was reported to also favor significant M&A activity.

       433.   Unbeknown to investors, Teva was already focused on acquiring Actavis by as

early as the middle of 2014. Soon after joining Teva from Actavis in August 2014, Olafsson

announced at an “all-hands” quarterly meeting at the North Wales U.S. headquarters that he had

never joined a new company that did not subsequently purchase his former employer. (FE-1.) By

the end of 2014, with the strategy resulting in numerous batches of systematic price hikes,

involving 46 drugs, and generating as much as $943 million in Inflated Profit, the ADS was

trading in the mid-$50s. By then, as Vigodman would later acknowledge on July 27, 2015, the

Defendants had developed a list of acquisition targets and Actavis was at the top. Concealed

from investors at this time, Teva had already approached Actavis, but was rejected.




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       434.     By the end of the first quarter 2015, the Price-Hike Strategy resulted in another

batch of hikes, involving 11 drugs. All told, over $1.1 billion in Inflated Profit had been

generated, and Teva’s ADS was trading near $63. The Defendants’ “willingness” to perform a

“‘transformational’ acquisition in the generics space” was well-known to analysts, as was their

“urgency to diversify via M&A” as Barclays and Leerink wrote on April 7 and 16, 2015,

respectively.

       435.     Undeterred, during a June 10, 2015 Goldman Sachs conference, Teva again

announced glowing results, with Vigodman emphasizing to investors the “profound change in

the generic business” and Olafsson noting the improvement of “$1 billion . . . in 14 months, 16

months,” while concealing that the Price-Hike Strategy had generated over $1.1 billion in profits

for the generics unit over that time. Fueled by profits from the fraud, by July 27, 2015, the price

of Teva’s ADS reached an all-time high of $72.

       436.     That day, Teva announced the $40 billion acquisition of Actavis from Allergan.

Vigodman explained that the improvement in generics was a “precondition” for accomplishing

their motivation for a deal. Indeed, without the inflated securities as a “currency,” Teva did not

have the cash; the $40 billion price tag was roughly twenty years of Teva’s average annual

income from 2013 to 2015. They raised the cash from public investors.

       437.     By the second quarter 2015, however, the Price-Hike Strategy had peaked. Teva

began to experience pricing pressure on its generic drugs, and was increasingly unable to make

additional large price increases. Inflated Profits began to deteriorate, even as the Defendants

needed to raise the capital necessary to pay Actavis’s $40 billion price tag. As questions were

raised regarding the deteriorating pricing environment and Teva’s weakening financials, the

Defendants flatly denied that Teva was making profits from price increases, or that Teva was




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facing pricing pressure. It was not until the Defendants had completed over $27 billion in public

offerings by July 28, 2016, and closed the deal on August 2, 2016, that they disclosed that their

generics business was now the subject of government subpoenas. Soon after that, the truth began

to leak into the marketplace, and the fraud fell apart.

       C.        Conscious Misbehavior or Recklessness

                 1.     Implementation of The Price-Hike Strategy

       438.      In early 2013, Teva expressly adopted the Price-Hike Strategy as a means to turn

the Company around by revitalizing its dwindling generics business. This deliberate strategy was

announced by Kevin Galownia, then-Senior Director of Marketing, at a quarterly “all-hands”

meetings at Teva’s U.S. headquarters that was attended by members of the sales, customer

service, finance, and pricing groups. (FE-4.) At that meeting, Galownia, a frequent presenter at

these quarterly meetings, explained that Teva would raise prices on its generic drugs in a

systematic manner. (FE-4.) This marked a sharp break from the Company’s prior strategy of

focusing on branded drugs, set by then-CEO Levin in 2012. This significant change in direction

necessarily came only from Teva’s highest executives, (FE-4) and could not have been decided

by Galownia alone. (FE-4, FE-3, FE-2, FE-1.)

       439.      Indeed, carrying out the price increases required the explicit approval of the

senior executives at the U.S. headquarters. The Inflated Profits would be captured by the daily

and weekly reports circulated to Cavanaugh, Griffin, Oberman and later Olafsson. (FE-1.) They

were also reflected in the intra-quarter reports that Olafsson, Oberman, Griffin, and Cavanaugh

assembled and sent to Teva’s senior executives in Israel. (FE-1, FE-2.) Consistent with this,

according to FE-2, “everyone would have known” of large price increases that had a significant

financial impact, including Oberman, especially if it was used to fill a “hole” between revenues

and forecasts.


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               2.     Only Senior Executives Could Make Price Increases

       440.    The Defendants’ scienter is also supported by the fact that the execution of the

Price-Hike Strategy required that senior executives personally analyzed and approved each price

increase, pursuant to an established and formalized process that was in place by 2012 when FE-2

was employed at Teva. (FE-2.) Galownia and the Pricing Group would initiate the process. (FE-

2, FE-4.) Galownia would analyze Teva’s portfolio of established generic drugs on a “constant

and ongoing basis,” and would produce a “list of opportunities” and recommendations of

potential price increases to Teva USA COO Maureen Cavanaugh and Deborah Griffin, who was

Chief Accounting Officer of Teva and the CFO of Teva USA. (FE-2.)

       441.    However, Galownia was “just the guy doing the evaluation,” (FE-2), as his

superiors made the actual decision to increase the price of a generic drug. (FE-2, FE-3, FE-1.)

Accordingly, Cavanaugh and Griffin would each separately evaluate whether Teva would make

a price increase, and if so, when. (FE-2.) Cavanaugh would review the price increases from the

operational perspective, while Griffin would undertake a financial cost-benefit analysis that

would evaluate both whether and when to implement the price increases. (FE-2.) In particular,

Griffin would have to factor in specific contract terms and costs associated with increasing

pricing, and determine the right timing for the increase. (FE-2.) Sometimes, Griffin’s decision

was to raise a price, but wait until the next quarter when the contractual implications would be

more favorable. (FE-2.) This recommendation and evaluation process could be quick, but could

also span weeks, with the implemented price hike following as many as 60 days after Galownia’s

initial recommendation. (FE-2.)

       442.    The members of the Pricing Group would routinely engage in a bottom-up

analysis in deciding to lower prices. This required them to conduct and provide senior executives

with detailed analysis and documentation justifying their decisions to reduce prices. (FE-3.) Price


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increases, in contrast, came from the top down. When prices were increased, the Pricing Group

was simply “told,” by email or in a meeting, to raise the prices of certain drugs, without

conducting any analysis justifying the increase. (FE-3.) Members of the Pricing Group did not

have authority to implement price increases. (FE-3.) Defendants became “more aggressive with

pricing” by frequently increasing prices from 2013 onward. (FE-4.) Empirical evidence confirms

this observation. See Appendix A.

        443.    As was the case during the Relevant Period, and as the empirical evidence

confirms, approved price increases would often be batched together and announced on the same

day. (FE-2.) Once a price increase was made, Teva would send letters to affected customers

informing them of the price increase. (FE-2, FE-4.) Galownia or his team would also email these

letters to all Teva employees whose work would have been impacted by price increases. (FE-4.)

        444.    Given this formalized process involving Griffin and Cavanaugh, there is a strong

inference that Defendants were aware of, or at least recklessly disregarded, the 76 price

increases, ranging from 50% to 1500%, over the course of over three years, that generated over

$2 billion in Inflated Profit.

                3.      Continuous Access to Documents and Information Tracking Profits
                        from Price Increases

        445.    The Defendants were given documents that tracked the financial impact of the

Price-Hike Strategy against the detailed revenue goals for Teva’s U.S. generics business, as often

as on a daily basis. (FE-1.) They also had access to Company-wide databases with detailed drug-

by-drug information about the price, sales, and profits of each drug on a real-time basis. (FE-1,

FE-3.) Given the close attention paid to revenue and its sources, and the readily available

information concerning these topics, there is a strong inference that the Defendants knew or




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recklessly ignored that billions of dollars in Inflated Profit were generated through the Price-

Hike Strategy, and its collapse caused the later short-falls in profits.

       446.    Long Range Work Plan: Among the documents the Defendants created and

received was a long-range Work Plan, generated annually, that included generic revenue

forecasts for three to five years, and that contained granular pricing details down to the NDC

level. (FE-1.) The employees preparing the Work Plan would receive feedback from executives

over the course of a pre-established schedule. (FE-1.) The process began around March each

year, with the U.S.-based executives, including Oberman and Olafsson reviewing and approving

the Work Plan over the late summer. (FE-1.) The U.S.-based executives would then present the

Work Plan to Teva’s executives in Israel, including Vigodman and Desheh, each year. (FE-1.)

       447.    Daily Scorecards: Weekly or daily Scorecards were circulated among Teva’s top

executives, including Olafsson and Oberman. (FE-1, FE-2.) These Scorecards provided these

executives with regular access to U.S. sales and revenue data for generic drugs. (FE-1.) The

Scorecards also compared Teva’s actual revenue figures to longer-term revenue goals. (FE-1.)

The executives used the Scorecards to track “holes” between the actual revenues and forecasts,

including the Work Plan. (FE-1, FE-2.) The price increases were used to “fill” the holes. (FE-2.)

       448.    Latest Best Estimates: Teva’s U.S. executives also tracked, and would report to

the executives in Israel, U.S. generic performance on a quarterly basis through the LBEs which

showed how a current financial quarter compared to long term forecasts. (FE-1.) The LBEs

would also be circulated to the executives in Israel. (FE-1.)

       449.    Oracle ERP System: Teva housed its pricing, revenue and sales data of its generic

drugs on its Oracle ERP system, a Company-wide database. (FE-1, FE-3.) Through this system,

pricing, sales and revenue information for each generic drug was readily and easily available at




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the granular level, “down to the NDC code.” (FE-3.) Teva executives, including Griffin,

Cavanaugh, Oberman, and Olafsson all had access to Oracle. (FE-1, FE-3.) Oracle was the

source for the data used for the Scorecards, Work Plan and the LBEs. (FE-1.)

               4.      The Defendants Spoke Repeatedly About the Pricing of Generic
                       Drugs

       450.    The Defendants repeatedly claimed that they had accurate knowledge of the

sources of Teva’s generics profitability.

       451.    The Defendants claimed to have intimate knowledge of whether Teva had taken

price increases and whether those price increases contributed to the increased profitability of

Teva’s generics division. For example, on October 29, 2015, Vigodman claimed awareness that

“all the improvement . . . in our . . . margins is not driven by price. It is driven by quantities and

by mix and by efficiency measures. Not by price, 2014, 2015.” Similarly, on February 11, 2016,

Olafsson claimed he knew that the “$1 billion improvement in operating profit over 24 months

period,” was achieved “[n]ot by pricing but by portfolio mix, new products, and efficiency

measures.” On November 19, 2015, when asked about industry price increases, Desheh claimed

that “Teva was not associated with any of that.”

       452.    The Defendants also claimed knowledge of when Teva would take price

increases, limiting them to instances with shortages. For example, on October 30, 2014

Vigodman claimed he knew that Teva looked for pricing only “when there is a shortage in the

market.” On August 4, 2016, Olafsson claimed that Teva would increases prices only where

there were “shortages in the market,” then “there might be a small pricing opportunity.”

       453.    The Defendants further claimed they were aware of the rate of pricing decline that

Teva was experiencing in 2016, and how it compared to prior years. For example, on June 3,

2016, Vigodman asserted he knew that “[w]hat we see is a 4% to 5% erosion. . . . That’s not



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something which is different from what we said during 2015.” Earlier, on May 9, 2016, Olafsson

asserted awareness that despite “a tougher pricing environment or price deflation,” “Teva has not

seen any fundamental change or worsening in the pricing environment.... What this boils down to

is each individual company’s business model.... Nothing has happened in the last two quarters

that has changed the pricing environment.” Similarly, on September 7, 2016, Desheh claimed

that the pricing environment for Teva’s base generic business was “very stable,” and that

“there’s no pressure on prices.”

       454.    The Defendants also claimed knowledge of whether Teva was competing in a

functional and competitive generics market. For example, on July 27, 2015, Olafsson asserted

that he knew that “there’s fierce competition on most of [Teva’s] portfolio, if not all the

portfolio.” During that same call, Vigodman added, “We believe in competition, and we’ll do

what is needed in order to win all the markets we operate.” On November 19, 2015, Desheh

claimed he knew that Teva was “playing a competitive game . . . playing it fairly . . . by the book

and by the rule.”

       455.    This self-proclaimed personal involvement by the Defendants’ supports a strong

inference that they possessed knowledge of the true state of affairs of the business, and thus had

knowledge that their representations were misleading, or were reckless in not knowing.

               5.     Defendants’ and Analysts’ Focus on Generics

       456.    The fact that the Defendants recurrently publicized that Teva’s generics segment,

fueled by its U.S. division, was driving the Company’s turnaround during the Relevant Period

supports a strong inference of scienter. For example, on May 13, 2015, Desheh described the

turn-around in generics as “nothing short of a revolution.” On June 10, 2015, Olafsson touted

improvement of the “generic business by . . . $1 billion [] in 14 months, 16 months.” That same




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day, Vigodman touted “the profound change in the generic business,” citing increased operating

profit from 2013 to 2014.

        457.    Analysts accordingly focused on Teva’s generics businesses, and particularly its

U.S. division, as a financial driver for the Company, further supporting a strong inference of

scienter. For example, in a February 5, 2015 report, Piper Jaffray noted that “the profitability of

the generics business [is] continuing to improve.” On April 30, 2015, J.P. Morgan wrote: “Teva

continues to make progress on generics profitability . . . we remain encouraged by the recovery

in Teva’s generic business.” The same day Cowen and Company noted that Teva’s

“outperformance was a result of better than expected U.S. generic sales.”

        458.    Similarly, when industry pricing pressure damaged Teva’s competitors, analysts

peppered the Defendants with questions about pricing pressure over the course of several

months, which were met with detailed answers: For example, on February 11, 2016,

Guggenheim asked Olafsson about “pricing pressure in the generics business,” with Olafsson

claiming to know that “on the pricing . . . we didn’t see anything change in fourth quarter.” On

September 7, 2016, Wells Fargo asked whether Teva was “seeing the same generic erosion,

pricing erosion that some of the other companies” had, to which Desheh asserted he knew that

“the base [generics] business . . . the prices are very stable there.”

                6.      The Magnitude, Importance and Duration of the Fraud

        459.    The fact that the Price-Hike Strategy generated as much as $2.3 billion in Inflated

Profit supports a strong inference of scienter. Indeed, the Inflated Profit drove Teva’s reported

financial turnaround throughout the Relevant Period. In 2014 and 2015, Inflated Profits

comprised an increasingly large portion of Teva’s overall net income. As to the generic

segment’s profits, the Inflated Profits accounted for 15% of segment profits in 2013; 32% in

2014; and 32% in 2015. The Inflated Profits accounted for an even larger portion of the


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Company’s overall net income: in 2013, Inflated Profits accounted for 20% of net income; in

2014, 23%; in 2015, 54%, and in 2016, more than all of Teva’s overall profit. The stronger

inferences that the Defendants knew of the source of these profits.

       460.    Likewise, in 2016, the Price-Hike Strategy deteriorated as Teva began to

experience significant pricing pressure and accelerated price erosion, and was no longer able to

implement additional price hikes; as a result Teva’s generic drug profits plummeted. Indeed,

Teva’s deteriorating financial condition in 2017 called into question whether it could service its

massive $35 billion debt, forced the Company to take a staggering $6.1 billion impairment

charge to its generics business, and reduce its dividend. The stronger inference by far is that the

Defendants were aware of the source of this decline, or were reckless in not knowing.

               7.     Contemporaneous Red Flags Indicated That the Defendants’
                      Statements Were False or Misleading

       461.    Contemporaneous red flags alerted the Defendants to the possibility that their

statements were false and misleading. At a minimum, the Defendants recklessly failed to review

or check information that they had a duty to monitor under these circumstances.

       462.    Congressional Inquiry: On October 2, 2014, Congress sent Vigodman a personal

letter seeking answers to “the underlying causes of recent increases in the price of [Teva’s]

drugs.” This should have placed the Defendants on alert to discover whether Teva had taken

price increases and to what extent. Despite this, on October 30, 2014, Vigodman, when faced

with an analyst question on the subject, denied that Teva derived revenues from price increases.

Similarly, Congress invited Teva to testify at a November 20, 2014 hearing on whether “there

was a rational economic reason as to . . . huge price increases.” Again, this should have sparked

an internal inquiry from Teva’s executives. Yet, on December 11, 2014, when faced with the




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assertion from an analyst that wholesalers were seeing large price increases, Olafsson flatly

denied that Teva was involved in those practices.

       463.    The State AG and DOJ Investigations: The fact that the DOJ and the State AGs

began investigations into Teva’s competitors related to their pricing practices also supports a

strong inference of scienter. The fact of those investigations should have triggered an internal

inquiry at Teva into the facts of its own pricing practices, including the dozens of price increases

that Teva made in tandem with its competitors. Indeed, as set forth below, Teva has produced

over one million documents to the DOJ.

       464.    GAO Report: On September 12, 2016, the GAO, which Congress had

commissioned over two years earlier, publicly released its report on “Generic Drugs Under

Medicare,” documenting its audit of Medicare Part D data from June 2015 to August 2016. The

GAO found hundreds of unexplained “extraordinary price increases,” defined as the price of a

particular drug increasing over 100% within a 12-month period, and that some drug prices

increased more than 1,000%. Teva had numerous drugs that showed extraordinary price

increases in the GAO report. The facts of the GAO report support the inference that the

Defendants spoke the alleged false statements with scienter.

               8.      Officer Terminations Support Scienter

       465.    That three of the Officer Defendants – Olafsson, Vigodman, and Desheh –

resigned from Teva or had their employment with Teva terminated at a critical time, as the

Company’s Price-Hike Strategy was deteriorating and Teva was in regulators’ crosshairs, further

supports scienter. There is a strong inference that the termination of Olafsson was connected to

his fraudulent cover-up of the Price-Hike Strategy and the subsequent decline in Teva’s profits as

the strategy collapsed. The explanation for his termination as “retirement” was false, and the first

charges from the DOJ and State AGs regarding their pricing investigations were released only


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days later. There is a similarly strong inference regarding Vigodman’s termination. He was fired

without a replacement just one month after Teva significantly revised its 2017 guidance

downwards, resulting in part from increased price erosion and dwindling generic profits, and one

week before Teva reported disappointing financial results for Q4 2016. Finally, less than two

months after Desheh left Teva, and in the very first reporting period after all Defendants were

gone, Teva took a staggering $6.1 billion charge against its U.S. generics business, and

announced a radical 75% reduction in dividend payments to shareholders. This supports an

inference that it was these Defendants who were blocking the true financial state of the Company

from coming to light.

               9.       Other Facts Supporting Scienter

       466.    The Receipt of the Subpoenas: Teva’s receipt of subpoenas from the DOJ and the

Connecticut AG on June 21, 2016 and July 12, 2016, respectively, supports a strong inference of

the Defendants’ scienter. Particularly, the Defendants failed to disclose them in the mandatory

SEC disclosures filed in conjunction with the Notes Offering and Notes Offering materials, but

then disclosed them approximately two weeks after completing the Offering. The failure to

disclose receipt of the subpoenas until the Notes Offering was completed supports scienter, as

does the fact that many of Teva’s competitors disclosed their receipt of a subpoena immediately,

in the very next SEC disclosure. Moreover, those subpoenas triggered a legally mandatory duty

to inquire into Teva’s pricing practices. Yet, the Defendants thereafter made materially false and

misleading statements about their exposure to price erosion, including during Teva’s September

9, 2016, Generics Day.

       467.    Bloomberg Article: The November 3, 2016 Bloomberg article revealed that Teva

was the subject of the DOJ criminal inquiry, and that the DOJ and State AGs could likely bring

charges later in the year. Despite this, Vigodman, almost two weeks later, on November 15,


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2016, claimed that he was “not aware of any fact that would give rise to an exposure to Teva

with respect to the investigation.” The State AGs suit and the DOJ charges against Glazer and

Malek soon followed, and, subsequently, those investigations have expanded massively. The

close proximity of Vigodman’s statement to the announcement of the charges diminishes the

plausibility of innocent explanations or denials from the Defendants.

       468.    Prior Settlements For Illegal Marketing of Opioids: In Teva’s annual report on

Form 20-F, filed with the SEC on February 17, 2012, Teva disclosed that “[i]n 2008, Cephalon

entered into settlement agreements with the U.S. government and various parties and states

relating to allegations of off-label promotion of Actiq[.]” Not only did Cephalon pay $425

million, but it also “agreed to plead guilty to one misdemeanor violation of the U.S. Food, Drug,

and Cosmetic Act, pay a fine and settlement, and enter into a five-year corporate integrity

agreement with the Office of the Inspector General of the Department of Justice.” Moreover, in

May of 2017, Teva agreed to pay $1.6 million to settle the claims brought by two Californian

counties over its opioid marketing. As part of the settlement, Teva was required to disclose the

risk of addiction anytime it touts the benefits of its painkillers and agreed to refrain from false

advertising and to disclose sponsorship of supplements discussing opioids placed in medical

journals.

       469.    Teva’s Further Denials of Liability Despite Its Purported Investigation of the

Facts: As set forth above, Teva repeatedly denied any involvement in collusive conduct during

the Class Period, and continues to do so. For example, on November 7, 2019, Defendant Schultz

stated during an investor earnings conference call: “We have, of course, shared more than 1

million documents with [the DOJ]. We have not found any evidence that we were in any way

part of any structured collusion or price fixing.” Such statements underscore that the 34 Act




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Defendants knew Teva was a central actor in collusive conduct, or at a minimum, recklessly

failed to review or check information they had a duty to monitor that would have revealed that

fact.

         D.     Corporate Scienter

         470.   Teva possessed scienter by virtue of the fact that the Officer Defendants, who

acted with scienter as set forth above had binding authority over the Company. In addition,

certain allegations herein establish Teva’s corporate scienter based on (i) the state of mind of

employees whose intent can be imputed to the Company, and/or (ii) the knowledge of employees

who approved the statements alleged herein despite knowing the statements’ false and

misleading nature.

         471.   It can be inferred that senior corporate executives at Teva possessed scienter such

that their intent can be imputed to the Company. For instance, in 2013, Galownia, Teva’s Senior

Director of Marketing who led Teva U.S.’s pricing department, knew of and discussed Teva’s

new Price-Hike Strategy at a quarterly “all-hands” meeting of the sales, customer service,

finance, and pricing groups. Given the nature of this strategy, that it required the involvement of

numerous divisions within Teva to implement, including the Operations department under U.S.

COO Cavanaugh and the Finance department under U.S. CFO Griffin, and that it had a material

impact on Teva’s financial statements, additional unknown executives sufficiently senior to

impute their scienter to Teva were also aware of the Price-Hike Strategy.

         472.   As yet unidentified employees also approved the false statements despite knowing

of their false and misleading nature. As discussed, Teva had in place extensive processes to track

its financial performance on a daily, quarterly, and yearly basis. From this, it can be inferred that

someone at Teva approved of the false and misleading statements in Teva’s financial statements

concerning the source of its generics profits, while knowing that the true source of the profits were


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 Inflated Profits from the Price-Hike Strategy. Indeed, according to FE-2, “everyone” would have

 known of price increases that had a material impact on Teva’s financial reporting for the U.S. It

 can also be inferred that someone approved the false and misleading statements that Teva was

 competing intensely on price, someone who knew of the Price-Hike Strategy, and that it was

 largely dependent on a lack of competition.

VII.    TEVA ENGAGED IN COLLUSION, RENDERING THE STATEMENTS FALSE
        AND MISLEADING AND FURTHER SUPPORTING A STRONG INFERENCE
        OF SCIENTER

        473.    Teva engaged in a series of anticompetitive conspiracies as to particular drugs.

 Plaintiffs make this allegation based on information identified in: (i) the Class Action

 investigation; (ii) the State AGs allegations in their Consolidated Amended Complaint against

 Teva and others (the “Amended First State AGs Complaint” or “CAC”), filed June 18, 2018; and

 (iii) the Second State AGs Complaint.

        474.    The States AGs identify evidence culled from their long-running investigation,

 which began in 2014, including documents obtained pursuant to multiple subpoenas and

 cooperation by defendants who have settled with the State AGs and pled guilty to federal

 antitrust violations. Despite filing the Second State AGs Complaint which greatly expanded the

 list of price-fixed drugs, the investigation remains ongoing. Connecticut’s AG, George Jepsen,

 who initiated and led the State AGs’ investigation, has publicly emphasized that the allegations

 in the State AGs’ complaints have a strong basis in direct evidence. In an October 31, 2017

 interview with CNBC, held after the States filed their proposed CAC, Jepsen emphasized that the

 CAC’s now-expanded allegations rested on compelling evidence: “We’ve uncovered – through

 emails, text messages, and telephone patterns, plus cooperating witnesses – a very compelling

 case of systematic and pervasive price fixing within the industry.”




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VIII.    TEVA COLLUDED WITH OTHER MANUFACTURERS TO FIX PRICES

         475.    Parallel Price Increases: The Class Action plaintiffs’ investigation has identified

  17 sudden and aberrational price increases undertaken by Teva that show strong indicia of

  collusion. These price increases, the details of which are reflected in Appendix B, relate to 16

  drugs (the “Collusive Drugs”), collectively generated as much as $1.23 billion dollars in Inflated

  Profit for Teva.In each instance, the drug’s major manufacturers, including Teva, enacted large

  price increases at or around the same time, raising prices to exactly, or nearly exactly, the same

  level. For some, Teva was the first to raise prices, and others followed; other times, Teva

  followed another manufacturer’s lead. The Class Action plaintiffs’ investigation identified, in

  addition to these lock-step price increases, corroborating indicia of collusion, detailed below,

  including: (i) motive and opportunity to increase prices; (ii) price increases against apparent self-

  interest; and (iii) interfirm communications.

         476.    Motive and Opportunity: Companies and individuals involved in generic drug

  pricing, sales, and marketing are, as in any other industry, motivated to increase the profit earned

  on their products. In the generic drug industry specifically, the natural profit motive may bend

  toward a motive to collude, due to the cold realities of marketing products that are, despite their

  scientific sophistication, a commodity. Because federal law requires generic drugs to be “readily

  substitutable,” price is the only meaningful mechanism by which generic drug manufacturers

  may differentiate their products, a circumstance which over time, and absent collusion, drives

  prices down to a point just above the manufacturers’ marginal costs of production. Each of the

  Collusive Drugs is a long-established generic in a mature market in which prices had leveled off

  to a steady equilibrium. The manufacturers of the Collusive Drugs, therefore, had a common

  motive to increase their profits by conspiring to raise prices in tandem, overriding the natural

  downward pressure on prices.


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       477.    In the context of this motive, each Collusive Drug’s market is characterized by

factors that, as a matter of economics, present the opportunity to collude, including:

       •   High Concentration The market for each Collusive Drug was an oligopoly by
           a handful of manufacturers who collectively controlled substantially all of the
           market.

       •   High Barriers to Entry Entering a generic pharmaceutical market requires
           significant lead time for development and regulatory approval. The cost is
           significant; the process of obtaining regulatory approval alone can cost
           millions. Further, there is financial risk that the recoupment of any investment
           could be delayed or never happen. Regulatory approval, known as an “ANDA”
           approval, could be denied or delayed for months or years due to technical
           failures or other factors. According to the GAO and others (including Teva),
           during the Relevant Period the FDA was significantly “backlogged,” and thus
           potential market entrants could have to wait years for approval. It has been
           reported that in 2015 ANDA approvals often took 40 months or more.

       •   Demand Inelasticity The Collusive Drugs are all important, and in many cases
           absolutely critical, to the end-consumer’s health and well-being. As a general
           matter, demand for such drugs is inelastic, i.e., the quantity demanded does not
           vary significantly as price changes, as the consumer cannot simply walk away
           as prices rise. Another factor contributing to demand inelasticity is that health
           insurance plans typically will pay for medications regardless of price, so long as
           the drug is on the plan’s approved list. The Class Action plaintiffs’ undertook
           statistical analysis of the market for each of the Collusive Drugs, and confirmed
           inelasticity for each drug and empirically observed that volume did not change
           as the price increased.

       •   Lack of Alternative Products Doctors choose to prescribe specific drugs to their
           patients for reasons related to the specific pharmacological distinctions among
           the drugs in a particular class and, consequently, they cannot simply substitute
           one product for another when price varies. This is true of the Collusive Drugs.
           For instance, Pravastatin is one of several generic statins, but unique for its
           relatively low level of binding to blood plasma proteins, which may have life-
           altering implications for certain patients.

       •   Inherent Fungibility of Generic Drugs Each manufacturer’s version of each of
           the Collusive Drugs is, by nature, interchangeable with any other
           manufacturer’s. By law, all generic drugs must be readily substitutable for
           another generic of the same brand drug.

       478.    Price Increases Against Self-Interest: There was no reasonable commercial or

economic justification for the price increases in the Collusive Drugs. In no case was a shortage



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reported during the Relevant Period for any of the Collusive Drugs, nor any sudden significant

increase in demand. Thus, absent a collusive understanding among competitors, a manufacturer

that acted alone to enact significant price increases ran a tremendous risk of losing all, or most,

of its market share if competitors undercut the suddenly-inflated price. As an empirical fact, each

manufacturer was able to substantially increase, and maintain increases on, the prices for the

Collusive Drugs within a short period of time; no competitor sought to seize increased market

share by undercutting the other market participants with even a slightly-smaller price increase.

Without a deliberate strategy, such price increases would have been against Teva’s self-interest,

further supporting the Defendants’ scienter.

       479.    The “risk” Teva would have undertaken without collusion was particularly acute

with respect to the six Collusive Drugs for which Teva was the first to increase the price, namely

Ketoconazole (cream and tablets), Nystatin, Theophylline, Diclofenac, Propranolol, and

Estradiol. Appendix B. The fact that Teva was so often willing to expose its market share to

predation by other manufacturers whose prices sat many multiples below Teva’s plausibly

supports that, in reality, there was no risk at all; Teva had reached a collusive understanding that

other market participants would themselves raise prices soon thereafter, and/or that Teva’s “fair

share” of the market would remain untouched despite its extraordinary price increase.

       480.    Inter-Firm Communications: The First Amended State AGs Complaint describes

evidence showing Teva engaged in extensive direct communication with other manufacturers.

For example, the State AGs allege that over 1,500 communications occurred between certain of

Teva’s “senior sales executives and other individuals responsible for the pricing, marketing and

sales of generic drugs” and employees at 15 other manufacturers between July 1, 2013 and July

30, 2014.




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       481.       In the Second State AGs Complaint, Teva and its senior executives are alleged to

have reach agreement with their counterparts to “fix and maintain prices, allocate markets and

otherwise thwart competition” “at regular ‘industry dinners,’ ‘girls’ nights out,’ lunches, parties,

golf outings, frequent telephone calls, e-mails and text messages.” In particular, the States AGs’

investigation found that “[t]hrough its senior-most executives and account managers, Teva

participated in a wide-ranging series of restraints with more than a dozen generic drug

manufacturers, all of whom knowingly and willingly participated.” For example, the Second

State AGs Complaint alleges that in the full calendar years 2013 and 2014, Teva’s senior

executives spoke with their competitors via telephone or text messages a total of 1,389 and 941

times, respectively.

       482.       For example, the Second State AGs Complaint details Teva’s conspiracy to fix

the price of two generic drugs (ethinyl estradiol and levonorgestrel), which are used             in

combination as an oral contraceptive to prevent pregnancy, with its competitor Sandoz Inc.

During the relevant time period, both Teva and Sandoz marketed ethinyl estradiol and

levonorgestrel under multiple names – including both Portia and Jolessa.

       483.       In or around May 2012, Teva and Sandoz held significant market shares for each

of the drugs. Teva and Sandoz controlled approximately 37% and 17%, respectively, of the

market for Portia, and 43% and 11%, respectively, of the market for Jolessa.

       484.       On May 11, 2012, Walmart contacted Teva, which held a right of first refusal, and

explained that Sandoz had made an offer for the sale of four drugs, including Portia and Jolessa.

The following week, Teva sent the customer two competitive offers for the drugs, including

Portia and Jolessa, Teva abruptly backtracked on May 23, 2012 and removed Portia and Jolessa

from the offer.




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       485.    Teva’s seemingly abrupt change was explained when it was revealed that on May

22, Kevin Green (“Green”), Director of National Accounts from January 2006 through October

2013 for Teva, spoke on the phone with a Sandoz employee for five minutes, and agreed to

withdraw Teva’s offer.

       486.    Teva agreed to withdraw the offer for Walmart in order to achieve a more equal

share split with Sandoz for both Portia and Jolessa. Sandoz continued to coordinate with Teva to

achieve its “fair share” of the markets for both Portia and Jolessa.

       487.    On July 2, 2013, another key customer contacted Teva stating it had received bids

on Portia and Jolessa. On July 9, 2013, a Sandoz employee called Patel and left a voicemail.

Shortly thereafter, they connected for a sixteen minute call. On July 10, Teva learned that the

challenger was Sandoz. At 12:16pm, David Rekenthaler (“Rekenthaler”), Vice President, Sales

US Generics at Teva, forwarded an e-mail to Patel, but Patel did not respond by e-mail.

However, due to the close proximity of their offices she likely related her conversation with the

Sandoz employee directly to Rekenthaler.

       488.    Rekenthaler then called another executive of Sandoz at 1:26pm that same day and

they spoke for two minutes. The Sandoz executive called Rekenthaler back a few minutes later

and they spoke for nine minutes. The Sandoz executive and Rekenthaler would speak once more

later that day, at 4:48pm, for seven minutes. Later that same evening, Teva submitted a cover bid

to the customer for Portia and Jolessa. Teva submitted an intentionally inflated bid for the two

drugs in order to ensure that Sandoz obtained the primary award with the customer.

       489.    Similarly, Teva conspired with another competitor, Lupin Pharmaceuticals, Inc.

(“Lupin”), to fix the price of a lifesaving combination of drugs Lamivudine/Zidovudine, also

known by the brand name Combivir. Lamivudine/Zidovudine is used in the treatment of human




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immunodeficiency virus (HIV) infection and is often prescribed to decrease the chances that an

HIV positive patient will develop acquired immunodeficiency syndrome (AIDS) or other related

illnesses.

        490.   Teva first started selling Combivir in December 2011, and Lupin joined the

market in mid-May 2012. However, Teva was communicating with Lupin about market share

allocation even prior to it entering the market. In particular, Green was tasked

withcommunicating with his counterpart at Lupin, even prior to Lupin receiving FDA approval

to sell Combivir. For example, evidence produced in the Second State AGs Complaint reveals

that Green spoke with an employee of Lupin for four minutes on April 24, 2012. Following his

call with a Lupin representative, Green emailed another Teva employee providing specific

information regarding Lupin's entry plans, including commercially sensitive intelligence about

Lupin's anticipated bid at a large wholesaler. The next day, on April 25, 2012, Green and his

Lupon counterpart spoke again, this time for seven minutes. Over the four-day period from May

7 to May 10, for example, Teva, Lupin, and another “competitor” entering the market for

Combivir, Aurobindo, spoke at least 32 times, and always shorter than thirteen minutes, as

detailed in the following chart:




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       491.    On May 10, 2012, at the conclusion of this four-day period of intensive

communications, a Teva employee informed other individuals at Teva of the results. Notably, he

went on to list the specific accounts that Teva had negotiated to retain in order to hold on to a

40% market share in generic Combivir. Further, he identified the specific accounts that Teva

would concede to its competitor Aurobindo and Lupin.

       492.    Not only did Teva speak with competitors to fix the market allocation, it also

conspired to fix the price and artificially inflate the drug prices. For example, in February 2014,

Teva held a controlling market share (62.4%) of Baclofen, also known by the brand names


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Gablofen and Lioresal. Baclofen is a muscle relaxant used to treat muscle spasms caused by

certain conditions such as multiple sclerosis and spinal cord injmy or disease. It is generally

regarded as the first choice of physicians for the treatment of muscle spasms in patients with

multiple sclerosis.

       493.    Teva’s primary competitors in the market for Baclofen at this time were Qualitest

(22.5%), and Upsher-Smith Laboratories, LLC (“Upsher-Smith”) (6.8%).

       494.    As of February 21, 2014, Upsher-Smith took a significant price increase on

Baclofen, ranging from 350 - 420% to the WAC price, depending on the formulation. Prior to the

increase, Baclofen was not a profitable drug for Upsher-Smith.

       495.    Teva initially considered following the Upsher-Smith price increase quickly, as

part of its April 4, 2014 price increases – but decided against it. The primary reason was that

Qualitest was in the market, and would likely compete for market share if Teva increased its

price. However, Teva learned that Qualitest was having supply problems, and could exit the

market for Baclofen. Upon learning that Qualitest would leave the market and Teva would only

compete with Upsher-Smith it quickly worked to increase its prices.

       496.    The reason why Teva felt comfortable dramatically raising the price of

Baclofenwas because Patel had a relationship and understanding with a national account

executive at Upsher-Smith. In the week before she started her employment at Teva, Patel and the

Upsher-Smith executive exchanged several text messages. During her first week on the job, as

she was beginning to identify price increase candidates and high quality competitors, Patel spoke

to the Upsher-Smith executive on April 29, 2013 for nearly twenty minutes. During these

discussions, Patel and the Upsher-Smith executive reached an understanding that Teva and

Upsher-Smith would follow each other's price increases, and not compete for each others’




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customers after a price increase. Their agreement was further cemented in June and July 2013,

when the two competitors agreed to substantially raise the price of Oxybutynin Chloride.

       497.    Accordingly, by the time Upsher-Smith raised its prices for Baclofen in April of

2014, there was no need for further communications with Teva because the two companies had a

standing agreement, as well as personal relationships between their executives.

       498.    Effective April 15, 2014, Teva raised its pricing for Baclofen to precisely match

Upsher Smith’s pricing. Tev a increased its Baclofen WAC pricing from 350% to 447%.

Importantly, Teva would not have increased its prices on Baclofen had it not of had an

understanding in place with Upsher-Smith.

       499.    During this period, Teva did not seek to take any customers from Upsher-Smith

during the time period after Upsher-Smith's increase and before Teva could follow. Even after

Teva's increase, when Qualitest customers approached Teva for a bid due to Qualitest's supply

problems, Teva deferred to Upsher-Smith.

       500.    Two months after conspiring to raise the price for Baclofen, Teva conspired with

Lannett so that Lannett could enter the market seamlessly without significantly eroding the

artificially high prices in the market. In June 2014, Teva had a large market share for Baclofen

in relation to the existing competitors in the market, however, Lannett was preparing to re-enter

the market. On June 12, 2014, as Lannett was about to re-launch sales of Baclofen, the Director

of National Accounts at Lannett messaged Patel personally on Facebook Messanger. Fourteen

minutes later, Patel called the Lannett employee and they spoke for seven minutes. On this call,

the Lannett employee informed Patel that Lannett would be entering the market for Baclofen

shortly. Next, on July 1, 2014, the Lannett employee called Patel and left a voicemail. Patel

promptly returned the call, and the two spoke for almost seven minutes. The Second State AGs




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Complaint provides numerous other examples of Teva agreeing with competitors to allocate the

market and fix prices of dozens of generic drugs.

       501.    Furthermore, the Class Action plaintiffs’ investigation identified a multitude of

trade shows and conferences that afforded individuals responsible for Teva’s generic drug prices

an opportunity to interact with their counterparts at other manufacturers during the relevant

period, many of which occurred in close proximity to price increases that Teva and/or another

manufacturers implemented on the Collusive Drugs. A list of such events, indicating attendance

by Olafsson, Oberman, Cavanaugh, Galownia and Patel is attached hereto as Appendix C. In all

instances identified in Appendix C, representatives of at least one other manufacturer – and

typically many more – also attended.

       502.    Trade shows and conferences provided opportunities for one-on-one meetings

with between Teva personnel, including several of the Defendants, and those of other

manufacturers. For instance, at both the 2013 and 2014 annual meetings of the National

Association of Chain Drug Stores (“NACDS”), Teva reserved a “strategic exchange” bungalow.

NACDS advertised “strategic exchange” bungalows as “opportunities to meet and discuss

strategic issues with key trading partners.” In essence, Teva paid for a secluded area where its

personnel could meet privately with others, including other manufacturers.

       503.    Government Investigations Corroborate an Inference of Collusion: Corroborating

the inferences drawn from the Class Action plaintiffs’ investigation, the State AGs’ CAC alleges,

based on specifically-described communications, seven drug markets where Teva conspired to

fix prices and/or allocate markets, namely the markets for: Acetazolamide, Glipizide-Metformin,

Glyburide, Glyburide-Metformin, Leflunomide, Nystatin, and Theophylline. Nystatin and

Theophylline – two drugs where the States uncovered evidence that Teva, in coordination with




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Heritage, agreed to “take the lead” on price increases, overlap with the set of drugs where the

Class Action plaintiffs’ investigation found strong indicia of collusive price-fixing.

       504.    The State AGs focus many of their drug-specific collusion allegations on the

communications of Malek, Heritage’s President. In dealing with Teva, Malek coordinated market

allocation and price increases with a particular Teva employee, with whom he had a preexisting

relationship. This employee joined Teva in April 2013, and was on maternity leave from August

through December 2013. On information and belief, this employee is Nisha Patel (“Patel”),

Teva’s Director of Strategic Customer Marketing from April 2013 to August 2014 and Director

of National Accounts from September 2014 to December 2016. Patel was on maternity leave

from August through the end of 2013, (FE-1), and her tenure at Teva, based on publicly available

social media sites, aligns with that of Malek’s Teva contact. Patel had responsibilities relating to

pricing prior to her shift to National Accounts. (FE-1, FE-3.) The following is a brief timeline of

those interactions, and their anticompetitive outcomes:

       •   July 2013 After three calls between Malek and Patel spanning more than 43
           minutes, Nystatin appeared on an internal Teva list of “potential” price
           increases, despite a Nystatin price increase having met internal resistance the
           prior month, when Teva first considered the prospect. Patel went on maternity
           leave soon afterwards.

       •   February 7, 2014 After several contacts between Patel and Malek, Nystatin
           again appeared on an internal Teva spreadsheet as a candidate for a price
           increase.

       •   April 4, 2014 Teva increased WAC for Nystatin and Theophylline.

       •   April 15, 2014 Malek and Patel had a 17 minute conversation, during which
           they discussed price increases and/or market allocation as to at least the seven
           drugs referenced above. Patel and Malek determined that, as Teva had raised
           WAC on Nystatin and Theophylline days earlier, Teva would “take the lead” on
           implementing price increases for those drugs, and other competitors would
           follow. Heritage would lead on the other five.

       •   April 16-17, 2014 Multiple Teva employees communicated with Zydus, a
           competitor in the market for Acetazolamide.


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       •     May 1-6, 19-22, 2014 Patel had at least three calls and exchanged at least 30
             text messages with the Actavis pricing manager responsible for Glyburide-
             Metformin.

       •     May 9, 2014 A Teva employee responsible for pricing spoke with their
             counterpart a Mylan, a competitor in the market for Glipizide-Metformin;
             these employees remained in close communication through 2014.

       •     July 8, 2014 Teva refused to bid when a large Heritage customer requested a
             quote on Nystatin from Teva, in response to Heritage’s price increase on the
             drug.

       •     By July 9, 2014 Teva had increased prices on Nystatin, Theophylline,
             Glyburide, and Glyburide-Metformin, and Heritage had increased prices on all
             seven drugs Malek and Patel had discussed on April 15. If Teva did not
             increase prices, it furthered the agreement by refraining from bidding
             competitively, lowering prices, or, in the case of Leflunomide, leaving the
             market entirely.

       •     July 25, 2014 After a large wholesaler solicited bids from Teva and
             Aurobindo on Glyburide, Teva spoke with Heritage (and Heritage with
             Aurobindo) “to ensure uniformity and compliance with the scheme,” and
             resolved that Teva and Aurobindo would decline to provide a bid.

       505.     These seven examples of Teva’s reaching anticompetitive agreements are drawn

just from the limited subset of drugs manufactured by both Teva and Heritage, a relatively small

player in the industry. The State AGs have indicated that the CAC’s common thread is Heritage,

and that they plan to bring separate complaints focused on companies other than Heritage. The

States are investigating collusive conduct relating to nearly 200 additional drugs, and in May

2019 filed a significantly expanded complaint against Teva and other firms, as discussed above

and below.

       506.     The State AGs have provided additional evidence of collusion by Teva, Patel, and

Cavanaugh in their Second Complaint. For example, the Second State AGs Complaint alleges

that in the summer of 2014, Cavanaugh would receive immediate updates David Rekenthaler,

concerning his discussions with executives at a competitor to fix the market for a newly released

generic drug, Cappecitabine. See, e.g., Second State AGs Complaint ¶ 210. Indeed, the evidence


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contained in the Second State AGs Complaint revealed that Between January 2011 and August

2017, Cavanaugh personally communicated with her counterparts at Teva competitors at least

612 times.

       507.    The DOJ also continues to actively investigate Teva, as evidenced by its motion

to stay discovery in the Propranolol Antitrust matter on the ground that the plaintiffs’ allegations

of price-fixing “overlap[] substantially with one aspect of [DOJ’s] criminal investigation.” The

S.D.N.Y., in sustaining the Propranolol Antitrust allegations over Teva’s motion to dismiss,

reasoned that “[t]he presence of an ongoing investigation into the same subject matter as alleged

in the pleadings here raises an inference of conspiracy.” The DOJ intervened similarly in the

Generic Pharmaceuticals MDL, seeking stays and asserting that the drugs at issue – including

the Collusive Drugs Baclofen, Fluocinonide, Pravastatin, and Propranolol – overlap with the

DOJ’s criminal investigation, further corroborating the existence of illegal price-fixing as to

those drugs.

       A.      Evidence of Collusion Further Supports a Strong Inference of Scienter

       508.    Teva’s collusion additionally supports a strong inference of scienter. Given all the

information available to them, the Defendants knew, or recklessly disregarded, that in order for

the Price-Hike Strategy to generate the high level of Inflated Profits apparent in data regularly

available and reported to them, Teva would likely have had to, and did, coordinate,

communicate, and potentially reach illegal agreements with other manufacturers.

       509.    As alleged, Teva’s price increase approval processes necessarily involved senior

management. Indeed, Patel, or any person in her position, did not have the authority or ability to

raise prices or to determine which drugs Teva would bid on, including the ones that Malek and

Patel had discussed. (FE-2, FE-1, FE-3.) Teva’s senior management and executives, including

Griffin and Cavanaugh, approved all price increases.


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       510.    Moreover, many of the Collusive Drugs were major drugs for Teva and the profits

from the price hikes were substantial. In all, the Collusive Drugs generated at least $1.2 billion

over the Relevant Period. The financial implications of the price increases would have been

reflected in the analysis that Griffin and Cavanaugh undertook in deciding whether to take the

price increase, and when. (FE-1, FE-2.) That financial impact would also be reflected in the

financial reporting for which they and Oberman and Olafsson were responsible, and which was

presented to Vigodman and Desheh. (FE-2, FE-1.) These included regularly updated forecasts

and scorecards. The information was also available on the Oracle ERP system.

       511.    With the knowledge gained from these reports and data, Teva’s executives and

the generic segment CEO (Oberman and then Olafsson), Teva CAO and CFO of Teva USA

(Griffin), and COO of Teva USA (Cavanaugh) could see when price increases were effective for

an abnormally long time, or whether an abnormal quantity of price increases remained effective

in contravention of rational economics.

       512.    Moreover, the State AGs have alleged that for years Teva adhered to a

“widespread” “code of conduct,” among generic drug manufacturers that allowed them to “fix

prices and allocate markets to suppress competition.” The “code’s” objective was to attain a

price equilibrium where manufacturers had no incentive to compete for additional market share

by lowering price. Under that code, “competitors” would agree collectively to raise or maintain

drug prices, dictating that a competitor should not “punish” another for price increases by

underbidding the competitor who raised prices, as that would be “irresponsible.” Manufacturers

also would enter into collusive “fair share” market allocation agreements by making knowingly

uncompetitive bids, refusing to bid, or readjusting market share by walking away from

customers.




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       513.     The State AGs have stated that evidence they have secured shows that executives

at the highest levels in many of the defendant companies conceived and directed many of the

schemes. This assertion corroborates the investigation conducted by plaintiffs in the Class

Action, including that Cavanaugh and Griffin were involved in pricing decisions, and Olafsson

and Oberman would have received and reviewed reports and forecasts reflecting the Inflated

Profit generated thereby.

       514.     Furthermore, Oberman, Olafsson, and Cavanaugh personally attended numerous

trade shows and conferences during the relevant period, affording them the opportunity to

interact with individuals responsible for pricing and marketing decisions at other manufacturers

(Appendix C).

IX.    THE UNDISCLOSED FACT OF TEVA’S COLLUSION CONSTITUTES AN
       INDEPENDENT BASIS FOR FALSITY

       515.     The false and misleading statements regarding the source of Teva’s profits as

described in its SEC disclosures identified above in Section III.C.3, and the false and misleading

statements regarding competition in Teva’s SEC disclosures as identified above in Section

III.C.2, were false and misleading, in addition to the reasons enumerated above, because Teva

conspired with other manufacturers to fix prices for certain generic drugs. Statements regarding

the supposed source of Teva’s revenues were false because they omitted the fact that Teva’s

revenues were partly generated by collusive means. Statements describing the supposed

competitiveness of the U.S. generic drug market were false because Teva was in reality

participating in series of anticompetitive conspiracies that distorted competitiveness.




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X.       LOSS CAUSATION

         516.   In addition to the allegations herein, the Defendants’ fraudulent conduct directly

and proximately caused Plaintiffs to suffer substantial losses as a result of purchasing Teva

Securities at artificially inflated prices during the Relevant Period.

         517.   The Defendants, through each category of false and misleading statements and

omissions, concealed the truth about Teva’s core business strategy that materially contributed to

Teva’s financial and operational success during the Relevant Period, as well as Teva’s collusive

conduct.     By concealing, among other things, the Price-Hike Strategy, that Teva was not

competing on price, that the strategy was driving known material trends, that as the strategy

failed and pricing competition increased Teva’s financial condition was deteriorating, that Teva

was in fact engaged in collusion and the central actor in an industry-wide conspiracy, and the

negative impact of the Actavis acquisition and integration of the acquired business on Teva’s

financial results and business prospects, the Defendants also concealed the numerous and related

risks associated with their false statements and omissions, including but not limited to, the risks

that:

         •   the strategy was highly risky and not sustainable, and as the strategy failed,
             Teva’s profits would collapse; by their nature, especially when done in
             tandem with competitors, price hikes might appear to arise from anti-
             competitive and/or collusive conduct and, thus, draw the attention of
             government investigators and law enforcement agencies, precipitating
             possible legal actions, civil liabilities, and criminal sanctions;

         •   should the Price-Hike Strategy come under public, legislative, or law
             enforcement scrutiny, the viability of sustaining the Inflated Profits and/or
             implementing new price hikes would be severely undermined, and would
             thereby undercut a major driver of the generic segment’s profit;

         •   if pricing pressure or competition increased, Teva would be far more
             susceptible to a rapid and material decline in Inflated Profits, resulting in poor
             financial results and undercutting reported and forecasted profits;




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       •    upon the failure of the Price-Hike Strategy, the Company could be further
            disrupted by the termination of the senior managers who were responsible for
            the strategy, and by any increased difficulty in hiring qualified replacements;
            and

       •    as the Price-Hike Strategy in fact failed over time, Teva’s Inflated Profits
            declined, and Teva was prevented from making additional price increases,
            those trends would continue.

The concealed risks bear directly on Teva’s ability to generate and sustain its profits and its

ability to service the over $30 billion in debt payable to public investors.

       518.    Beginning in August 2016, the concealed risks began to materialize through a

series of negative events and disclosures that revealed, on a piecemeal basis, the false and

misleading nature of the Defendants’ Relevant Period statements and omissions. Despite these

partially corrective events and disclosures, Teva Securities’ prices remained artificially inflated

and were prevented from declining to their true value by the Defendants continuing to make

materially false and misleading statements that had the effect of, at least temporarily, concealing

their fraud. As the relevant truth leaked out into the market from August 2016 to May 2019,

public investors, including Plaintiffs, suffered losses, which were foreseeable and caused by the

materialization of the risks that the Defendants’ fraudulent conduct concealed from investors, as

set forth below.

       A.      August 4-5, 2016

       519.    After the close of trading on August 4, 2016, Teva filed its Q2 2016 6-K,

reporting Q2 2016 results, which announced (i) poor generics segment earnings, including a

$115 million YOY decline in profits for the generics segment; and (ii) that “[o]n June 21, 2015

[sic], Teva USA received a subpoena from the Antitrust Division of the United States

Department of Justice seeking documents and other information relating to the marketing and

pricing of certain of Teva USA’s generic products and communications with competitors about



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such products” and “[o]n July 12, 2016, Teva USA received a subpoena from the Connecticut

Attorney General seeking documents and other information relating to potential state antitrust

law violations.”

       520.    On this news, the prices of Teva Securities declined. Between the close of trading

on August 4, 2016 and on August 5, 2016, the price of Teva’s ADS fell $1.24 or 2.24% to close

at $54.21.

       521.    Likewise on the TASE, the price of Teva’s ordinary shares fell ILS 2,860, or

12.98%, from ILS 22,040 on August 3, 2016, to close at ILS 19,180 on August 5, 2016.

       522.    This marked the beginning of the relevant truth leaking out, as Teva’s Price-Hike

Strategy had begun to collapse, as Teva lost its ability to profit from the 76 historic price hikes,

or to implement new increases in 2016. The disclosure of the subpoenas was a materialization of

the risk that, after nearly two years of ongoing investigations, the DOJ and State AGs would seek

evidence from Teva in connection with Teva’s pricing practices.

       B.      November 3, 2016, December 13-16, 2016

       523.    On November 3, 2016, during the trading day on the NYSE, Bloomberg published

an article titled “U.S. Charges in Generic-Drug Probe to Be Filed by Year End,” describing the

DOJ’s “sweeping” two-year investigation related to the soaring prices of generic drugs and how

executives from more than a dozen generic pharmaceutical manufacturers, including Teva, were

suspected of colluding to raise the prices of generic drugs. The article broke the news that the

first criminal charges against executives of those companies could emerge by the end of the year,

and that State AGs were seeking to bring claims against generic manufacturers.

       524.    On this news, the prices of Teva Securities declined once again. Between the

close of trading on November 2, 2016 and the close of trading on November 3, 2016, Teva’s

ADS price fell $4.13 or 9.53% to close at $39.20.


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       525.    The next trading day on the TASE, the ordinary shares fell ILS 710, or 4.5%,

from ILS 16,040 on November 3, 2016 to ILS 15,330 on November 6, 2016.

       526.    In a November 3, 2016 article titled “News of Charges in Price-Fixing Inquiry

Sends Pharmaceuticals Tumbling,” The New York Times reported that the news that the DOJ and

State AGs’ investigations found serious evidence of criminal conduct caused significant declines

in the price of Teva Securities. On November 4, 2016, S&P Capital IQ lowered its rating of Teva

ADS from “buy” to “hold” and its 12-month price target by $34 to $50 per share, noting that

“[w]e think this could pose yet another challenge to an industry that has been hit hard by charges

of high drug prices and will be an overhang on the shares.” HSBC in its November 4, 2016

analyst report, downgraded Teva from “buy” to “hold” and lowered its price target from $66 per

share to $44 per share, noting “US DOJ investigation into alleged US generic drug price

collusion creates significant uncertainty” for Teva and for investors. In a November 10, 2016

article titled “DOJ’s price-fixing investigation could lead to sizable liabilities, analyst says,”

Fierce Pharma reported that analysts tracking the generic drug industry believed that liability

from the investigations could have a sizeable financial impact on Teva, estimated at $700

million.

       527.    Within weeks the expected governmental actions materialized. On December 13,

2016, the DOJ, by means of an Information, charged Malek and Glazer, the top two executives at

Heritage, with two felony counts of violating Section 1 of the Sherman Act partly for fixing the

price of Glyburide, a drug for which Teva held 75% of the market.

       528.    On December 14, 2016, led by the Connecticut AG, the State AGs filed their

lawsuit against Teva and several of its peers for civil violations of the antitrust laws, accusing

Teva of conspiring to allocate the markets for and fix the prices of generic drugs, including for




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Glyburide, and of participating in a larger market-wide collusive conspiracy. Forbes reported the

next day, in an article titled “State Attorneys General Accuse Six Generic Companies Of Fixing

Drug Prices,” that the AG’s complaint revealed new information regarding Teva’s potential

exposure, made “clear which companies could be implicated in the antitrust investigation federal

prosecutors are pursuing,” and also noted that Glazer and Malek were cooperating.

       529.    On the news of the DOJ charges and the filing of the State AGs’ complaint, the

prices of Teva Securities continued to decline. Between the close of trading on December 13,

and December 16, 2016, the ADS price fell $1.15 or 3% to close at $36.51.

       530.    Likewise, on the TASE, the ordinary share price fell ILS 140, or 0.98%, from a

close of ILS 14,240 on December 15, 2016 to a close of ILS 14,100 on December 18, 2016.

       C.      November 15, 2016

       531.    On November 15, 2016, before trading opened on the NYSE, Teva filed a press

release with the SEC reporting its Q3 2016 financial results, which were well below consensus

expectations largely due to poor sales in Teva’s generics divisions, including a $277 million

YOY decline in revenue in Teva’s “legacy” U.S. generics segment (i.e., in the pre-Actavis-

transaction portion of Teva’s U.S. generics business). In the Company’s November 15, 2016

earnings call, the Company also revised downward its 2016 guidance, and disclosed for the first

time that the rate of price erosion for its generic drugs has increased from 5% to 7%, although

Olafsson falsely claimed that the increase was the result of divestitures from the Actavis

transaction, and thus was limited to one quarter.

       532.    On this news, the prices of Teva Securities continued to decline. Between the

close of trading on November 14 and 15, 2016, the ADS price fell $3.43 or 8.36% to close at

$37.60. Likewise, on the TASE, the ordinary share price fell ILS 720, or 4.58%, from a close of

ILS 15,710 on November 14, 2016 to a close of ILS 14,990 on November 15, 2016.


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       533.    Analysts responded negatively to the new information concerning the Company’s

disappointing financial results. That day, in a report titled, “Are The Wheels Coming Off? Sure

Feels That Way,” Piper Jaffray lowered its price target from $57 per share to $43 per share,

noting that “it appears to us that Teva painted an overly sanguine picture of its generics business

at its investor event in September [during the Generics Day],” and describing Q3 2016 as a

“credibility-damaging quarter,” because, in the face of Olafsson’s explanation that the price

erosion would be limited, it was “difficult for us to take that assertion at face value.” Also that

day, Deutsche Bank wrote “TEVA reported 3Q revenue that was below our estimate on lower

generic sales . . . the company saw higher than expected price erosion in 3Q” and, as a result,

lowered its price target for the Company from $68 per share to $54 per share on “lower growth

assumptions for generics.” Likewise, in a November 16, 2016 report, Morgan Stanley lowered its

price target for the Company from $63 per share to $42 per share, as a result of the lower than

expected generics growth and worse than expected price erosion.

       D.      December 5-6, 2016

       534.    After the close of trading on December 5, 2016, Teva filed a Form 6-K

announcing that Olafsson would be stepping down as President and CEO of the Company’s

Global Generic Medicines Group and that, effective immediately, he would be replaced by

Bhattacharjee. Teva offered no explanation for Olafsson’s departure, instead claiming he was

“retiring” even though he was only in his late 40s and quickly obtained other employment.

       535.    On this news, on December 6, 2016, the prices of Teva Securities continued to

decline. Between the close of trading on December 5 and on December 6, 2016, the ADS price

fell $2.01 or 5.43% to close at $35.03. Likewise, on the TASE, the ordinary share price fell ILS

690, or 4.91%, from a close of ILS 14,050 on December 5, 2016 to a close of ILS 13,360 on

December 6, 2016.


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       536.   Analysts tied Olafsson’s termination to the disappointing results in Teva’s

generics segment and concerns over pricing pressure. On December 6, Morningstar reported:

“Teva’s announcement [that it] will replace Siggi Olafsson as CEO of the generics segment does

not inspire confidence. Recent pricing pressure in the generic drug market . . . remain[s]

significant near-term challenge[] for Teva, which makes the abrupt leadership change a

concerning development at a critical time for the company.” A December 5 BTIG report noted

“[w]ithout Siggi Olafsson at the helm of Teva’s global generic segment, we think investor

sentiment could worsen as the market has remained focused on price erosion for the

[company’s] base generic business” and that “the departure of Mr. Olaffson [sic] creates more

uncertainty as we head into 2017.”

       E.     January 6, 2017

       537.   On January 6, 2017, before the beginning of the trading day on the NYSE, Teva

filed a press release on Form 6-K announcing a significant reduction in the 2017 guidance

previously released on July 13, 2016. In the investor conference call that day, Vigodman claimed

the “significantly” reduced guidance resulted from “significant headwinds” faced by “[t]he entire

healthcare sector” to which Teva “ha[d] not been immune,” and “some issues specific to Teva”

resulting in “an EBITDA gap of $1.2 billion emanating from our US generics business.” In

addition to the materialization of the concealed risks described herein, this was the

materialization of the risk of the Defendants using an “assumption” for price erosion in the July

13, 2016 guidance that was empirically false at the time; specifically, Defendants assumed a

pricing environment that was “stable”— i.e., 4%-5% erosion rate disclosed in prior years and

quarters—when, in fact, pricing pressure was causing a more rapid decline.




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        538.    As a result of this new negative information, the prices of Teva Securities

continued to decline. Between the close of trading on January 5 and January 6, 2017, the ADS

price fell $2.86 or 7.53% to close at $35.10.

        539.    Likewise, on the TASE, the ordinary share price fell ILS 790, or 5.49%, from a

close of ILS 14,390 on January 5, 2017 to a close of ILS 13,600 on January 8, 2017.

        540.    Analysts tied this disclosure to the fact that the prior guidance was “inflated” as a

result of understating generic drug price erosion. In a report dated January 6, 2017, Evercore ISI

conducted its own price erosion analysis for the Company and noted that, as a result of its lower

than expected revenues and EPS, “I think it’s pretty clear that mgmt’s prior expectation for

2017 were very inflated.” Similarly, the same day, Maxim Group downgraded its rating of the

Company from “buy” to “hold” and its price target for the Company from $49 per share to $41

per share and noted “challenges in the near term to the core generic . . . business are becoming

bigger issues.” In a January 8, 2017 report, Piper Jaffray stated that “Teva once again provided

disappointing guidance, further eroding what in our view was already limited management

credibility.”

        F.      February 6-7, 2017

        541.    On February 6, 2017, after the close of trading on the NYSE, in a Form 6-K filed

with the SEC, Teva announced the termination of Vigodman as CEO, effective immediately and

without a permanent replacement, and the conclusion of his service on the Board of Directors.

        542.    On this news, the prices of Teva Securities continued to decline. Between the

close of trading on February 6 and on February 7, 2017, the ADS price fell $2.16 or 6.29% to

close at $32.19.

        543.    Analysts tied Vigodman’s abrupt departure to the Company’s poor financial

performance in its generics business since no later than Q2 2016, as well as sustained difficulties


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for the generics business ahead. For example, in a February 6, 2017 report titled “CEO

Transition Adds Further Uncertainty to Story,” J.P Morgan reported “we view today’s update as

a disappointment, with arguably the two most important executives at Teva stepping down (Erez

and Siggi Olafsson, CEO of generics) within the last several months at a time of significant

fundamental challenges. With Teva facing headwinds across both its generics (incremental

competition, pricing headwinds) and branded business ... we continue to believe a near-term

recovery in the company’s business is unlikely.” Similarly, that day, Wells Fargo concluded that

“more investors will be uneasy with the uncertainty of an unexpected and abrupt CEO

departure.”

       G.      August 3-7, 2017

       544.    On August 3, 2017, before the NYSE opened, Teva filed a press release on a

Form 6-K announcing lower-than-expected Q2 2017 financial results. The Company (i)

attributed its poor financial results to poor performance in its U.S. generics business (with

reported profits of only $691 million, far below analyst expectations) and “accelerated price

erosion”; (ii) was required to take a $6.1 billion accounting charge permanently writing-down the

value of the generics business; and (iii) imposed a 75% reduction in the Company’s longstanding

dividend. The Company also significantly lowered its guidance for 2017, revising downward its

earlier-reported guidance from January 2017 for the Company’s net revenues, operating income,

EBITDA, EPS, and cash flow. On the Company’s earnings conference call held that day,

Defendant McClennan, Teva’s interim CFO, explained that the poor results and reduced

guidance were partly the result of increased price erosion and price pressure. Importantly,

Bhattacharjee further noted the “impact of the shelf stock adjustments that [Teva has] done,” as a

“key element” of the revised outlook. Shelf stock adjustments are contractual provisions that

require charge backs to customers when prices decline. It was highly foreseeable that prices


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would decline on at least the 60 drugs subject to the Price-Hike Strategy, drugs for which Teva

had increased price by at least 50%, and as much as 1543% over the Relevant Period. Teva’s

$6.1 billion permanent impairment charge directly reduced Teva’s bottom line dollar-for-dollar.

During the August 3, 2017, earnings call, Defendant Peterburg stated that the $6.1 billion charge

was “to reduce goodwill associated with our U.S. Generics business unit, which includes both

the Teva legacy business and the Actavis Generics business.”

       545.    Analysts reacted harshly. That day, J.P. Morgan wrote, “Teva reported weaker-

than-expected results but more importantly lowered in 2017 sales and EPS guidance . . . and cut

its dividend by 75%. . . . U.S. generic weakness appears to be at the heart of these reductions.”

Jefferies wrote, “Mgt Had Effectively No Choice but to Cut the Dividend; Maintaining Debt

Covenants a Key Concern.” Oppenheimer noted, “it may be difficult for Teva’s board to attract

top talent (meaningful pharma CEO experience) given the company’s ongoing challenges,” as

the CEO and CFO positions remained unfilled. Analysts were further concerned about Teva’s

ability to sustain its debt and debt rating. Jefferies wrote: “Can It Get Any Worse?,” noting that

“[a]t present, Teva has a debt covenant that requires a minimum leverage of 4.25 x (net

debt/EBITDA) by YE17 ... If mgt’s ever-shrinking EBITDA guidance ... erodes much further, it

is possible Teva may not meet the [debt] obligation.” The reality was that Teva’s poor results,

guidance reduction, and the risk that it could not satisfy its debt obligations were the

materialization of the risks associated with the Price-Hike Strategy and its ultimate demise.

There was no realistic prospect that the strategy could be revived, or that it could again generate

the same Inflated Profits. The result was the write down of the generics business by $6.1 billion,

and Teva cutting its dividend by 75%.




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       546.   With the true financial condition of the Company more evident, credit rating

agencies immediately issued rating downgrades. On August 3, 2017, Moody’s downgraded

Teva’s debt rating to Baa3 (one step above “junk”), with a negative outlook, reflecting slower-

than-anticipated deleveraging “as Teva contends with weakness in its US generics business.”

Likewise, on August 4, Fitch Ratings also downgraded Teva to BBB- (one step above “junk”),

with a negative outlook.

       547.   As investors digested the news, the prices of Teva Securities dropped. Between

the close of trading on August 2 and the close of trading on Monday, August 7, 2017, the price of

Teva’s ADS fell $12.66 or 40.51% to close at $18.59.

       548.   The ordinary share price also declined ILS 1,980, or 17.79%, from a close of ILS

11,130 on August 2, 2017 to a close of ILS 9,150 on August 3, 2017. Teva’s market

capitalization was reduced by approximately $8 billion. The next trading day on the TASE, the

ordinary share price continued to fall by ILS 2,022, or 22.10%, from a close of ILS 9,150 on

Thursday, August 3, 2017 to a close of ILS 7,128 on Sunday, August 6, 2017. The ordinary share

price continued to fall by ILS 18, or 0.25%, from a close of ILS 7,128 on Sunday, August 6,

2017 to a close of ILS 7,110 on Monday, August 7, 2017.

       H.     November 2, 2017

       549.   On November 2, 2017, Teva filed its Q3 2017 Form 6-K, reporting the

Company’s third quarter 2017 financial results, including a 9% decline in U.S. Generic Medicine

quarterly revenues compared to the third quarter of 2016. The decrease was misleadingly

attributed to “pricing declines resulting from customer consolidation into larger buying groups

and accelerated FDA approvals for additional generic versions of competing off-patent

medicines as well as volume decline of methylphenidate extended-release tablets (Concerta®

authorized generic) due to the launch of a competing product.”


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       550.    Investors and analysts reacted negatively to this news. Analysts at Cowen and

Company called the Company’s full year guidance “unfavorable” and stated that, with a

“difficult generic pricing environment and competitive pressures – which are not being properly

offset by new product launches – the Teva business model is now upside down.” Analysts at

RBC Capital Markets stated that the results were even “below our cautious expectations,” and

that the “magnitude of weakness in the US generics business in both revenue and margins was

surprising.” Wells Fargo Securities analysts found Teva’s results to be “especially

disappointing.”

       551.    As a result of this new negative information, the prices for Teva securities

declined. The ADS price fell $2.79 per share, or nearly 20%, from a close of $14.02 on

November 1, 2017 to a close of $11.23 on November 2, 2017, on high trading volume. Teva’s

market capitalization was reduced by approximately $3 billion.

       552.    The next trading day on the TASE, Teva’s ordinary shares fell ILS 670, or

13.65%, from a close of ILS 4,908 on Wednesday, November 1, 2017 to a close of ILS 4,238 on

Thursday, November 2, 2017.

       I.      February 8, 2018

       553.    On February 8, 2018, Teva issued a press release announcing its fourth quarter

and full year financial results, including a staggering $17.1 billion goodwill impairment mainly

related to its generics business for 2017. On the conference call with investors held later that day,

Teva explained that $11 billion of the impairment “related to our U.S. generics business as well

as additional impairments of other long-lived assets of $3.2 billion, mainly related to a

revaluation of generic products acquired from Actavis” and was based in part on “further

deterioration in the U.S. generics market”—including “[p]ricing challenges due to government




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regulation”—and Teva’s resulting expectation of “larger pricing declines” than previously

anticipated.

       554.    Investors and analysts reacted negatively to this news. Analysts at Wells Fargo

Securities stated that the Company missed consensus expectations “by a significant margin,” but

noted that:

       [W]e believe it will be the lower than consensus 2018 outlook that investors will
       be focused on, especially the commentary about generic pricing worsening in 4Q
       and the overall environment worsening for the value of future launches. Teva took
       a $17.1 billion goodwill impairment, which investors should see as reflective of
       how challenging the situation is.

BTIG analysts noted “another major write-down following last year’s $6B goodwill

impairment.” Similarly, IBI Brokerage stated that the $11 billion “impairment charge [was]

almost entirely for the generics business in the US” and that guidance for fiscal year 2018 was

“way below market expectations.”

       555.    As a result of this new negative information, the prices for Teva securities

declined. Teva’s ADS price fell $2.21 per share, or over 10.5%, from a close of $20.85 on

February 7, 2018 to a close of $18.64 on February 8, 2018, on high trading volume. Teva’s

market capitalization was reduced by approximately $2.3 billion.

       556.    The next trading day on the TASE, the ordinary share price fell ILS 500, or 6.9%,

from a close of ILS 7,200 on February 7, 2018 to a close of ILS 6,700 on February 8, 2018.

       J.      December 9-10, 2018

       557.    On December 9, 2018, the Washington Post published an interview with Joseph

Nielsen, an assistant attorney general and antitrust investigator in Connecticut who has been a

leading the State AGs investigation. Mr. Nielson disclosed that the price-fixing investigation

had expended to at least 16 companies and 300 drugs.




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       558.    Mr. Nielson described the State AGs investigation as “most likely the largest

cartel in the history of the United States,” citing the volume of drugs in the schemes, that they

took place on American soil and the “total number of companies involved, and individuals.”

       559.    While the article noted Teva’s continued denial of engaging in any

anticompetitive conduct, and its statement in a court filing that allegations of a price-fixing

conspiracy “are entirely conclusory and devoid of any facts,” the price of Teva Securities

dropped substantially with the disclosure of the State AGs’ expanded investigation.

       560.    Following the news of the expanded scope of the criminal investigation, Teva’s

ADS price fell $0.97 per share, or approximately 5%, to close at $18.44 on December 10, 2018.

Likewise, on the TASE, Teva’s ordinary shares fell ILS 390, or 5.34%, to close at ILS 6,910 per

ordinary share on December 10, 2018.

       K.      May 10, 2019

       561.    On May 10, 2019, more than 40 State AGs filed the Second State AGs Complaint,

expanding the extent of liability Teva faces, alleging that Teva illegally colluded with its

competitors to fix the price of thirty-two drugs previously unnamed in the First State AGs

Complaint. Notably, the Second State AGs Complaint stated that the State AGs’ investigation is

still ongoing and they “will likely bring additional actions” based on drugs not identified in the

current complaint.

       562.    The May 2019 complaint details Teva’s price-fixing with regards to at least 86

different generic drugs, compared to just 7 drugs in the previously filed action. The complaint

further asserts that the Company implemented significant price increases for approximately 112

generic drugs, including extraordinary price hikes of over 1,000%, and details Teva’s role as a

“consistent participant” and a central player in the conspiracy. Further, the May 2019 complaint

names four Teva employees personally as defendants: Cavanaugh, Patel, Kevin Green (Teva’s


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former Director of National Accounts), and David Rekenthaler (Teva’s former Vice President,

Sales U.S. Generics).

       563.    Following this news, Teva’s ADS price fell $2.13 per share, or approximately

15%, to close at $12.23 on May 13, 2019. Likewise, on the TASE, Teva’s ordinary shares fell

ILS 714, or 13.6%, to close at ILS 4,511 per ordinary share on May 13, 2019.

       564.    Analysts were surprised by the revelations in the State AGs’ May 10, 2019

complaint. For example, Bernstein warned that “the price-fixing lawsuit is worse than we

expected” and “there seem to be specific cases in the lawsuit that are going to be hard to explain

away.” J.P. Morgan stated that “[w]e were open to the majority of price spikes being

‘explainable’ by way of shortages, limited competition (only two or three competitors), and price

‘signaling,’ a grey area of antitrust law. So we were sorely disappointed by the nature of the

direct quotes attributed to Teva employees in the expanded complaint.”

       L.      May 28-30, 2019

       565.    On Sunday, May 26, 2019, less than 48 hours before the first major trial against

Teva for its opioid liability was set to begin, Teva announced that it agreed to pay the State of

Oklahoma $85 million in order to settle claims that it fueled the opioid crisis in the State.

       566.    As a result of this new negative information, the prices for Teva securities

declined. The ADS price fell $1.35 per share, or approximately 12.4%, from a close of $10.87 on

May 24, 2019 to a close of $9.52 on May 28, 2019 (the next trading day), on high trading

volume.

       567.    Following the news of Teva’s $85 million settlement with Oklahoma over its

opioid sales, the market began to understand the true and devastating extent of Teva’s legal

liabilities. On May 28, 2019, UBS analyst Navin Jacob estimated that Teva’s liability in opioid

litigation and price-fixing litigation could reach $4.1 billion, noting that the Company faced


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“larger potential litigation expense (for both opioids and drug price fixing) than we had built into

our previous valuation.” Likewise, on May 30, 2019, an analyst at Bank of America Merrill

Lynch, Jason Gerberry, downgraded Teva’s securities, citing, inter alia, Teva’s current legal

exposure.

       568.    As a result of this new negative information, the prices for Teva securities

declined. The ADS price fell $0.86 per share, or approximately 8.9%, from a close of $9.70 on

May 29, 2019 to a close of $8.84 on May 30, 2019, on high trading volume and to a near 19-year

low. Likewise, on the TASE, over two days of trading, Teva’s ordinary shares fell ILS 784, or

19.3%, to close at ILS 3,267 per ordinary share on May 29, 2019.

XI.    PRESUMPTION OF RELIANCE AND FRAUD-ON-THE-MARKET DOCTRINE

       569.    Plaintiffs are entitled to a presumption of reliance on Defendants’ material

misrepresentations and omissions pursuant to the fraud-on-the-market doctrine. At all relevant

times, the markets for Teva’s securities were efficient for the following reasons, among others:

       (a)     Teva’s securities met the requirements for listing, and were listed and
               actively traded on the NYSE and the TASE, a highly efficient and
               automated market;

       (b)     The average weekly trading volume of Teva Securities was significant;

       (c)     As a regulated issuer, Teva filed public reports with the SEC, the NYSE
               and the TASE;

       (d)     Teva was eligible to file simplified SEC filings;

       (e)     Teva regularly communicated with the public through established market
               communication channels, including through the regular dissemination of
               news releases on major newswire services, through communications with
               the financial press, and through other wide-ranging public disclosures; and

       (f)     Numerous securities and credit analysts followed Teva and wrote reports
               that were published, distributed, and entered the public domain.




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        570.     Accordingly, the markets for Teva Securities promptly digested current

 information regarding the Company from all publicly available sources and reflected such

 information in the price of Teva Securities. Under these circumstances all purchasers of Teva

 Securities during the Relevant Period suffered similar injury through their purchases at

 artificially inflated prices. A presumption of reliance therefore applies.

        571.     In addition, or in the alternative, Plaintiffs are entitled to a presumption of

 reliance pursuant to Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972), and its

 progeny, because the claims asserted herein are predicated in part upon omissions of material

 fact that the Defendants had a duty to disclose.

XII.    CLAIMS FOR RELIEF

                                              COUNT I

                   For Violation of Section 10(b) of the 34 Act and Rule 10b-5

                                      (Against the Defendants)

        572.     Plaintiffs incorporate each and every allegation above by reference as if fully set

 forth herein.

        573.     During the Relevant Period, the Defendants made, disseminated or approved the

 false and misleading statements specified above, which they knew or recklessly disregarded were

 false and misleading in that the statements contained material misrepresentations and failed to

 disclose material facts necessary in order to make the statements made, in light of the

 circumstances under which they were made, not misleading.

        574.     The Defendants violated § 10(b) of the 34 Act and Rule 10b-5 in that they:

        (a)      Employed devices, schemed, and artifices to defraud;

        (b)    Made untrue statements of material fact or omitted to state materials facts
        necessary in order to make the statements made, in light of the circumstances
        under which they were made, not misleading; and/or


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          (c)    Engaged in acts, practices and a course of business that operated as a fraud
          or deceit upon Plaintiffs in connection with their purchases of Teva Securities
          during the Relevant Period.

          575.   Plaintiffs suffered damages in that, in reliance on the integrity of the market, they

paid artificially inflated prices for Teva Securities. Plaintiffs would not have purchased Teva

Securities at the prices they paid, or at all, if they had been aware that the market prices of those

securities had been artificially and falsely inflated by the Defendants’ misleading statements.

          576.   As a direct and proximate result of the Defendants’ wrongful conduct, Plaintiffs

suffered damages in connection with their purchases of Teva Securities during the Relevant

Period.

                                             COUNT II

                            For Violation of Section 20(a) of the 34 Act
                                     (Against the Defendants)

          577.   Plaintiffs incorporate each and every allegation above by reference as if fully set

forth herein.

          578.   During the Relevant Period, the Defendants acted as controlling persons of Teva

within the meaning of § 20(a) of the 34 Act. By virtue of their positions and their power to

control public statements about Teva, the Officer Defendants had the power and ability to control

the actions of Teva and its employees. Teva controlled the Officer Defendants and its other

officers and employees. By reason of such conduct, the Defendants are liable pursuant to § 20(a)

of the 34 Act.

                                             COUNT III

                          For Violation of the Israel Securities Law, 1968
                                     (Against the Defendants)

          579.   Plaintiffs incorporate each and every allegation above by reference as if fully set

forth herein.


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       580.    Throughout the Relevant Period, Teva’s common shares were dually listed on

both the NYSE and the TASE.

       581.     Israeli securities law provides unique treatment for securities of certain firms that

are “dual listed,” i.e., available for trading on both the TASE and the national U.S. stock

markets. For dual-listed firms incorporated in Israel, and dual-listed firms like Teva incorporated

elsewhere but approved for such treatment by the Israeli Securities Agency (“ISA”), Israeli law

applies the reporting requirements (including the anti-fraud provisions) of the country of primary

listing. See Israeli Securities Law, 1968 (“Securities Law”), §§ 1, 35T, 35DD, 35EEE.

       582.    Accordingly, to construe the propriety of Teva disclosures to investors, Israel

applies U.S. laws and regulations, including the anti-fraud provisions of the U.S. securities

laws, to enforce disclosure obligations for dual-listed stocks. See Securities Law, §§35T, 35 DD,

35EE; Verifone Holdings, Inc. v. Stern, Class Action 3912-01-08, decision rendered Nov. 16,

2008; Stern v. Verifone Holdings, Inc., Class Action 3912-01-08, decision rendered Aug. 25,

2011, subsequent to and in light of Morrison v. National Australia Bank, 130 S. Ct. 2869

(2010)). According to Israeli case law, liability for violations thereof is pursuant to Section 10(b)

of the Exchange Act and Rule 10b-5 promulgated thereunder, and Section 20(a) of the Exchange

Act applies to the claims arising from trades made by Plaintiffs on the TASE.

       583.    Additionally, in a Motion to Dismiss the Class Action Complaint filed on

December 1, 2017, in the Class Action defendants Teva, Vigodman, Desheh, Altman, Oberman,

Olafsson, Peterburg, and Bhattacharjee:

       agree[d] that Israeli law mirrors U.S. law here. The Israeli dual-listing regime was
       purposefully created in 2000 to make the TASE more attractive to Israeli
       companies (like Teva) who otherwise might list their securities only on exchanges
       outside of Israel. See generally, e.g., Marcus Best & Jean-Luc Soulier, Israel
       §21.1, International Securities Law Handbook (4th ed. 2014). Because issuers find
       it unattractive to be subject to multiple and diverging regulatory regimes, Israel



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       simply adopts the securities law requirements of the foreign jurisdiction – in this
       case, the United States – instead of enforcing “requirements that apply to Israeli
       companies listed solely on the TASE.” Id. As Plaintiffs acknowledge, both Israeli
       case law and the Israel Securities Authority’s public statements support the view
       that, as a matter of Israeli law, Israel voluntarily applies U.S. liability standards to
       dual-listed companies like Teva. Compl., ¶1084; see In re VeriFone Holdings, Inc.
       Sec. Litig., No. 07-cv-06140 EMC, 2014 WL 12646027, at *1 (N.D. Cal. Feb. 18,
       2014) (noting, in case involving securities fraud claims under Israeli law and a
       dual-listed company, that “the Israeli district court ruled twice that U.S. law, and
       not Israeli law, applies”).

       584.    During the Relevant Period, in violation of Section 10(b) of the Exchange Act and

Rule 10b-5, Defendants carried out a plan, scheme, and course of conduct using the

instrumentalities of interstate commerce and the mails, which was intended to and, throughout

the Relevant Period did: (a) artificially inflate and maintain the market price of Teva common

stock; (b) deceive the investing public, including Plaintiffs, as alleged herein; (c) cause Plaintiffs

to purchase Teva common stock at inflated prices in reliance on Defendants’ false and

misleading statements made knowingly or with deliberate recklessness by Defendants; and (d)

cause them losses when the truth was revealed.

       585.    During the Relevant Period, in violation of Section 20(a) of the Exchange Act, the

Individual Defendants had control over Teva and made the material false and misleading

statements and omissions on behalf of Teva within the meaning of Section 20(a) of the Exchange

Act, causing damages to Plaintiffs. By virtue of their controlling shareholder status, executive

positions, board membership, and stock ownership, and their culpable participation, as alleged

above, the Individual Defendants had the power to influence and control and did, directly or

indirectly, influence and control the decision making of the Company, including the content and

dissemination of the various statements which Plaintiffs contend were false and misleading. The

Individual Defendants were provided with or had unlimited access to the Company’s internal

reports, press releases, public filings, and other statements alleged by Plaintiffs to be misleading



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prior to or shortly after these statements were issued, and had the ability to prevent the issuance

of the statements or cause them to be corrected.

       586.    Alternatively, if this Court concludes that Israeli, not U.S., law applies to the

claims arising from Plaintiffs’ purchases of common shares on the TASE, the following

provisions and causes of action apply to those claims:

       a.      Regulations 3-5 of the Securities Regulations (Periodic and Immediate
               Reports of Foreign Corporation), 2000 promulgated under the Securities
               Law – Teva breached its reporting obligations under the “foreign law” -
               namely, U.S. law -defined in § 1 of the Securities Law as “the law
               applying to a foreign corporation because its securities are listed for trade
               on a foreign stock exchange, including the rules of that foreign stock
               exchange.” Specifically, Teva failed to submit and publicize reports,
               notices, and other documents of the adverse information contained herein
               as required under U.S. law, in a timely fashion as required under U.S. law
               or earlier, on issues required under U.S. law. Teva thereby caused damage
               to Plaintiffs.

       b.      § 36 of the Securities Law and Regulations 30, 36 of the Securities
               Regulations (Periodic and Immediate Statements), 1970 thereunder - Teva
               failed to submit immediate reports in a timely fashion as required under
               Regulation 30. According to Regulation 36(a): “An [immediate] report
               shall provide, with respect to any event or matter that deviates from the
               corporation‘s ordinary course of business, the details of [such an event’s
               or matter’s] nature, scope or potential result which will have or could have
               a significant effect on the corporation; the same details will be provided
               with respect to any event or matter that could significantly affect the price
               of the corporation‘s securities.” Moreover, even if Teva may have delayed
               timely reporting pursuant to Regulation 36(b), once it became aware of
               rumors and other public information, it breached its obligation under
               Regulation 36(d) to submit an immediate report and refer therein to the
               correctness of the information that has already been made public. Teva
               thereby caused damage to Plaintiffs.

       c.      §§ 31-32A, 34, 38B-38C of the Securities Law - Read together, these
               sections impose liability, inter alia, on a corporation, a director of a
               corporation, its general manager, and a controlling shareholder thereof
               with regard to a misleading item that was in a report, notice or document
               that the corporation filed pursuant to this Law - to anyone who sold or
               purchased securities in the course of trading on a stock exchange or over
               the counter, for damage caused to them by the inclusion of a misleading
               item in those disclosures. A “misleading item” is defined in § 1 of the
               Securities Law as “including anything that is likely to mislead a


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                reasonable investor, and any matter the omission of which is likely to
                mislead a reasonable investor.” Specifically, § 32A(c) denies the safe
                harbor protection for “forward looking information” under this Section
                from “a party that knew that the forward-looking information would not
                be realized.” Section 32A(d) further excludes from the safe harbor’s
                purview “facts, figures or other details in a prospectus, opinion, report,
                review or certificate, as applicable, which served as a basis for forward-
                looking information.” Defendants are liable to Plaintiffs under these
                provisions.

       d.       § 52K of the Securities Law - This general civil liability provision imposes
                liability on an issuer, the directors of the issuer, its general manager, and
                on a controlling shareholder of the issuer for any damage caused to a
                holder of the issuer’s securities by virtue of the issuer’s violation of the
                provisions of this Law or of regulations hereunder. Defendants are liable
                to Plaintiffs under this provision.

       e.       §§ 35-36 of the Torts Ordinance [New Version] - These sections impose
                general liability in torts for negligence towards any person where a
                reasonable person in like circumstances should have foreseen that in the
                ordinary course of things the former person may be harmed by the latter
                person’s conduct or omission. Defendants are liable for damage caused to
                Plaintiffs by the former’s misrepresentations and omissions as detailed in
                the above paragraphs.

       f.       § 63 of the Torts Ordinance [New Version] - This section imposes general
                liability in torts for breach of statutory duty on any person who failed to
                comply with a duty imposed on him according to any statute, excepting
                this Ordinance, where the statute, according to its correct construction, is
                meant for the protection or benefit of another person, the breach caused
                damage to that person of the kind or nature of damage meant by the
                statute, unless that statute was meant to exclude such remedy. Defendants
                are liable for damage caused to Plaintiffs by the former’s failures to
                comply with their duties under the Securities Law as detailed in the above
                paragraphs.

                                            COUNT IV

                  For Violation Of Sections 1-402(c) and 1-501(c) of the PSA
                                  (Against the Defendants)

       587.     Plaintiffs incorporate each and every allegation above by reference as if fully set

forth herein.




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       588.    The Defendants directly and/or indirectly, for the purpose of inducing the

purchase of Teva securities by others, participated in the circulation and/or dissemination of

misrepresentations and omissions of material facts to the effect that the price of the security

would or was likely to rise. During the Relevant Period, the Defendants sold or offered to sell

Teva securities, or received consideration, directly or indirectly, from a person who sold or

offered to sell Teva securities.

       589.    Teva has conceded that “the factual center of this case is Pennsylvania[.]” See

Galmi, ECF No. 37-1, at 6. The false statements detailed above were prepared in Pennsylvania

and Israel. Id.; Kim Declaration ¶5. Moreover, Teva’s “sales, marketing, and finance executives

with responsibility for U.S. generics pricing are based in Pennsylvania.” Id., ¶4. In addition,

Teva’s investor relations department and individuals responsible for drafting and preparing

Teva’s public filings with the SEC are based at Teva USA’s Pennsylvanian offices. Id. Lastly,

“[d]ocuments relating to the subject matter of this lawsuit—e.g., materials related to Teva USA,

drug pricing, and U.S. competitors—are located in Pennsylvania, or, if not there, in Israel.” Id.,

¶7.

       590.    The Defendants willfully participated in the acts and transactions that caused the

circulation and/or dissemination of misrepresentations and omissions of material facts.

       591.    The Defendants are liable for all materially false and misleading statements made

during the Relevant Period, as alleged above.

       592.    The Defendants acted with the requisite scienter in that they acted either with

intent to deceive, manipulate, or defraud, or with recklessness. The misrepresentations and

omissions of material facts set forth herein were either known to the Defendants or were so

obvious that the Defendants should have been aware of them.




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          593.   Plaintiffs suffered damages as a result of the Defendants’ wrongful conduct in that

they purchased or otherwise acquired Teva securities at artificially inflated prices in reliance on

the Defendants’ untrue or misleading statements or omissions of material fact and/or the integrity

of the market.

          594.   As a direct and proximate result of the Defendants’ wrongful conduct, Plaintiffs

suffered damages in connection with their purchases of Teva Securities during the Relevant

Period.

                                             COUNT V

                   For Violation of Sections 1-401 and 1-501(a)(ii) of the PSA
                                    (Against the Defendants)

          595.   Plaintiffs incorporate each and every allegation above by reference as if fully set

forth herein.

          596.   Teva has conceded that “the factual center of this case is Pennsylvania[.]” See

Galmi, ECF No. 37-1, at 6. The false statements detailed above were prepared in Pennsylvania

and Israel. Id.; Kim Declaration ¶5. Moreover, Teva’s “sales, marketing, and finance executives

with responsibility for U.S. generics pricing are based in Pennsylvania.” Id., ¶4. In addition,

Teva’s investor relations department and individuals responsible for drafting and preparing

Teva’s public filings with the SEC are based at Teva USA’s Pennsylvanian offices. Id. Lastly,

“[d]ocuments relating to the subject matter of this lawsuit—e.g., materials related to Teva USA,

drug pricing, and U.S. competitors—are located in Pennsylvania, or, if not there, in Israel.” Id.,

¶7.

          597.   The Defendants violated § 1-401 of the PSA in that they:

          (a)    Employed devices, schemed, and artifices to defraud;




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          (b)    Made untrue statements of material fact or omitted to state materials facts
          necessary in order to make the statements made, in light of the circumstances
          under which they were made, not misleading; and/or

          (c)    Engaged in acts, practices and a course of business that operated as a fraud
          or deceit upon Plaintiffs in connection with their purchases of Teva Securities
          during the Relevant Period.

          598.   The Defendants acted with the requisite scienter in that they acted either with

intent to deceive, manipulate, or defraud, or with recklessness. The misrepresentations and

omissions of material facts set forth herein were either known to the Defendants or were so

obvious that the Defendants should have been aware of them.

          599.   Plaintiffs suffered damages as a result of the Defendants’ wrongful conduct in that

they purchased or otherwise acquired Teva Securities at artificially inflated prices in reliance on

the Defendants’ untrue or misleading statements or omissions of material fact and/or the integrity

of the market.

          600.   As a direct and proximate result of the Defendants’ wrongful conduct, Plaintiffs

suffered damages in connection with their purchases of Teva Securities during the Relevant

Period.

                                            COUNT VI
                                            For Fraud
                                      (Against the Defendants)

          601.   Plaintiffs incorporate each and every allegation above by reference as if fully set

forth herein.

          602.   Plaintiffs bring this count under Pennsylvanian law, as Pennsylvania is the

“factual center” of this Action. See Galmi, ECF No. 37-1, at 6. The false statements detailed

above were prepared in Pennsylvania and Israel. Id.; Kim Declaration ¶5. Moreover, Teva’s

“sales, marketing, and finance executives with responsibility for U.S. generics pricing are based

in Pennsylvania.” Id., ¶4. In addition, Teva’s investor relations department and individuals


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responsible for drafting and preparing Teva’s public filings with the SEC are based at Teva

USA’s Pennsylvanian offices. Id. Lastly, “[d]ocuments relating to the subject matter of this

lawsuit—e.g., materials related to Teva USA, drug pricing, and U.S. competitors—are located

in Pennsylvania, or, if not there, in Israel.” Id., ¶7.

          603.   During the Relevant Period, the Defendants made, disseminated or approved the

false and misleading statements specified above, which they knew or recklessly disregarded were

false and misleading in that the statements contained material misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

          604.   Defendants made these misrepresentations with the intent that Plaintiffs would

rely upon them in deciding to purchase Teva Securities.

          605.   Plaintiffs reasonably and justifiably relied upon the false and misleading

statements specified above when purchasing Teva Securities at artificially inflated prices.

          606.   Plaintiffs would not have purchased Teva Securities at the prices they paid, or at

all, if they had been aware that the market prices of those securities had been artificially and

falsely inflated by the Defendants’ misleading statements.

          607.   As a direct and proximate result of the Defendants’ wrongful conduct, Plaintiffs

suffered damages in connection with their purchases of Teva Securities during the Relevant

Period.

                                              COUNT VII

                                  For Negligent Misrepresentation
                                     (Against the Defendants)

          608.   Plaintiffs incorporate each and every allegation above by reference as if fully set

forth herein.



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        609.    Plaintiffs bring this count under Pennsylvanian law, as Pennsylvania is the

“factual center” of this Action. See Galmi, ECF No. 37-1, at 6. The false statements detailed

above were prepared in Pennsylvania and Israel. Id.; Kim Declaration ¶5. Moreover, Teva’s

“sales, marketing, and finance executives with responsibility for U.S. generics pricing are based

in Pennsylvania.” Id., ¶4. In addition, Teva’s investor relations department and individuals

responsible for drafting and preparing Teva’s public filings with the SEC are based at Teva

USA’s Pennsylvanian offices. Id. Lastly, “[d]ocuments relating to the subject matter of this

lawsuit—e.g., materials related to Teva USA, drug pricing, and U.S. competitors—are located in

Pennsylvania, or, if not there, in Israel.” Id., ¶7.

        610.    During the Relevant Period, the Defendants made, disseminated or approved the

misleading statements specified above, which they knew or should have known were misleading

in that the statements contained material misrepresentations and failed to disclose material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading.

        611.    Defendants made these misrepresentations with the intent that Plaintiffs would

rely upon them in deciding to purchase Teva Securities.

        612.    Plaintiffs reasonably and justifiably relied upon the false and misleading

statements specified above when purchasing Teva Securities at artificially inflated prices.

        613.    Plaintiffs would not have purchased Teva Securities at the prices they paid, or at

all, if they had been aware that the market prices of those securities had been artificially and, at

minimum, negligently inflated by the Defendants’ misleading statements.




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            614.   As a direct and proximate result of the Defendants’ wrongful conduct, Plaintiffs

  suffered damages in connection with their purchases of Teva Securities during the Relevant

  Period.

XIII.       INFLATED PROFIT ANALYSIS

            615.   Teva did not disclose profits, revenues, or pricing for individual generic drugs,

  nor was that information otherwise public. As alleged in the amended complaint filed in the

  Class Action, an independent investigation was undertaken in order to calculate and isolate the

  profit that Teva earned from its Price-Hike Strategy. This investigation comprised multiple

  distinct econometric analyses, including regression analyses, that ultimately took into account

  thousands of data points.

            616.   The analysis screened Teva’s entire generic drug portfolio during the relevant

  period to identify Wholesale Acquisition Cost (“WAC”) increases of at least 50%. The data was

  accessed via private, subscription-only databases costing tens of thousands of dollars annually.

  Next, any price increases plausibly connected to supply shortages or other economic anomalies

  were removed from the set.

            617.   To isolate Inflated Profit for each drug, the analysis first determined the drug’s

  price per unit had Teva not made the increase. To do so, the drug’s specific pricing history was

  analyzed using a regression analysis that determined the price through the relevant period had

  prevailing drug-specific pricing trends continued. The analysis further took into account CPI

  inflation for prescription drugs and empirical measures of the trend in average pricing for

  prescription drugs over the past five years.

            618.   Calculating Inflated Profit, i.e., the difference between Teva’s actual revenues

  (with the price increase) and the revenues that would have been earned at each drug’s price

  without the increase, involved accounting on a month-by-month basis for (i) Teva’s sales


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 quantities; and (ii) the discounts and rebates, unique to each drug, that Teva would provide to

 customers, which varied over time.

        619.    Sales volumes were derived by reference to figures reported in a subscription

 database. Through another regression analysis, it was confirmed that the price and volume for

 each drug exhibited no statistically meaningful relationship, meaning that as pricing changed,

 volume of sales did not change.

        620.    Teva’s discounts and rebates are unavailable by any means of which Plaintiffs is

 aware. Thus, the level of discounts and rebates was determined by analyzing, on a month-by-

 month basis over the relevant period, multiple data points from a number of subscription and

 other industry datasets that reflected average pricing and sales volume data. This analysis was

 unique for each drug and captured fluctuations over time.

XIV.    INAPPLICABILITY OF THE STATUTORY SAFE HARBOR OR BESPEAKS
        CAUTION DOCTRINE

        621.    The statutory safe harbor and bespeaks caution doctrine applicable to forward-

 looking statements under certain circumstances do not apply to any of the untrue or misleading

 statements alleged herein. The statements complained of herein concerned then-present or

 historical facts or conditions that existed or were purported to exist at the time the statements

 were made.

        622.    To the extent any of the untrue or misleading statements alleged herein can be

 construed as forward-looking, they were not accompanied by meaningful cautionary language

 identifying important facts that could cause actual results to differ materially from those in the

 statements; the generalized risk disclosures Teva or other Defendants made were not sufficient to

 shield Defendants from liability.




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        623.   To the extent the statutory safe harbor otherwise would apply, the Defendants are

 liable under the 34 Act for any untrue or misleading forward-looking statement complained of

 herein because the person who made each such statement knew that the statement was untrue or

 misleading when made, or because each such statement was approved by an executive officer

 who knew that the statement was untrue or misleading when made.

        624.   Specifically as to the alleged false and misleading guidance issued on July 13,

 2016, and January 6, 2017, that guidance incorporated an assumption grounded on historically-

 inaccurate data. Namely, the assumption was that pricing was declining at the same rate as it had

 during 2015 and the first half of 2016 because, as Olafsson puts it on Teva’s July 13, 2016

 Preliminary Outlook call, Teva was “assuming . . . [the] same pricing assumption as we have had

 for the first half of the year,” because Teva “saw no change in the pricing. We saw a stable

 environment . . . from first quarter into second quarter.” Teva’s pricing erosion was not,

 however, “stable.” Teva’s Inflated Profits had declined by $10 million from Q1 2016 to Q2

 2016, and had declined over $100 on YOY basis from Q1 2015 due to an increasingly adverse

 pricing environment. Moreover, because Teva had received the DOJ and State AG subpoenas, it

 would be unable to mitigate these declines, as it had in the past, by taking additional price

 increases.

XV.     JURY DEMAND

        625.   Plaintiffs hereby demand a trial by jury.

XVI.    PRAYER FOR RELIEF

        626.   WHEREFORE, Plaintiffs pray for relief and judgment as follows:

        (a)    Awarding Plaintiffs damages, including interest;

        (b)    Awarding Plaintiffs their reasonable costs and expenses incurred in this action,
               including attorneys’ fees and experts’ fees; and



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      (c)    Granting such other and further relief as the Court may deem just and proper.

Dated: May 28, 2020                      POMERANTZ LLP

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Collusive Drug Price Increases

       2013 Collusive Drug Price Increases
                            Manufacturers      Dates          New WAC per Pkg.
        Drug / Form         Raising Price      of Increases   (% increase)8
         Enalapril          Mylan              July 2            $25.15 (92%)
         Maleate            Teva               July 19           $25.15 (341%)
        (1st Increase)      Wockhardt          August 1          $21.38 (275%)

        Pravastatin         Glenmark          May 16              $75.51
        Sodium              Apotex            May 31              $75.51
        Zydus                                 June 14             $64.73
        Teva                                  August 9            $64.73
        Lupin                                 August 28           $64.80
        (201%)

       2014 Collusive Drug Price Increases
                            Manufacturers Dates                New WAC per Pkg.
          Drug / Form       Raising Price of Increases           (% increase)
          Cephalexin        Lupin             Nov. 1, 2013$41.00 (128%)
                            Teva              April 4     $41.00 (128%)

          Ketoconazole      Teva              April 4         $63.30 (110%)
          Cream             Taro              April 18        $63.30 (110%)

          Ketoconazole      Teva              April 4         $221.55 (250%)
          Tablets           Taro              April 18        $221.55 (250%)

          Nystatin          Teva              April 4         $100.30 (110%)
                            Heritage          July 1          $100.30 (110%)

          Theophylline      Teva              April 4         $54.53 (80%)
          SR                Heritage          July 1          $54.53 (80%)

          Baclofen          Upsher-Smith      February 21     $29.93 (350%)
                            Teva              April 15        $29.93 (350%)




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 Because drugs are often available in multiple strengths and package sizes, “New WAC per
Pkg.” refers to the pricing for the most-common package size of the most-widely-used strength

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2014 Collusive Drug Price Increases (continued)
                    Manufacturers Dates                New WAC per Pkg.
  Drug / Form       Raising Price of Increases           (% increase)1
  Fluocinonide      Taro              June           3 $226.40 (483%)
  5% Ointment       Teva              July 1           $226.40 (483%)

  Fluocinonide      Taro              June 3          $145.75 (524%)
  5% Cream          Teva              July 1          $145.75 (524%)

  Fluocinonide      Taro              June 3          $190.57 (255%)
  5% Gel            Teva              July 1          $190.57 (255%)

  Enalapril         Mylan             April 17        $82.98 (230%)
  Maleate           Teva              August 28       $83.00 (230%)
  (2nd Increase)    Taro              October 15      $83.00 (230%)
                    Wockhardt         December 15     $70.53 (230%)

  Carbamazepine     Taro              June 3          $127.93 (2517%)
  Tablets           Apotex            July 11         $127.93 (1030%)
                    Teva              August 28       $127.93 (1538%)
                    Torrent           September 12    $127.93 (2517%)

  Carbamazepine     Taro              June 3       $52.68 (290%)
  Chewable          Teva              August 28    $52.68 (270%)
  Tablets           Torrent           September 12 $52.68 (778%)

  Diclofenac        Teva              August 28       $104.58 (50%)
  Potassium         Sandoz            October 10      $104.58 (82%)
                    Mylan             Mar. 4, 2015    $104.58 (50%)



2015 Collusive Drug Price Increases
                     Manufacturers    Dates        New WAC per Pkg.
 Drug / Form         Raising Price    of Increases (% increase)1
 Propranolol         Teva             January 28          $34.40 (632%)
                     Actavis          February 17         $34.39 (632%)
                     Mylan            July 10             $35.67 (659%)
                     Heritage         August 17           $34.39 (632%)

 Estradiol           Teva             January 28          $30.74 (90%)
 Actavis                              May 21              $30.74 (109%)




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Trade Shows and Conferences

      2013 Trade Shows and Conferences
         Date                Organization3 / Event           Teva Attendees
         February 20-22      GPhA Annual Meeting              Oberman
                                                              Olafsson (with Actavis)

         April 20-23         NACDS Annual Meeting            Oberman
                                                             Cavanaugh
         August 10-13        NACDS Total Store Expo          Cavanaugh
                                                             Galownia
                                                             Oberman
         December 3          NACDS Annual Dinner             Cavanaugh


      2014 Trade Shows and Conferences
         Date                Organization9 / Event           Teva Attendees
         February 19-21      GPhA Annual Meeting             Oberman

         February 26         GPhA BOD Quarterly Meeting      Oberman

         April 1             HDMA Roundtable Fundraiser      Cavanaugh

         April 26-29         NACDS Annual Meeting            Cavanaugh
                                                             Oberman
         June 1-4            HDMA Leadership Conference      Patel

         August 23-26        NACDS Total Store Expo          Cavanaugh
                                                             Galownia
                                                             Patel
         Sept. 27 - Oct. 1   HDMA       Annual          Board Cavanaugh
                             Membership Meeting               Baeder

         November 19-21      IGPA Annual Conference          Oberman

         December 3          NACDS Annual Dinner             Cavanaugh



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 GPhA = Generic Pharmaceutical Association;
HDMA = Healthcare Distribution Management Alliance;
IGPA = International Generic Pharmaceutical Alliance;
NACDS = National Association of Chain Drug Stores.

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 2015 Trade Shows and Conferences
Date             Organization1 / Event         Teva Attendees
February 9-11     GPhA Annual Meeting          Olafsson

June 7-10         HDMA Leadership Conference Patel




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